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                   EXHIBIT 14
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                                                                         Page 1


 1                   IN   THE UNITED STATES DISTRICT                  COURT
                    FOR THE NORTHERN         DISTRICT        OF GEORGIA
 2                               ATLANTA DIVISION
 3       MARK ANDREWS,


 4                    Plaintiff,
                                                     :   Case   No.
 5       V.                                          : 1:22-cv-04259-SDG


 6       DINESH D'SOUZA, et al. ,
                      Defendants.
 7
 8
 9
                ***************************************


10                            CONFIDENTIAL
11                  VIDEOTAPED    /   REALTIMED DEPOSITION                OF
12                             DINESH      J. D'SOUZA
13                               OCTOBER 17, 2024
14            ***************************************


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                                                                        Page 2

1                   DINESH J. D'SOUZA was called as a

2          witness by the Plaintiff, taken before Pat

3          English-Arredondo, CSR (TX), RMR,

4          CRR, CLR, a Certified Shorthand Reporter in

5          and for the State of Texas, and duly sworn

6          and reported by stenographic machine

7          shorthand in real-time translation to iPads,

8          at the law offices of Greenberg Traurig, LLP,

9          1000 Louisiana Street, Suite 5700, Houston,

10         Texas, on Thursday, the 17th day of October,

11         2024, from 9:29 a.m. to 5:59 p.m., pursuant

12         to the Federal Rules of Civil Procedure; that

13         the Witness may read and sign said deposition

14         and sign before any Notary Public; and as

15         outlined in the provisions stated on the

16         record or attached hereto.

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1                               AP        PEARANCE                       S
2          COUNSEL       FOR    PLAINTIFFS:
                    Ms.       Lea    Haber       Kuck
3                   Ms.       Danuta       Egle
                    SKADDEN,          ARPS,          SLATE,       MEAGHER
4                         &    FLOM       LLP
                    4    Times       Sq,       New    York,       NY    10036
5                   One       Manhattan          West
                    New       York,       NY    10001-8602
6                   Phone:           212-735-3000
                    Lea.kuck@probonolaw.com
7                   Danuta.egle@probonolaw.com
8                   Mr.       Von    A.    DuBose,          Esq.
                    DUBOSE          MILLER,          LLC
9                   75    14th
                            Street NE,                      Suite       2110
                    Atlanta, GA 30309
10                  Phone:           404.720.8111
                    Dubose@dubosemiller.com


           COUNSEL       FOR    DEFENDANTS             TRUE       THE    VOTE,
           CATHERINE          ENGELBRECHT             AND    GREGG       PHILLIPS:
13                  Mr.       Jake    Evans
                    GREENBERG             TRAURIG,          LLP
14                  Terminus          200
                    3333       Piedmont          Road       NE,    Suite       2500
15                  Atlanta,          Georgia          30305
                    Phone:          678.553.2100
16                  Jake.Evans@gtlaw.com
17
           COUNSEL       FOR    DEFENDANTS             DINESH          D'SOUZA     AND
18         D'SOUZA       MEDIA       LLC:
                    Ms.       Amanda       G.    Hyland
19                  Mr.       Austin       C.    Vining
                    BUCHALTER
20                  3500       Riverwood             Pkwy    SE,       Suite    1900
                    Atlanta,          Georgia          30339
21                  Phone:           404.832.7536
                    Ahyland@buchalter.com
22                  Avining@buchalter.com
23
24
25


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                                                                         Page 4

1                             APPEARANCES

                                      (Continued)

2

3          ALSO PRESENT:

4                   Ms.   Jane Bentrott

5          VIDEOGRAPHER:

6                   Ms. Alyssa Becerra

                    Veritext

7

           CERTIFIED      STENOGRAPHIC /              REALTIME REPORTER:

8

                    Ms. Pat English-Arredondo

9                   CSR(TX), CRR, RMR, CLR

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1                              EXAMINATION INDEX

2

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3

           EXAMINATION BY MS. HABER KUCK                                            12

4          EXAMINATION BY MR. EVANS                                            352

5          REPORTER'S CERTIFICATION                                            360

           SIGNATURE REQUESTED                                                 361

6

7

8

9

10                  (REPORTER'S NOTE:             All quotations from

11         exhibits are reflected in the manner in which

12         they were read into the record and do not

13         necessarily denote an exact quote from the

14         document.)

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 1                                EXHIBITS
 2       NO.                     DESCRIPTION                             PAGE
 3       EXHIBIT NO. 1                                                    353
         (Previously marked) Cover email
 4       chain dated 3-25-22 to Charlie Kirk
         from Dinesh; Re:   2 clips to go with
 5       my talk tomorrow, Bates DDR-00052769
 6       EXHIBIT NO. 2                                                    355
         (Previously marked) Cover chain
 7       email dated 4-12-22 to Tyler Bowyer
         from Dinesh; Re:   3 clips, Bates
 8       DDR-00052690 - 691
 9       EXHIBIT NO. 10                                                   202
         (Previously marked) Cover email
10       dated 12-30-23 to Dinesh from
         Dinesh; Re:   CGDD 26, Bates
11       DDR-00049450 - 451
12       EXHIBIT NO. 23                                                   111
         (Previously marked) Cover email
13 I     dated 12-9-21 to DJD, Debbie,
         Catherine and others from Bruce; Re:
14       First schedule and beat sheet
         request, Bates TTV 007191 - 199
15
         EXHIBIT NO. 27                                                   316
16       (Previously marked) Cover chain
         email dated 10-3-22 to Gregg from
17       Catherine; Re:   Demand Letter -
         Retract and Correct Defamatory
18       Statements about Mark Andrews, Bates
         TTV 008858 - 875
19
         EXHIBIT NO. 38                                                     89
20       (Previously marked) Cover email
         dated 10-13-22 to Brian from
21       Catherine; Re:  License agreement
         for "2000 Mules," Bates
22       TTV 008962-69
23       EXHIBIT NO. 40                                                   138
         (Previously marked) Email dated
24       1-10-22 to Bruce from Catherine; Re:
         Multiple ballot video needed, Bates
25       TTV 007209


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1        EXHIBIT NO. 49                                             160
         (Previously marked) Cover email dated
2        2-10-22 to Debbie from Catherine; Re:
         Zoom call (Wednesday 7-10) and items
3        to complete, Bates TTV_007276
         (attachment 4-7-22 email to Frankowski
4        and DJD from Bruce; Re:  Davids list,
         Bates TPNF-0001637-38)
5
         EXHIBIT NO. 52                                             171
6        (Previously marked) Cover email dated
         2-16-22 to Catherine and Debbie from
7        Dinesh; Re:  Pennsylvania list, Bates
         TTV_007278
8
         EXHIBIT NO. 72                                             281
9        (Previously marked) Cover email dated
         10-24-22 to Christopher Henderson from
10       Catherine w/attachment TTV
         Intervention Brief (Draft) in DOI v
11       GA; Re:  Quick Conversation, Bates
         TTV_008975 - 9097
12
         EXHIBIT NO. 73                                               94
13       (Previously marked) Chat messages
         dated 5-1-22 with Dinesh and
14       (presumably) Gregg and Catherine,
         Bates DDR-00064295 - 296
15
         EXHIBIT NO. 83                                             192
16       (Previously marked) Chat messages
         dated 1-29 to 1-30-22, Bates
17       DDR-00067677 - 80
18       EXHIBIT NO. 87                                             237
         (Previously marked) Cover email dated
19       12-30-23 to Dinesh from Dinesh; Re:
         C&G 16, w/attachment, Bates
20       DDR-00049514 - 515
21       EXHIBIT NO. 91                                               25
         Defendant's Dinesh D'Souza and D'Souza
22       Media LLC's Answer and Affirmative
         Defenses To Plaintiff's First Amended
23       Complaint and Supplemental Complaint,
         120 pages
24
25


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1        EXHIBIT NO. 92                                                   27
         Defendant Dinesh D'Souza's Responses
2        and Objections to Plaintiff's First
         Interrogatories
3
         EXHIBIT NO. 93                                                   27
4        Dinesh D'Souza's Amended Responses and
         Objections to Plaintiff's First
5        Interrogatories
6        EXHIBIT NO. 94                                                   28
         Defendant D'Souza Media, LLC's
7        Responses and Objections to
         Plaintiff's First Interrogatories,
8        16 pages
9        EXHIBIT NO. 95                                                   28
         Defendant D'Souza Media's Amended
10       Responses and Objections to
         Plaintiff's First Interrogatories,
11       14 pages
12       EXHIBIT NO. 96                                                   28
         Defendant D'Souza Media LLC's
13       Responses and Objections to
         Plaintiff's Second Set of
14       Interrogatories, 9 pages
15       EXHIBIT NO. 97                                                   29
         Dinesh D'Souza's Second Amended
16       Responses and Objections to
         Plaintiff's First Interrogatories,
17       5 pages
18       EXHIBIT NO. 98                                                   29
         Defendant D'Souza Media, LLC's Second
19       Amended Responses and Objections to
         Plaintiff's First Interrogatories,
20       5 pages
21       EXHIBIT NO. 99                                                   99
         Cover email dated 4-26-22 to Catherine
22       from B Viviano; Re:  Revised email
         request, Bates TTV 007469 - 471
23
         EXHIBIT NO. 100                                                 149
24       Cover email dated 3-29-22 to Bruce,
         Debbie and Nathan from Dinesh; Re:
25       Mule videos, Bates TPNF_0004579


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1        EXHIBIT NO. 101                                                     196
         Declaration of Patricia Jackson, Bates
2        DD 000469 - 512
3        EXHIBIT NO. 102                                                     228
         Dinesh's tweet titled "Post Analytics"
4        dated 5-9-22, Bates DDR-000000007
5        EXHIBIT NO. 103                                                     235
         Chat message dated 3-1-22 between
 6       Debbie, Gregg, Dinesh and Catherine,
         Bates DDR-00055740 - 741
 7
         EXHIBIT NO. 104                                                      270
8        Cover email dated 12-30-23 to Dinesh
         from Dinesh; Re:   C&G 18, Bates
 9       DDR-00049510 - 511
10       EXHIBIT NO. 105                                                      289
         Series of texts Dinesh emailed to
11       self, Bates DDR-00049492 - 49493
12       EXHIBIT NO. 106                                                      296
         Centerfold pictures from the "2000
13       Mules" book, 8 pages.
14       EXHIBIT NO. 107                                                       311
         Cover email chain dated 8-25-22 to
15       Catherine, Gregg and Cherie from
         Christopher Henderson; Re:    2000
16       Mules, Bates TT17_008516
17       EXHIBIT NO. 108                                                       313
         Chapter 7 of book "2000 Mules," Pages
18       108 - 131
19       EXHIBIT NO. 109                                                       327
         Copy of chats between Gregg Phillips
20       and Dinesh, Bates TTN1_009803
21       EXHIBIT NO. 110                                                       338
         Four photographs of purported mules
22       with drop box, Bates DD_000466
23       EXHIBIT NO. 111                                                       344
         Chat message dated 5-11-22 between
24       Dinesh and Brandon Gill, Bates
         DDR-00056721 - 722
25


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1                   (Following commenced at 9:29 a.m.)

2                              THE VIDEOGRAPHER:               We are going

3                   on the record.

4                              The current time is 9:29 and

5                   the date is 10-17-2024.

6                              The audio and video recording

7                   will continue to take place until both

8                   parties agree to go off the record.

9                              This is the recorded depo for

10                  Dinesh D'Souza taken by counsel for

11                  plaintiff in the matter of Mark

12                  Andrews versus Dinesh D'Souza, et al.

13                  filed in the U.S. District Court for

14                  the Northern District of Georgia,

15                  Atlanta Division.

16                             The location of this deposition

17                  is in Greenberg Traurig law office

18                  located in Houston, Texas.

19                             My name is Alyssa Becerra, and

20                  I'm the videographer for today.

21                             Will counsel present

22                  themselves, please.

23                             MS. HABER KUCK:              Lea Haber Kuck

24                  for the plaintiff.

25                             MS. EGLE:          Danuta Egle for the


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                                                                        Page 11

1                    plaintiff.

2                               MR. DuBOSE:           Von DuBose for the

3                    plaintiff.

4                               MS. BENTROTT:                Jean Bentrott

5                    for the plaintiff.

6                               MS. HYLAND:           Amanda Hyland for

7                    Dinesh D'Souza and D'Souza Media,

8                    defendants.

9                               MR. VINING:           Austin Vining for

10                   Dinesh D'Souza and D'Souza Media,

11                   defendants.

12                              MR. EVANS:          And Jake Evans for

13                   defendant True the Vote, Catherine

14                   Engelbrecht, and Gregg Phillips.

15                  (Brief off-the-record discussion.)

16                              MR. VINING:           And with us we

17                   also have Bruce Schooley, who is here

18                   as a corporate representative for

19                   D'Souza Media.

20                              MS. HYLAND:           And he's on the

21                   phone.

22                              MR. SCHOOLEY:                I am.

23                            (Oath administered.)

24                              THE WITNESS:            I do.

25                              THE REPORTER:                Thank   you, sir.
                                                                                       I
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1                                 DINESH D'SOUZA,

2          being called as a            witness, and           having been

3          duly sworn, testified as follows:

4                                      EXAMINATION

5          BY MS. HABER KUCK:

6                   Q•          Good morning, Mr. D'Souza.

7                   A.          Good morning.

8                   Q.          My name is Lea Haber Kuck, and

9          I am one of the attorneys for Mark                        Andrews,

10         the plaintiff in            this matter.           I'm    going     to

11         be asking      you    the questions today.

12                              Could    you please state              your

13         full name for the record?

14                  A.          It's Dinesh D'Souza.

15                  Q.          And    your address?

16

17

18                  Q.          Okay.      Have      you ever been

19         deposed before?

20                  A.          Yes.

21                  Q•          How    many times?

22                  A.          A few.       Maybe three           to four

23         times.

24                  Q•          Okay.      And     when     was that?

25                  A.          Well, I      was deposed in            a case


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1          about a decade ago in San Diego.

2                              I was also deposed in

3          connection with a divorce proceeding.

4                              And those are the two I

5          remember most vividly.

6                   Q.         Okay.      And have          you ever

7          testified in a nondeposition setting?

8                   A.         No.

9                   Q.         And do you understand that

10         you're under oath?

11                  A.         Yes.

12                  Q.         Do you understand that your

13         testimony today carries the same weight as

14         testimony before a judge or a jury?

15                  A.         Yes.

16                  Q.         Is there any reason                 you might

17         not be able to give your accurate testimony

18         today?

19                  A.         No.

20                  Q•         Is there any reason                 your memory

21         might be less sharp than usual today?

22                  A.         No.

23                  Q•         Do you have any physical or

24         mental condition that would prevent you from

25         giving your best testimony today?


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                                                                      Page 14

1                   A.        No.

2                   Q.        Are you under the influence of

3          any drugs or other substances that would

4          prevent you from giving your best testimony

5          today?

6                   A.        No.

7                   Q.        So let me just set down a few

8          ground rules for the rest of the day.

9                             Everything we say today is

10         being recorded and transcribed by the court

11         reporter.

12                            You're aware of that?

13                  A.        Yes.

14                  Q.        And for the court reporter's

15         benefit, please answer my questions verbally.

16         So, for example, please respond with a "yes"

17         or a "no" or -- as opposed to a shake or nod

18         of your head.         Okay?

19                  A.        Okay.

20                  Q.        Also, for the court reporter

21         let's please try not to talk over each other.

22         Allow me to finish my questions and I will

23         try to allow you to finish your answers.

24         Okay?

25                  A.        Okay.


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1                   Q.        If my question is unclear,

2          please let me know.             If you don't ask me to

3          clarify my question, I will assume that you

4          understand it.         Okay?

5                   A.        Okay.

6                   Q.        And I will plan for us to take

7          a break every hour or so, but if you need a

8          break at any other time, please let me know

9          and we can take one, as long as there is no

10         question pending.

11                  A.        Okay.

12                  Q.        And, finally, throughout the

13         deposition your counsel may object to certain

14         of my questions.           Unless your counsel

15         specifically instructs you not to answer my

16         question, you must still answer my question.

17         Understood?

18                  A.        Yes.

19                  Q.        Did you speak to anyone about

20         the testimony you expect to give at your

21         deposition today?

22                  A.        Yes.

23                  Q.        Who?

24                  A.        My counsel, Amanda and Austin.

25                  Q.        Okay.      Anybody else?


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1                   A.         No.

2                   Q.         And did you do anything to

3          prepare, other than meet with                    your counsel?

4                   A.         You mean during that meeting,

5          during that period of preparation?

6                   Q.         Aside from that preparation.

7                   A.         No.

8                   Q.         And either in that preparation

9          or separately, did you look at any documents

10         to prepare?

11                  A.         Yes.

12                  Q.         Okay.      And who selected those

13         documents?

14                  A.         The -- Amanda and Austin.

15                  Q.         Okay.      And you didn't review

16         your files outside of that meeting?

17                  A.         Correct.

18                  Q.         And did any of the documents

19         that your counsel provided to                    you cause you

20         to remember things you had otherwise

21         forgotten?

22                  A.         Yes, in the sense the documents

23         always provide a certain specificity with

24         dates and things like that which are

25         impossible to have perfect recall of.                          So it


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1          refreshed my memory about things I knew, but

2          it gave me more detail.

3                   Q.        And can you identify anything

4          specifically?

5                   A.        No.     I think it was really more

6          in the nature of being able to establish a

7          timeline, refresh my memory about, oh, this

8          happened in January instead of February, that

9          kind of thing.

10                  Q.        Okay.      Did you review the

11         testimony of Mr. Phillips or Ms. Engelbrecht?

12                  A.        Yes, I did.

13                  Q.        And was that in the preparation

14         meeting with your counsel or separate?

15                  A.        Well, I just briefly looked it

16         over.

17                  Q.        Okay.      But, I mean, somebody --

18                  A.        On my own.

19                  Q.        On your own.            Somebody provided

20         it to you and you reviewed it?

21                  A.        Exactly.

22                  Q.        You were here yesterday when

23         Mrs. D'Souza was deposed.                  Right?

24                  A.        Right.

25                  Q.        And did you have any


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1          conversations with her about the deposition

2          afterwards?

3                   A.        Mine or hers?

4                   Q.        Either.

5                   A.        Well, as husband and wife, we

6          talked --

7                   Q.        Yeah.

8                   A.        -- a little bit about her

9          deposition, mainly just about her level of

10         stress and things that needed to be done to

11         alleviate it.

12                  Q•        Right.       Okay.        But you didn't

13         talk about the substance at all?

14                  A.        We did briefly.

15                  Q.        And what substance did you talk

16         about?

17                  A.        We just remembered a couple of

18         things that occurred yesterday, and it was

19         more in the nature of Debbie giving me her

20         feelings about it afterward and me responding

21         to those.

22                  Q.        And what specific events did

23         you talk about that were discussed in the

24         deposition yesterday?

25                  A.        I would say primarily it


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1          was -- it was our relationship with Catherine

2          and Gregg.

3                   Q.        Okay.      And what do you do for a

4          living?

5                   A.        I am a writer, an author, a

6          podcaster, a documentary film maker.

7                   Q.        And how long have you been

8          doing that?

9                             MS. HYLAND:           Objection.

10                  Ambiguous.

11                  Q.        (By Ms. Haber Kuck)                  Okay.    How

12         long have you been making documentaries?

13                  A.        My first one was in 2012, so

14         I've been doing it about a decade.

15                            I've been author                 my first

16         kind of trade book was in 1991, so I've been

17         doing that for a long time.

18                            Speaking, about the same amount

19         of time as the book writing.

20                            The podcast we began more

21         recently, during the COVID period.

22                  Q.        And what is your relationship

23         to D'Souza Media, LLC?

24                  A.        I am the manager and one of the

25         two partners in D'Souza Media.
                                                                                      I
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1                   Q•         And who is the other partner?

2                   A.         Bruce Schooley.

3                   Q.         And Mr. Schooley is on the

4          phone.        I forgot to ask him.

5                              MS. HABER KUCK:                Mr. Schooley,

6                   can    you hear me?

7                              MR. SCHOOLEY:                I can.

8                              MS. HABER KUCK:                Okay.      So are

9                   you        you're not recording the

10                  deposition today.               Correct?

11                             MR. SCHOOLEY:                I am not.

12                             MS. HABER KUCK:                Okay.      And are

13                  you        are    you alone?

14                             MR. SCHOOLEY:                I am a -- my

15                  wife is about to leave in about ten

16                  minutes.         So I have been listening to

17                  the conversation not on speaker phone.

18                  But once she leaves, I will probably

19                  move to speaker phone.

20                             MS. HABER KUCK:                Okay.      All

21                  right.      But no one other than                  yourself

22                  will be listening in.

23                             MR. SCHOOLEY:                No.

24                             MS. HABER KUCK:                Okay.      And   you

25                  won't be recording.


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1                              MR. SCHOOLEY:                I will not.

2                              MS. HABER KUCK:                Correct.

3                   Okay.      Thank    you.

4                   Q.        (By Ms. Haber Kuck)                  Sorry

5          about that.

6                              And when       was D'Souza Media

7          formed?

8                   A.         Roughly around 2014, after

9          the -- after the first film, to create the

10         groundwork for future films.

11                  Q.         And has Mr. Schooley always

12         been     your partner in D'Souza Media?

13                  A.         Yes.

14                  Q.         Have there been any other

15         partners at any point in time?

16                  A.         No.

17                  Q.         And is anyone employed by

18         D'Souza Media?

19                  A.         No.

20                  Q•         So is all of your work done

21         through contractors?

22                  A.         Yes.

23                  Q.         Have you ever been convicted of

24         a crime?

25                  A.         Yes.


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1                   Q.         And what was that?

2                   A.        It's a campaign finance

3          violation.         I was convicted of exceeding the

4          limit in campaign finance donation.

5                   Q.         And your conviction was

6          pardoned by President Trump in 2018.                        Is that

7          correct?

8                   A.         Yes.

9                   Q.         How long have you known

10         Mr. Trump?

11                  A.         I met him for the first time in

12         the fall of 2019, a year and a half after my

13         pardon.

14                  Q.         Okay.     So you weren't

15         acquainted with him before the pardon?

16                  A.         No.

17                  Q.         Have you kept in touch with him

18         since 2019 through the present?

19                  A.         I have been in touch with him

20         sporadically the -- since 2019, but in no way

21         on a regular basis.

22                  Q.         And when did you first met

23         Catherine Engelbrecht?

24                  A.         I first met Catherine

25         Engelbrecht through Debbie in the -- in the


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1          meeting that we had to talk about the film.

2                   Q.         Okay.      And that was a meeting

3          at your home?

4                   A.         Yes.

5                   Q.         And you had never met

6          Ms. Engelbrecht before that?

7                   A.         As far as I can remember, I

8          hadn't.

9                   Q.         Okay.      And was Mr. Phillips at

10         that meeting?

11                  A.         Yes.

12                  Q.         And had you met him previously?

13                  A.         No.

14                  Q.         Were    you aware of his work

15         prior to the time that you first met him?

16                  A.         I had heard of him and I had

17         heard about his -- I had heard about some of

18         the things he had done.

19                  Q.         Did he have a good reputation?

20                  A.         Yes.

21                  Q.         When did you last speak to

22         Ms. Engelbrecht?

23                  A.         It's been a while.                  It would be

24         in the -- in the aftermath of "2000 Mules,"

25         but not since.


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1                   Q•         Have    you spoken with her since

2          this litigation was filed?

3                   A.         Yes, I think we spoke once,

4          perhaps twice, just to -- just to take note

5          of the litigation, but not very much beyond

6          that.

7                   Q.         Okay.      And how about the last

8          time     you talked to Mr. Phillips?

9                   A.         I haven't spoken to

10         him -- generally, it's about the same.

11                  Q.         Okay.      And what relationships

12         do you have with D'Souza Media or its

13         affiliates?

14                             I'm sorry.          Strike that.

15                             With Salem Media or its

16         affiliates?

17                  A.         I have -- I'm partnered with

18         Salem Media on my podcast.                       We do a -- we do

19         it as a kind of a revenue share.                        And I made

20         the film "2000 Mules" in partnership with

21         Salem.

22                             And, let's see, I've obviously

23         appeared as a guest on various Salem shows.

24         And Salem and I are contracted to do a film,

25         one film, in the future.


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1                   Q.        And did you publish your book

2          on the "2000 Mules" through a Salem

3          affiliate?

4                   A.        Yes, I did.           It was an

5          originally independent company later acquired

6          by Salem.

7                   Q.        Have you published any of your

8          other books through Salem affiliates?

9                   A.        Well, the company called

10         Regnery, I published with them several books.

11         Salem then acquired them subsequently.                          But

12         when I published those earlier books, they

13         weren't part of Salem.

14                  Q.        Got it.

15                  A.        And my most recent book is also

16         with Regnery, but Regnery is no longer a part

17         of Salem.

18                  Q.        Right.       Okay.        Let me show you

19         a document we have marked as Exhibit 91, just

20         the answer.

21            (Marked was Plaintiff's Exhibit No. 91.)

22                  Q.        (By Ms. Haber Kuck)                  Which is

23         Defendant's Dinesh D'Souza and D'Souza Media

24         LLC's Answer and Affirmative Defenses To

25         Plaintiff's First Amended Complaint and


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1          Supplemental Complaint.

2                              MS. HYLAND:           Does this have a

3                   particular exhibit number?

4                              MS. HABER KUCK:               Oh, I'm sorry.

5                   It's 91.

6                              MS. HYLAND:           91.

7                   Q•        (By Ms. Haber Kuck)                  And are

8          you aware that an answer was filed on behalf

9          of you and D'Souza Media in this litigation?

10                  A.         Yes.

11                  Q.         Okay.      And did           you authorize

12         your lawyers to file it on                  your behalf?

13                  A.         Yes.

14                  Q.         Did    you review it before it was

15         filed?

16                  A.         Yes.

17                  Q•         Without telling me any of the

18         substance of the discussion, did                        you discuss

19         the allegations in the complaint and                         your

20         responses before the answer was submitted on

21         your behalf?

22                  A.         You mean did I discuss them

23         with my lawyers?

24                  Q.         Yeah.      Did     you review it and

25         discuss it with           your lawyers before they


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1          filed it?

2                   A.        Yes.

3                   Q.        Are you aware of any

4          inaccuracies in your answer?

5                   A.        No.

6                   Q.        So let me also -- just to kind

7          of get the paperwork out of the way, I'm

8          going         I've premarked a series of documents

9          which are the interrogatory responses.

10                            And there's a number of them,

11         so I'm just going to read into the record

12         what exhibits they are.                I will give them to

13         the witness and then we can go through what

14         we need to.

15            (Marked was Plaintiff's Exhibit No. 92.)

16                  Q.        (By Ms. Haber Kuck)                  So Exhibit

17         92 is Defendant Dinesh D'Souza's Responses

18         and Objections to Plaintiff's First

19         Interrogatories.

20                            Exhibit 93 is Dinesh D'Souza's

21         Amended Responses and Objections to

22         Plaintiff's First Interrogatories.

23            (Marked was Plaintiff's Exhibit No. 93.)

24                  Q.        (By Ms. Haber Kuck)                  Exhibit 94

25         is Defendant D'Souza Media, LLC's Responses


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1          and Objections to Plaintiff's First

2          Interrogatories.

3             (Marked was Plaintiff's Exhibit No. 94.)

4                     Q.      (By Ms. Haber Kuck)                  Exhibit 95

5          is D'Souza Media's Amended Responses and

6          Objections to Plaintiff's First

7          Interrogatories?

8             (Marked was Plaintiff's Exhibit No. 95.)

9                     Q.      (By Ms. Haber Kuck)                  And

10         Exhibit 96 is Defendant D'Souza Media LLC's

11         Responses and Objections to Plaintiff's

12         Second Set of Interrogatories.

13             (Marked was Plaintiffs Exhibit No. 96.)

14                    Q.      (By Ms. Haber Kuck)                  So I'm

15         going to put all of those before you and we

16         will find the ones we need when we need them.

17                            But do you recall -

18                            MS. HABER KUCK:               Whoops.       Let's

19                    go off just for a second.

20                  (Brief off-the-record discussion.)

21                            THE VIDEOGRAPHER:               Going off

22                    the record.      The current time is 9:45.

23                            (Recess taken at 9:45 a.m. ,

24                    resuming at 9:52 a.m.)

25                            THE VIDEOGRAPHER:               We are going


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1                   back on the record.                The current time

2                   is 9:52, and this is the start for

3                   Media 2.

4                   Q.         (By Ms. Haber Kuck)                  Okay.     So

5          I'm going to also introduce two additional

6          exhibits.          No. 97 is Dinesh D'Souza's Second

7          Amended Responses and Objections to

8          Plaintiff's First Interrogatories.

9             (Marked was Plaintiff's Exhibit No. 97.)

10                  Q.         (By Ms. Haber Kuck)                  And 98 is

11         Defendant D'Souza Media, LLC's Second Amended

12         Responses and Objections to Plaintiff's First

13         Interrogatories.

14                             So we will put this pile in

15         front of you.

16            (Marked was Plaintiff's Exhibit No. 98.)

17                  Q.         (By Ms. Haber Kuck)                  Do you

18         recall that you were asked to prepare some

19         responses to interrogatory questions in

20         connection with the litigation?

21                  A.         Yes.

22                  Q.         And do you recall that you

23         verified the responses to those interrogatory

24         responses?

25                  A.         Yes, to the degree that I


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1          could.

2                   Q.        What do you mean to the degree

3          you could?

4                   A.        Well, what I mean is if there

5          were -- sometimes in these -- in these things

6          there is legalese or legal statements, which

7          I don't feel in a position to independently

8          verify.

9                   Q.         Fair in enough.              So for the

10         substantive answers, you verified that to the

11         best of your knowledge they were true and

12         correct?

13                  A.         Yeah.     Yes.

14                  Q.        Okay.      And are you aware of

15         anything           has anything changed since you

16         verified?

17                  A.         Not to my knowledge.

18                  Q.        Okay.      So -- oh, and do you

19         know -- my indication from reviewing them is

20         the Dinesh D'Souza responses and the Dinesh

21         D'Souza Media responses are substantially the

22         same.

23                            Is that accurate?

24                  A.        I think generally they would

25         be.


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1                   Q.        Yeah.      Okay.        So just to keep

2          things simple, let's go to No. 92, which I

3          believe is Dinesh D'Souza's Response and

4          Objections to Plaintiff's First Set of

5          Interrogatories.

6                             Do you have that?

7                   A.        Yes.

8                   Q.        If we go to Interrogatory No.

9          8, which is on Page 11, the sentence at the

10         bottom of the page says (as read):                      "As the

11         film makes clear, no individual phones were

12         tied to any specific identifiable individuals

13         as part of the filmmaking process.                       As the

14         film also makes clear, the analysis of

15         geotracking data was done by other parties."

16                            Do you see that?

17                  A.        Yes.

18                  Q.        And how does the film make

19         clear that -- and by "film" we're talking

20         about "2000 Mules."             Right?

21                  A.        Yes.

22                  Q.        How does it make clear that no

23         individual phones were tied to any specific

24         individuals?

25                  A.        It is -- it makes it -- the


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1          film makes it clear through the description

2          of the geotracking process, which is based

3          upon cell phone IDs and not even cell phone

4          numbers.       And, therefore, there is no way,

5          certainly no automatic way, outside of law

6          enforcement, to connect it to specific

7          individuals.

8                   Q.         Okay.      So you can't take the

9          geotracking -- so without knowing

10         whose -- strike that.

11                             Without knowing what cell phone

12         ID is -- belongs to a particular individual,

13         you can't tie the geotracking data to that

14         individual.

15                  A.         As far as I know, yes, that's

16         correct.

17                  Q.         Okay.      And it also says that

18         the geotracking was done by other parties.

19         Who was that?

20                  A.         That is True the Vote and its

21         team.

22                  Q.         Okay.      If you would look

23         at       also look at Interrogatory Response

24         No. 13.       It talks about communications with

25         David A. Cross and a complaint that he filed


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1          with the Georgia Bureau of Investigation.

2                   A.         Yes.

3                   Q.         Do you know who David Cross is?

4                   A.         I know who he is now.

5                   Q.         Okay.      When did you first learn

6          who he was?

7                   A.         In the process of this

8          litigation, I learned that a man named David

9          Cross had filed a complaint or a demand or

10         request to the Georgia authorities to

11         investigate alleged mules, and that's when I

12         heard about David Cross.

13                  Q.         Okay.      And so have you ever had

14         any communications with Mr. Cross?

15                  A.         Not that I know of.

16                  Q.         Are    you aware of any

17         communications between Mr. Cross and anyone

18         else at D'Souza Media?

19                  A.         I'm not aware of any.

20                  Q.         Are    you aware of any

21         communications with anyone who worked on the

22         "2000 Mules" film have had with Mr. Cross?

23                  A.         Anyone who worked on the "2000

24         Mules" film.         I'm now aware that -- that

25         Catherine Engelbrecht and -- well, I will


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1          just say Catherine Engelbrecht has some

2          connection with Davis Cross.

3                   Q.        And what do you understand that

4          connection to be?

5                   A.        I don't know anything about it.

6                   Q.        Okay.      So what do you

7          understand?        What did you learn about that?

8                   A.        I just learned subsequently

9          about a request by Catherine Engelbrecht to

10         add Davis Cross to credits; and, therefore, I

11         assumed, based on that, that there was some

12         connection.

13                  Q.        Okay.      And when you said her

14         request to add him to the credits, is that

15         what we talked about at the deposition

16         yesterday?

17                  A.        Yes.

18                  Q.        And before you heard it at the

19         deposition yesterday, were you                          were you

20         aware of that at all?

21                  A.        I was not aware of it.

22                  Q.        Okay.      So when you say you

23         learned it subsequently, it was yesterday

24         when you learned of it.                Right?

25                  A.        Yes.


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1                   Q.         Okay.

2                   A.         Right.

3                   Q.         Let's go to Exhibit 93, I

4          believe, which are            your amended responses.

5                              Let's look at Page 6, which is

6          where Interrogatory No. 4 starts, and                          your

7          answer is on Page 7.

8                              Do    you see that?

9                   A.         Yes.

10                  Q.         And it's talking about the

11         methodology that was used to support the

12         allegations in           the "2000 Mules" film.

13                             Do    you see that?

14                  A.         Yes.

15                  Q.         Okay.       And it says, in             the

16         second paragraph (as read):                      "Mr. D'Souza

17         states that he relied on                  methodology, data

18         and presentations of TTV, Catherine

19         Engelbrecht, and Gregg Phillips."

20                             Do    you see that?

21                  A.         Yes.

22                  Q.         Did    you rely -- well, what

23         methodology are           you referring to?

24                  A.         The methodology is twofold.

25         One is the use of cell phone geotracking to


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1          identify mules going to drop boxes, mail-in

2          drop boxes.

3                              And the other is the use of

4          surveillance video to depict mules going to

5          drop boxes.

6                   Q.         When         can     you tell me, when

7          you use the term "mules," how -- what do                          you

8          mean by that?

9                   A.         A mule is a delivery man or

10         delivery woman.            A mule is someone who is a

11         conduit for depositing ballots, typically

12         multiple ballots, into a                         into a mail-in

13         drop box.

14                            "Mules" is used in the film in

15         a fairly specific context.                       So it's not

16         anyone doing those things.                       It is people

17         doing those things who meet a certain

18         specified or enumerated criteria.

19                  Q.         And can      you give me that

20         criteria?

21                  A.         That criteria is that a mule

22         has to go to ten or more drop boxes within a

23         specified period of time, essentially

24         election season.

25                             And the mule has to also go to


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1          so-called NGOs or nonprofit houses, stash

2          houses it's sometimes called colloquially.

3                              And it is the combination of

4          those two things that creates the criterion

5          for the cell phone geotracking.

6                   Q.         And does that person need to

7          have been paid to deliver those ballots?

8                   A.         Not necessarily, but there is a

9          discussion in the film about some plausible

10         reasons to believe that the mules were paid.

11                  Q.         Do you have any evidence that

12         the mules were paid other than the theories

13         in the film?

14                  A.         No.

15                  Q.         The second sentence there says

16         (as read):         "In addition, D'Souza Defendants

17         conducted research into the nature and use of

18         geotracking and how it is routinely used in

19         criminal cases and other applications.                         The

20         D'Souza Defendants interviewed other experts

21         about the implications of the findings."

22                             Do you see that?

23                  A.         Yes.

24                  Q.         And who else did you interview

25         about the geotracking findings?


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1                   A.        The people that we interviewed

2          are, number one, a fellow named Hans von

3          Spakovsky, who is a former member of the

4          Federal Election Commission.

5                             A second person was an election

6          lawyer named Harmeet Dhillon.

7                             A third person is a person -- a

8          long-time public policy intellectual who does

9          research into the nature of nonprofit

10         organizations and their sources of funding.

11         His name is Scott Walter.                  He's head of the

12         Capital Research Center based in Washington,

13         D.C.

14                            And those -- two of those three

15         interviews are in the film, and the third

16         one, Harmeet Dhillon, is

17         represented -- reflected in the book.

18                  Q.        And are any of them experts on

19         geotracking?

20                  A.        I don't know what you mean by

21         "experts on geotracking."                  Do you mean the

22         technical aspects of geotracking?

23                  Q.        Yes.

24                  A.        Not to my knowledge, no.                  Their

25         expertise is in election-related areas.


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1                   Q.        And so did you talk to any

2          expert about the methodology that TTV used in

3          its study of the mules?

4                   A.        Do you mean any outside expert?

5                   Q.        Any outside expert on

6          geotracking, on the methodology they used?

7                   A.        I didn't speak to anyone, but I

8          did a considerable amount of reading.

9                   Q.        Okay.      And what reading did you

10         do?

11                  A.        I read articles both in the

12         general media, as well as in law enforcement

13         media, to -- articles that I pulled up on

14         geotracking and to develop a good, I would

15         call it, layman's understanding of what it

16         is, how it worked, what it showed and didn't

17         show, its relative accuracy, and its -- the

18         frequency of its use in law enforcement, as

19         well as potential objections or problems with

20         geotracking.

21                  Q.        And -- but you didn't have

22         anyone review specifically what Mister -- or

23         what TTV did with its methodology.                       You were

24         looking at geotracking in general and what

25         its capacity was.


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1                   A.        Exactly.        We had brought -- we

2          had brought on TTV as our experts or as the

3          research group that was doing the work.

4                             And so my purpose in studying

5          geotracking was more to learn about it so I

6          could understand better what TTV was doing

7          and also how this material could be assessed

8          and presented in a book and a film.

9                             It was not to do something that

10         would be outside of my area of competence,

11         which is to sort of second-guess or review

12         the actual technical geotracking done by

13         another party.

14                  Q.        Okay.      And you didn't ask

15         anyone to review the technical aspects of

16         what TTV did?

17                  A.        That's right.

18                  Q.        Okay.      And you refer in your

19         answer as -- to Ms. Engelbrecht and

20         Mr. Phillips as experts in this area.

21                            What qualifications does

22         Ms. Engelbrecht have that makes her an expert

23         in this area?

24                  A.        Well, I looked at Catherine

25         Engelbrecht and Gregg Phillips as a team,


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1          bringing to the subject different levels of

2          expertise and areas of knowledge.

3                             Catherine Engelbrecht I had

4          first encountered I think in 2013 or '14 when

5          she gave a public testimony in front of the

6          U.S. Congress.         And so I knew her to be both

7          a public figure as well as a -- as well as a

8          competent expert on election issues; and also

9          was familiar, in general, with the work of

10         True the Vote based on things it had done

11         over the years.

12                            I had heard of Gregg Phillips

13         and I knew a little bit about him, and -- and

14         then I learned a lot more about him starting

15         at our first meeting.

16                            And based upon that, I had to

17         make an assessment about the credibility of

18         these two as a team in being able to do what

19         they said that they were going to do.

20                  Q.        Okay.      And what did you learn

21         about Mr. Phillips' expertise in this area at

22         the meeting you had?              And just -- and just so

23         we're clear, is this the first meeting that

24         you had at your house about whether to do

25         the -- possibility of doing the film?


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1                   A.        Exactly.        We spent several

2          hours with the two of them and it was a lot

3          of conversation around these topics.

4                             Since I had -- actually knew

5          less about Gregg than I did about Catherine,

6          I asked more questions about Gregg.                       And what

7          I learned from him is that he had had various

8          positions in corporate America.                     I believe he

9          may have worked at one point for an

10         accounting firm.

11                            He had had high-level positions

12         in government.         He had been the Mississippi

13         head of Human Services, overseeing a rather

14         large army of employees.                 He was also the

15         Texas head of the Health & Human Services

16         Commission.

17                            In other words, you're dealing

18         with a visible, competent managerial person.

19                            In addition, Gregg represented

20         to me that he had been, for not years, but

21         decades, involved in election integrity and

22         election intelligence.               That's the phrase

23         that he used.

24                            And when I asked him what that

25         was, he said it was basically involvement in


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1          studying, monitoring, investigating elections

2          not just in the United States, but around the

3          world.

4                             And he had done this in

5          conjunction with intelligence agencies as

6          well as law enforcement agencies; and that

7          some of that was sort of on the down-low, if

8          you can put it that way, but, nevertheless,

9          that this was something that he actively did.

10                            And he gave me to understand

11         that the kind of things that they were

12         doing -- or that they were doing now, meaning

13         at that time, were things that he had been

14         involved in either in an active capacity or a

15         supervisory capacity, or that he was capable

16         of putting together a team that could carry

17         out that kind of research.

18                  Q.        And did he -- did he tell you

19         about any specific training or education that

20         he had in the technical area of the

21         geotracking?

22                  A.        He didn't, but he conveyed that

23         this is something that he knew a lot about.

24         He was able to corroborate that by answering

25         some quite detailed questions that we had


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1          because this was something that I had the

2          most cursory knowledge of.

3                              And I also understand from not

4          just the world of politics, but American

5          life, that there are all kinds of people who

6          manage projects that don't have a technical

7          understanding of those projects.

8                              You know, you may have the head

9          of an accounting firm become the head of

10         Delta Airlines.          He's not a pilot.                He

11         doesn't fly planes.

12                             So, in that sense, I not only

13         didn't probe him on the technicalities of

14         geotracking, but I wouldn't have felt myself

15         competent to do that.

16                  Q.         And just following up on that

17         answer in terms of managing people, did you

18         under- -- did he tell you that he had people

19         working for him who were doing the actual

20         technical work?

21                  A.         He just said, Me and my team.

22         That was kind of the phraseology that we

23         he applied consistently through the months

24         leading up to the movie.

25                  Q.         Did you ever learn who was on


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1          his team?

2                   A.         From time to time he would talk

3          about the analysts, and he might have

4          occasionally given us a name.                     I remember

5          that he had said later that it was a real

6          pity that his analysts had not been featured

7          in the film.

8                              So there were references to his

9          team, but I never had any direct interaction

10         with anybody on the team.

11                  Q.         Did he ask for his analysts to

12         be featured in the team -- in the film?

13                  A.         No.    This was more of an

14         afterthought.

15                  Q.         And I think in the film,

16         though, there is a scene where he is in a

17         computer room and seems to be talking to

18         people.

19                             Do you know what I'm talking

20         about?

21                  A.         Yes.

22                  Q.         So those were not his

23         analysts

24                  A.         Correct.

25                  Q.         -- in the film.

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1                             And who were -- so who are the

2          people in the film?

3                   A.        So that is -- maybe I should

4          back up and talk a little bit about how

5          documentary films are done.

6                   Q.        Uh -huh.

7                   A.        Documentary films are typically

8          documenting something that is happening now,

9          but they are also documenting something that

10         happened in the past, whether historically

11         or, in this case, let's say, research that

12         True the Vote did over the past, let's say,

13         year.

14                            And what the documentary film

15         wants to do is, because film is a visual

16         medium, show you things even though it may be

17         actually impossible to show you things that

18         happened before.

19                            Just by way of illustration,

20         you know, if you watch "Forensic Files,"

21         there is a murder that appeared three years

22         ago.     You see a recreation of the murder.

23                            Obviously, it's not the same

24         guy.     Obviously, it's not the same house.                       It

25         may not be the same town.                  But you're


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1          depicting what happened.

2                             And so that's called a

3          recreation.        A recreation is a -- is a

4          factual -- is a depiction of a factual event,

5          but it's a depiction of a factual event

6          using -- using actors or using sets.

7                             And in this case, we created a

8          set that resembled the, quote, war room or

9          the -- or the investigating office, and we

10         showed Gregg, who was the character in the

11         film that people were going to be following,

12         we showed Gregg sort of doing the kind of

13         work that he would -- might be doing in

14         reality, but not with the analysts that he

15         actually did it with.

16                  Q.        Got it.

17                            And did he indicate to you in

18         any way that the work he was doing as it was

19         portrayed in the film wasn't actually the

20         type of work he was doing?

21                  A.        He never indicated that.

22                  Q.        Right.

23                  A.        I think that at the beginning

24         he was a little mesmerized by our filmmaking

25         sort of techniques.             But there is a kind


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1          of -- you know, there is a kind of -- this is

2          the nature of documentary films.

3                             They combine interviews with,

4          in some cases, actual footage.                    That would be

5          surveillance video, for example.                        And in some

6          cases, a representation of things that are --

7          are sometimes better shown in order to make

8          them visually more understandable to the

9          audience.

10                  Q.        Right.       And he -- but he didn't

11         indicate to you in any way that the way that

12         you were depicting his work was inaccurate?

13                  A.        Never.

14                  Q.        Okay.      And what was your

15         understanding of where his actual computer

16         lab was?      Where was this work being done?

17                  A.        He gave me to understand that

18         they were -- that the work was being done in

19         multiple places, but that they had a kind of

20         outpost at one of the either university or

21         university-related facilities.

22                            I believe at the University of

23         Mississippi, but I might have the wrong

24         university because it's off the top of my

25         head.     And that they had leased some


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1          facilities that -- because they -- because

2          the work required computing power and also

3          the files were extremely large.

4                             So he would describe the kind

5          of volume of data that's involved and the

6          reason for why this data had to be stored in

7          a place that was capable of doing that.

8                   Q.        Did he -- did you subsequently

9          learn that, in fact, he didn't have an office

10         at the University of Mississippi?

11                  A.        I read something about that and

12         it appeared to be something of a technical

13         issue about whether he was, quote, at the

14         university or whether he had leased his

15         facility from the university.                    And I just

16         took note of that seemingly trivial

17         distinction.

18                  Q.        And do you              you said you

19         reviewed his testimony, his deposition

20         testimony?

21                  A.        I looked over it.

22                  Q.        Do you recall that he said, in

23         fact, they had no supercomputers at that

24         facility in Mississippi?

25                  A.        I don't remember all the


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1          details of his testimony.                  I don't remember

2          that specifically right now.

3                   Q.        Okay.      And you never saw any of

4          his facilities?

5                   A.        Correct.

6                   Q.        And you never met any of his

7          analysts?

8                   A.        Correct.

9                   Q.        But you were led to believe

10         that he knew who these people -- who these

11         analysts were?

12                  A.        Yes.     And he would give us a

13         periodic -- I don't know if "updates" is the

14         right word, but descriptions about the kind

15         of work that was involved and the progress of

16         that work because this was a project that had

17         not only -- had done a considerable amount of

18         work, as we understood it and as we saw, but

19         it also was ongoing.

20                  Q.        Okay.      The -- so in the -- in

21         the film there's surveillance footage that is

22         used.     Correct?        There is some drop box

23         footage?

24                  A.        Yes.

25                  Q.        And TTV provided that?


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1                   A.        Yes.

2                   Q.        Was there any source of footage

3          other than TTV?           Any drop box video

4          surveillance footage that you got from some

5          other source when you were making the movie?

6                   A.        No.

7                   Q.        And while we have this

8          document, let's look at Page 10.                        It's

9          Interrogatory No. 11.

10                            Do you see that?

11                            And it's talking about (as

12         read):        "All persons or entities who funded

13         TTV's investigation into the 2000 -- the 2020

14         election that was used in '2000 Mules' and

15         the amount of funding by each."

16                            Do you see that?

17                  A.        Yes.

18                  Q.        And you say that you (as read):

19         "...lack personal knowledge of the persons or

20         entities who funded TTV's investigation."

21                            Do you see that?

22                  A.        Yes.

23                  Q.        So my question is, in the book,

24         however, you say that you called up two

25         friends, one in Florida and one in Kansas,


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1          who agreed to meet Ms. Engelbrecht and they

2          eventually put up money?

3                   A.         Yes, but that's -- puts the

4          cart before the horse.                 In other words -- in

5          other words, the investigation as it was

6          brought to us

7                   Q.         Okay.

8                   A.         -- from TTV had obviously been

9          conducted prior.            And we didn't know enough

10         about True the Vote in the sense of who was

11         funding it or never read its annual report.

12                             I did, of course, look up True

13         the Vote; and, of course, I was aware of a

14         controversy involving a single donor, which

15         is mentioned here --

16                  Q.         Which is mentioned there.

17                  A.         Yeah,

18                  Q.         Right.       Yeah.

19                  A.         The -- later, in                    while the

20         film was being prepared, True the Vote

21         expressed to us that they were, like any

22         nonprofit -- this is not unusual at all --

23         constantly raising money and needed money to

24         complete projects that they were doing, this

25         particular project in particular.


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1                               We obviously had a vested

2          interest in the project moving forward.                          But

3          because we are -- we are a for-profit entity

4          with investors, we said, Listen, we will

5          connect you with a couple of our investors

6          who may be interested in supporting your

7          work.

8                              And we subsequently learned the

9          two of them had contributed sums to help True

10         the Vote.          So I'm obviously aware of that.

11                  Q.         Right.

12                  A.         But outside of that, I don't

13         know who their donors are.

14                  Q.         Okay.      And did you -- was there

15         a period of time in the summer of 2022, after

16         the film came out, where you also -- you and

17         Ms. D'Souza helped them somewhat with their

18         fundraising?

19                  A.          Yeah, we -- you know, as you

20         know, we had had some rather, I would say,

21         raw and acrimonious dealings with them with

22         regard to recognition for the film, payment

23         for the film.

24                             So like decent people, we felt

25         bad about it and we thought, all right,


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1          listen, why don't we -- why don't we convene

2          a few of our friends and have them come and

3          make a presentation about their ideas.                          We

4          will kind of stay out of it.

5                              But if any of these guys want

6          to follow up with True the Vote and support

7          them, they can.

8                   Q.          And did you -- did you, at that

9          point in time, support the work that True the

10         Vote was doing, leaving aside the personal

11         issues between -- with Ms. Engelbrecht?

12                  A.          Absolutely.          We would not have

13         had the event if we had doubts about their

14         work.     We believed their work was sound, and

15         I still do.

16                  Q.          Are you involved in any of

17         their work currently?

18                  A.          No.

19                  4•          All right.         So we can put that

20         pile of            oh, I'm sorry.           One more question,

21         sort of questions, actually.

22                             If you could look at                   it's

23         going to be Exhibit                 it's actually going to

24         be 96.

25                             And this is D'Souza Media's


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1          Response to a Second Set of Interrogatories.

2          And what this -- this set lists a number of

3          people who were involved in the film.

4                             Do you see that?

5                             MS. HYLAND:           What page are you

6                   on?

7                             MS. HABER KUCK:               I'm on Page 3.

8                   3, 4, 5, et cetera.

9                             MS. HYLAND:           Yeah.      Gotcha.

10                  Thank you.

11                  Q.        (By Ms. Haber Kuck)                  And the

12         base -- the question essentially in this

13         interrogatory was, who was involved in the

14         making of the film?

15                  A.        Yeah.

16                  Q.        And we discussed this before,

17         but I just want to confirm it.

18                            It lists here True the -- on

19         Page 4, you refer to True the Vote, Catherine

20         Engelbrecht, and Mr. Phillips as providing

21         the research and footage for the "2000 Mules"

22         that was -- and they were featured in the

23         film.     Right?

24                  A.        Right.

25                  Q.        And there was -- there is no


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1          other source of footage you had for the film

2          other than TTV, Ms. Engelbrecht and

3          Mr. Phillips?

4                   A.         Yes.     Correct.

5                   Q.         There is also a --

6                   A.         You mean the surveillance

7          footage.       Correct?        The surveillance --

8                             (Speaking simultaneously.)

9                   Q.        (By Ms. Haber Kuck)                  I'm sorry.

10         Yes.     The surveillance --

11                  A.         Just to be precise because was

12         there was other --

13                  Q.         Yeah.

14                  A.         There was other video footage,

15         but not surveillance video.                      Yes.

16                  Q•         Fair enough.            Yes.

17                  A.         Okay.

18                  Q.         Do you recall that when they -

19         at the time they came to                 you with the

20         surveillance footage that they only had

21         Georgia at that point in time?

22                  A.         I don't know if I was aware of

23         that.     I knew that there was footage from

24         Georgia.       I knew that they were in the

25         process of trying to get footage in other


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1          places.

2                             And I also knew that there were

3          enormous obstacles and difficulties to

4          getting comprehensive footage.

5                   Q.        Okay.      On Page 6, there is a

6          reference to a Frank Lamont?

7                   A.        Yeah.

8                   Q.        And who is Mr. Lamont?

9                   A.        He is a graphic designer.

10                  Q.        And who -- in connection with

11         the film, who supervised his work or who gave

12         him instructions and had him produce things?

13                  A.        My partner, Bruce Schooley.

14                  Q.        Okay.      Did you work with

15         them -- work with him at all on the graphics

16         that were shown in the film?

17                  A.        No.

18                  Q.        And then finally, under

19         Promotion, it says -- No. 19, it says

20         "Mar-a-Lago"?

21                  A.        Yes.

22                  Q.        And the premier for the film

23         was held at Mar-a-Lago.                Right?

24                  A.        Right.

25                  Q.        How did it come to be that the


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1          event was held at Mar-a-Lago?

2                   A.        It was my idea.               And I thought

3          it would be a -- film premiers are ultimately

4          glamorous events, and I thought it would be

5          cool to have it in a -- in that setting, not

6          to mention the fact that it tied in with a

7          theme that President Trump was very

8          interested in.

9                             It -- so that's why we

10         approached Mar-a-Lago to host the premier.

11         But, you know, we were a normal customer and

12         we paid a hefty fee to do it; and we worked

13         with their organizational team in having that

14         event.

15                  Q•        And Mr. Trump attended the

16         event?

17                  A.        He did.

18                  Q•        Okay.      Now I am done with that

19         big stack.

20                            All right.          Were you asked to

21         collect any documents in connection with this

22         litigation?

23                  A.        Yes.

24                  Q•        And what documents were you

25         asked to collect?


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1                   A.        Various documents in response

2          to your requests.

3                   Q.        Do you remember -- well, so

4          what steps did you take to undertake that

5          collection of documents?

6                   A.        Initially we attempted

7          to -- we, Debbie and I, attempted to do

8          searches through cell phones and our

9          computers and any other files that we had.

10         We obviously consulted with other people,

11         like Bruce and others, about things that we

12         needed.

13                            And ultimately, I believe,

14         there were certain kind of collection firms

15         that were recruited to perhaps, you know,

16         more thoroughly, more systematically collect

17         data, the things that we didn't seem to

18         either find or have the technical resources

19         to excavate.

20                            And so that was the -- that was

21         the process.

22                  Q.        And was all of your -- were all

23         of your records in electronic form or did you

24         have anything in paper form?

25                  A.        They were in electronic form.


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1          I don't know if I had any paper lying around.

2          I don't recall any.

3                   Q.         Okay.     And who was asked to

4          provide documents or -- who was asked to

5          provide their electronic files?

6                   A.         I don't know everybody who was

7          asked.        I know that I was asked and Debbie

8          was asked.         Bruce was asked.

9                              And I believe my daughter,

10         Danielle D'Souza Gill, was asked.

11                             Those are the people that I

12         know about.

13                  Q.         And who was it who reached out

14         to people to ask them for data?

15                  A.         I think this was a process we

16         undertook in consultation with our counsel.

17                  Q.         Okay.     And other than, you

18         know, yourself, Mrs. D'Souza, your daughter

19         Danielle, and Mr. Schooley, are you aware of

20         anybody else from whom they collected

21         documents?

22                  A.         Well, I know that our -- I

23         think cinematographer may be the right term,

24         is Nathan Frankowski, and I know that he was

25         providing some of the electronic digital


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1          footage because he is the one who stores that

2          kind of stuff.

3                   Q.        Okay.      How about Mr. Lamont?

4                   A.        I'm not aware that he has been

5          contacted or provided anything.                     I just don't

6          know.

7                   Q.        Okay.      And then the actual

8          gathering of the electronic data, that was

9          done by a third party?

10                  A.        Yeah.      I think it was more than

11         one third party --

12                  Q•        Yeah.

13                  A.        -- but yes.

14                  Q•        So let's talk about the events

15         that led to the making of the film.

16                  A.        Okay.

17                  Q.        And so you said the first time

18         that you met Ms. Engelbrecht was at the

19         meeting at your house when she and

20         Mr. Phillips came to discuss the possibility

21         of -- or to discuss their research with you.

22         Right?

23                  A.        Yeah, as best as I can recall.

24                  Q.        Okay.

25                  A.        And the only reason I say that


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1          is because I do a lot of speaking events and

2          I do meet a lot of people in a casual

3          context, so -- but, no, in terms of sitting

4          down with her, that was the first time.

5                   Q.        Okay.      And how did that meeting

6          come to take place?

7                   A.        The topic of election integrity

8          and election fraud was in the air, if I can

9          put it that way.           Lots of people were talking

10         about it.

11                            And my wife, Debbie, is friends

12         with Catherine Engelbrecht.                      And so I don't

13         remember if Catherine reached out to Debbie

14         or the other way around.

15                            But, in any event, Debbie

16         reported to me that, hey, it looks like

17         Catherine and True the Vote has been doing

18         some original work in the area of election

19         integrity and either they want us to know

20         about it or I think it would be good if we

21         learned more about it.

22                  Q.        And so Ms. D'Souza set up that

23         meeting at your home?

24                  A.        Yes.

25                  Q.        And it was just the four of


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1          you?

2                   A.         Yes.

3                   Q.         How long was the meeting?

4                   A.         We went to lunch first just on

5          a social basis, didn't discuss any of the

6          work per se.         And then we sat down to a

7          meeting at our house for somewhere between

8          three to five hours.

9                   Q.         And what did they -- so did

10         they make a presentation to you?                        Was it a

11         conversation?         How did the meeting go?

12                  A.         Both.      They made a -- they made

13         a presentation, which was illustrated by

14         Gregg opening up his computer and showing us

15         things.       And most of those things pertained

16         to cell phone geotracking.

17                             It was a little bit of a primer

18         in -- a course, mini course, if you will, in

19         cell phone geotracking.

20                             It was a discussion of election

21         laws and election rules.

22                             It was a discu- -- we had a

23         discussion, as I recall, about the criteria

24         for elections to be called into question,

25         overturned.


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1                             And then there was a discussion

2          of surveillance video.

3                             And we didn't see a lot of

4          video, but they made it clear to us that they

5          were in the process of obtaining video.                         And,

6          obviously, for someone like me, thinking in a

7          sort of a film mode, that becomes quite

8          important because films show things.

9                             And as -- in the early part of

10         our conversation, I was a little bit

11         skeptical.

12                            Well, first of all, the topic

13         was kind of new to me.               And while I've been

14         quite involved in political stuff, I was

15         learning new things.              So that was -- that

16         raised a whole host of questions.

17                            And -- but also in the back of

18         mind there were also, I would call it, you

19         know, the filmmaker questions, which is, What

20         do you show?        What will the audience see?

21         What can you -- if you make a movie about,

22         let's just say, the, you know, robbing of

23         Fort Knox, you kind of need to show burglars

24         breaking into Fort Knox.                 There's no other

25         way to make the movie.


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1                   Q.        And at that -- at that point in

2          time, had they done any matching of video to

3          their geolocation research?

4                   A.        I don't know if they had or not

5          because we've had so many subsequent

6          conversations and it's a little difficult for

7          me to place them into a timeline; however,

8          the topic was discussed.

9                             And they discussed the fact

10         that while the amount of video was scarce,

11         relatively scarce, they had a lot of it, but

12         they had not a lot of it relative to how much

13         they should have had or, in other words, how

14         much would -- you would get if you had

15         were able to track all the drop boxes.

16                            Nevertheless, they said that

17         part of the effectiveness of this mode of

18         research was that it took two completely

19         independent lines of inquiry and had the

20         possibility, at least on certain occasions,

21         to match the one with the other.

22                            To illustrate very briefly, you

23         know, if your cell phone shows that let's

24         I'm just giving a general example here.                         If

25         your cell phone shows that you were at


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1          Mr. Smith's at 2:00 a.m. in the morning and

2          Mr. Smith happens to have a surveillance

3          camera, you go look on the camera at

4          a.m. in the morning and see if you can see

5          the guy.      So that's the matching that we're

6          talking about.

7                             I don't remember if they --

8          what they said in terms of how much they had

9          progressed on that to that point, but they

10         did discuss the topic.               And it was very

11         appealing to me because obviously I thought

12         cell phone geotracking alone was a

13         fascinating and original line of inquiry.                          It

14         was a very rare opportunity to take us right

15         back to what happened exactly in the days

16         leading up to the 2020 election.

17                            In theory, prior to that

18         meeting, if you had asked me, you know, How

19         can you go back and find out what happened?

20         I would have said, There is no way.                       The best

21         you can do is affidavits, complaints by

22         people who are -- said, I was there.

23                            But the cell phone geotracking

24         was a way of putting people there at that

25         time.     So I thought, Wow, this is really


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1          great, very interesting, at the very least.

2                              And then, second, the idea of

3          having the surveillance video appealed to me

4          both as a filmmaking -- as a filmmaker, but,

5          moreover, as a way of either supporting or

6          reinforcing, corroborating things that were

7          established through the cell phone

8          geotracking.

9                   Q.         And did Mr. Phillips show you

10         any maps?

11                  A.         Yes.

12                  Q.         And what were those maps

13         depicting?

14                  A.         The maps were -- were -- he

15         described them as a streamlined version of

16         the data.

17                             So the data is the data.                   I

18         envisioned in my mind like an Excel

19         spreadsheet.         And then the map was a

20         depiction of a particular -- not a person,

21         but a cell phone, a device, moving through

22         space and through time.

23                             And he had depictions of that

24         on his computer.           I don't remember the

25         specific maps, but he was like, This is how


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1          we do it.          Let me show you what this looks

2          like.

3                              And he went on to describe a

4          concept that I had not heard of before, but

5          called pattern-of-life, which is a way of

6          sort of schematizing a map and developing a

7          pattern out of it, or maps, that could give

8          you a picture of real-life events.

9                   Q.         And did you use any of those

10         maps in the film?

11                  A.         I'm not sure if we did.                   I

12         think that we -- we might have.                      But I also

13         know that we didn't like the -- the maps were

14         very crude and they were -- you know, they

15         were the kind of maps I would make.

16                             And so I think we were

17         uncomfortable with the crudity of the maps.

18         And besides, in the film you have to think

19         about what something means to the audience.

20                             So, for example, putting up,

21         you know, an Excel spreadsheet is absolutely

22         pointless in a documentary film.                         No one

23         could make head or tail of it.

24                             And so the maps that were shown

25         largely in the background of the film were


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1          nothing -- were intended to illustrate the

2          themes that were being discussed.

3                             So in a documentary film, when

4          you have a credible source or witness, the

5          primary focus is on what they're saying; but

6          being a film, we'll often have a pictorial

7          representation of what they're saying or

8          we'll have a depiction so that the audience

9          goes, Aha, that's what they are doing.                         So

10         that's the purpose of the background maps.

11                            It's completely different if

12         you put a map onto the front screen and start

13         following the -- and telling the audience

14         this is, you know, Peachtree Avenue and then

15         the guy went to another street.                     That's a

16         different way of treating a map.

17                            But on the other hand, for

18         example, if we have Gregg and his co-workers

19         that are           that are talking about

20         geotracking or working on geotracking, we

21         would have illustrative maps in the

22         background and it wouldn't particularly

23         matter what those were.                The audience would

24         not be in a position to make any

25         identification in any case.


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1                   Q.         Why didn't do you it that way?

2          Why didn't you show a person                        you know,

3          have Mr. Phillips show a person going to

4          multiple boxes and stash houses, et cetera?

5                   A.         Well, the maps as shown in the

6          film do not pertain to the surveillance

7          video.        They pertain to the geotracking.

8                   Q.         Uh-huh.

9                   A.         And so we come back to the

10         question of how do you show a person?                          I

11         think what you're saying is we would have to

12         have shown an actor walking a particular

13         path.     And we just chose not to do it that

14         way.

15                            In fact, I think the

16         artificiality of that is more blatant and

17         more hokey, if I can put it that way, than

18         simply having an intelligent discussion with

19         maps in the background.

20                  Q.         No, what I had referred to is,

21         though, having a map where he shows the blip

22         on the map going to the various places.                            I

23         wasn't referring to a specific person.

24                  A.         Yeah, in the film                   in the

25         film Gregg does on occasion refer to a


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1          specific map, and the specific map is shown

2          in the film.        And that happens on multiple

3          occasions.

4                   Q.        And was that a map of Atlanta?

5                   A.        The -- well, the incidence that

6          jumped to mind off the top of my head, is

7          so -- so, for example, when Gregg Phillips is

8          talking about the Secoriea Turner murder, he

9          shows an actual map of the area where the

10         little girl was killed.                He shows an actual

11         sort of radius of where the presumed shooters

12         are.     And that's a good example of an actual

13         map.

14                            There are a number of times in

15         the film where Gregg is not just in the

16         conversation with him -- with me and Debbie,

17         but separately in the meeting with the Salem

18         hosts where Gregg is showing things on his

19         computer and we're showing Gregg showing

20         them, and the Salem hosts are reacting in

21         realtime to what they are seeing.                       And that's

22         part of Gregg's presentation.

23                  Q.        Although when he was actually

24         having the discussion with you, the maps were

25         not in his background.               Right?


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1                   A.        That is right.                Although -

2          although, as I recall, during that discussion

3          there were times when Gregg did open up his

4          computer and show us things in the

5          conversation.         And I'm not quite sure how

6          much of that in the edited version made it

7          into the movie.

8                             So did Gregg have maps and

9          computer presentations?                Yes, he did, during

10         both presentations, meaning the presentation

11         in The Woodlands as well as the LA

12         presentation.

13                            And then ultimately we make

14         movie decisions, editorial decisions about

15         how best to depict the information that is

16         collected and how best to present it.                         How do

17         we make it more understandable.

18                            This is an inherently complex

19         topic and so I have a task that I normally am

20         considered good at, but it's very difficult

21         here, the supreme task of taking an

22         inherently technical topic, you know, similar

23         to ballistics or something like that, and

24         trying to convey this in an understandable

25         manner that makes sense to an audience that


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1          is obviously not technical at all.

2                   Q•         And when       you said you did a lot

3          of research on geotracking, was that before

4          or after this meeting?

5                   A.         That was after the meeting.

6                   Q.         Okay.

7                   A.         You're talking about the

8          initial meeting?

9                   Q.         Yeah, after the initial meeting

10         at Woodlands.

11                  A.         Yes.

12                  Q.         And at the -- what was -- well,

13         you referred to -- a couple of times you

14         talked about Excel spreadsheets.

15                             You didn't see any Excel

16         spreadsheets, did you, from Mr. Phillips?

17                  A.         No.     I mean, he always had a

18         massive briefcase full of drives, documents,

19         computers, other devices.                   But, no, I didn't

20         go through it.

21                  Q.         Okay.      Did he show you any

22         hard-copy documents?

23                  A.         What do      you mean?

24                  Q.         Paper documents.

25                  A.         I'm trying to remember.


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1                              He might have.               I just don't

2          recall.

3                   Q.         Okay.      But your recollection is

4          he seemed to have some of them with him in

5          this briefcase?

6                   A.         He had a lot of stuff with him

7          in the briefcase, yes.

8                   Q•         And some of it was paper?

9                   A.         Yes.

10                  Q.         So what was -- we'll take a --

11         we'll take a break in a minute.                         We've been

12         going about an hour.

13                             What was the next step after

14         that Woodlands meeting?

15                  A.         The next step after the

16         Woodlands meeting was to think about whether

17         this topic had enough new material, by which

18         I mean new concepts, new ideas, new

19         information.         Whether the topic was of

20         sufficient public importance to seriously

21         hunker down and consider making it our next

22         movie, or at least beginning the process of

23         that.

24                             As you know, we had a deal with

25         Salem Media to make a movie, but they didn't


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1          tell us what to make the movie about.                        It was

2          completely kind of at my discretion.                        It was

3          based upon my record with earlier films.

4                             We had talked about two or

5          three other ideas for a movie.                    In fact, the

6          fact that our LLC was called One-Party

7          America is a little bit of a hint of one of

8          the earlier incarnations of a movie that we

9          were -- we had done some research and we were

10         somewhat down the road of wanting to make

11         that film.

12                            And so essentially I just had

13         to think about whether this is something that

14         was sufficiently interesting.

15                            And I've got to say that the

16         initially it met that bar quite easily

17         because it -- first of all, there had been

18         widespread ruminations about election fraud

19         in a variety of angles.

20                            I had been very intrigued by

21         all of those things, boarded up windows and

22         allegations about machines, but I was not on

23         board with any of those as proving anything.

24                            In other words, an anomaly is

25         not same thing as a proof.                   An anomaly is


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1          just a strange thing that needs to be

2          explained and possibly there is a rational

3          explanation.

4                             Also, as I mentioned a moment

5          ago, I was very doubtful that one could sort

6          of go back and solve this who-done-it, if you

7          will.     But True the Vote was proposing a way

8          to do that.

9                             Not to do that in the

10         definitive sense that no more work would need

11         to be done, but to do that in a way that

12         would give is really important new

13         information on a really critical topic that I

14         thought audiences across the board would find

15         fascinating and would generate a constructive

16         debate, although I was also aware the topic

17         was controversial.

18                            And so essentially over the

19         next relatively short period, I made the

20         decision to approach Salem Media about the

21         topic.

22                            This was also part of what I

23         would call my vetting process, which is to

24         say that I have had a long career myself in

25         public life, you know, as a university
     l_
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1          president, I've been at two prestigious think

2          tanks, I've taught courses and classes at

3          universities.         And so I trust my judgment.

4          But on the other hand, I also think there are

5          other intelligent people in the world.

6                             And so what I wanted to do was,

7          all right, here we've got Gregg Phillips and

8          Catherine Engelbrecht and they are giving me

9          a very interesting, to say the least,

10         presentation.         Why don't I haul them before a

11         group of corporate people at Salem?

12                            It's quite a diverse group.

13         It's got lawyers.           It's got CEOs.              It's got

14         media people.         It's got people who deal with

15         social media.

16                            In other words, a relatively

17         wide range of backgrounds.

18                            And let me put these two in

19         front of them in a free-for-all and have them

20         do a presentation and then have at it.

21                            And part of my goal there is

22         partly to persuade Salem, Hey, guys, this is

23         something that you would like to pursue.

24         Because while it's my choice as to the topic

25         of the film, I like to get Salem on board as
                                                                                    _I
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1          the funder of the film.                But I also saw it as

2          an opportunity to learn more from probing

3          questions from intelligent people.

4                             And so that was the next step.

5                   Q.        Did you consider taking them

6          before a panel of experts in geotracking to

7          see how their methodology held up?

8                   A.        I didn't do that and the reason

9          I didn't do that is because this would be

10         akin to me taking an expert on ballistics to

11         a panel of ballistics experts and having --

12         and listening to that discussion, which I

13         would never be able to make head nor tail of.

14                            So it was really more about

15         making a judgment about the credibility and

16         ability of these two people to execute the

17         task at hand which was ongoing, raise

18         questions, whether they were technical

19         questions or whether they were more questions

20         about the implications of these findings, and

21         to do that in more than one setting with a

22         diverse group of people so that we could

23         assess their -- assess the value of their

24         work both -- initially, of course, outside

25         the film, but then critically inside the


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1          film.

2                   Q.         And so did you do any other

3          vetting other than with the Salem Media

4          folks?        Any third party              any vetting with

5          anyone -- any other groups of people other

6          than Salem Media?

7                   A.        I didn't do any additional

8          vetting, but I did hatch in my mind the idea

9          of not doing a film exclusively on True the

10         Vote, but widening the scope of the film to

11         draw in other experts who would corroborate

12         and enhance the themes in the film.

13                            So, for example, if you're

14         talking about nonprofits, which obviously had

15         been mentioned, my question is, I thought

16         nonprofits are not supposed to be involved in

17         elections.         Are we making the claim that

18         these nonprofits are involved in elections?

19         How do we know that?

20                             Moreover, any kind of organized

21         operation, any kind of election fraud,

22         election fraud as distinguished from, say,

23         voter fraud.         Voter fraud is if you vote

24         twice.        Election fraud is when someone is

25         organizing something.


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1                             So for someone to organize

2          something, they would have to have some

3          organizational structure.                  There would have

4          to be money involved.              If the mules are being

5          paid, somebody would have to pay them.

6                             And so the question in my mind

7          was, Where does the money come from?

8                             There were questions that were

9          raised by True the Vote that were beyond the

10         scope of True the Vote.

11                            And so part of my -- I don't

12         know if "vetting" is the right word, but it

13         is a form of vetting in my opinion because

14         what we're doing is we are exploring whether

15         the ancillary implications of what they are

16         saying hold water.

17                            If I talk to an expert on

18         nonprofits and he goes, Oh, no, nonprofits

19         are not involved in elections, the idea that

20         these mules would have gotten their ballots

21         from nonprofits is absurd, that would be a

22         problem.

23                            But -- so I made a mental note

24         at that point early on, let's bring in some

25         other sources who would flesh out these


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1          themes, would connect them with election law,

2          would connect them with what can be done,

3          would connect them with what the next steps

4          might be.

5                             And all of that was part of the

6          way that you make a documentary film.                        You

7          have a primary maybe research source, but

8          it's your          it's not always your job or even

9          your competence to second-guess the resource

10         or try to make sure that that research is

11         correct.      I was trying to do that in every

12         way that I could.           In other words, using my

13         judgment and layman's understanding of these

14         complex issues.

15                            But it was more to test the

16         validity of what they were saying by spelling

17         out the implications of it and testing

18         whether those implications held water.

19                            In the course of our

20         conversation, for example, Gregg told me that

21         it is a part of election law that elections

22         can be overturned not necessarily by

23         establishing that one guy won instead of the

24         other, but merely by establishing that the

25         outcome would be in reasonable doubt.                        I


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1          don't know who really won this election;

2          therefore, I'm going to, as a judge, kind of

3          cancel the election and either have it again

4          or remove the alleged -- you know, remove the

5          winner from office.

6                             And I remember Gregg telling me

7          that and so not only did I go and research

8          the case in North Carolina in some depth

9          where an election was, in fact, overturned,

10         but I talked to people I know who are in the

11         election field, including Harmeet, about what

12         happened in this case.               Is this, in fact,

13         accurate?

14                            So these were ways of me

15         testing the credibility of Gregg and

16         Catherine in areas that I was competent to

17         find out if what they were saying is -- was

18         valid, and it was.

19                  Q•        At what point did Mr. Schooley

2O         become involved?

21                  A.        Bruce has been involved with my

22         films from

23                  Q.        I meant this particular film.

24                  A.        Oh, yeah, with this particular

25         film, after the meeting with Gregg and


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1          Catherine, I -- either I alone or Debbie and

2          I had conversations with Bruce and expressed,

3          Hey, we have a very interesting -- we had an

4          interesting meeting.              We kind of relayed the

5          contents of it to him to get his initial

6          reaction.

7                             As Debbie mentioned yesterday,

8          we have a small film team, but each of us

9          provides a different, I would call it, angle

10         of input and also relative strengths.                        And so

11         what we try to do and what I try to do is to

12         draw on the strengths of the each of the

13         members of the team to be able to convey kind

14         of what they know best and do best in the

15         form of a critique of an idea and an

16         evaluation of it.

17                  Q.         And what was Mr. Schooley's

18         particular expertise?

19                  A.         His background, he is an

20         entrepreneur and he is an inventor and he is

21         a creative artist, I think is not a wrong way

22         to put it.         In other words, he creates

23         products and has patents on those products.

24                             And he's very interested in the

25         filmmaking process, has now been involved


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1          with it for a decade.              And he is extremely

2          visual.

3                             And so I would very loosely

4          say, although both of us are interested in

5          the ideas and both of us are interested in

6          the visual aspects of filmmaking, I would say

7          that he is numero uno on the visual front and

8          I'm sort of numero uno on the intellectual

9          front.

10                  Q.        And what about Ms. D'Souza?

11                  A.        I married Debbie in 2016, so

12         she's a late-comer to the -- to the process.

13         She's not a partner in D'Souza Media.                        So I

14         would say to that degree, her role is less

15         than Bruce's and mine.

16                            However, she, kind of by

17         coincidence, brings a series of skills that

18         are very valuable to us.                 She's a political

19         science major, so she does have a good

20         understanding of politics.

21                            She was the head of the

22         Fort Bend County Republican Club, so ran a

23         large Republican club with hundreds of

24         members.

25                            She is also a professional
                                                                                     I
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1          singer and has made CDs, so she knows about

2          music and music is a critical element of any

3          film.        In fact, it's the emotional

4          underscore -- or score of the film.

5                              She's also extremely well

6          organized and so she's sort of

7          our -- certainly the administrative head of

8          my life, but also of some of the projects

9          that we do.

10                             And she's also very visual and

11         comes up with good ideas.

12                             And so I would say it's

13         probably true that Debbie kind of

14         participates mainly through me, but also in

15         her own right.

16                             So that's her place in the

17         film.

18                  Q          Okay.

19                             MS. HABER KUCK:              Why don't we

20                  take a break.           We've been going a

21                  while.

22                             THE VIDEOGRAPHER:               Going off

23                  the record.         The current time is

24                  10:56.

25                            (Recess taken at 10:56 a.m.,


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1                   resuming at 11:10 a.m.)

2                              THE VIDEOGRAPHER:                We're going

3                   back on the record.                The current time

4                   is 11:10 and this is the start for

5                   Media 3.

6                   Q.        (By Ms. Haber Kuck)                  So at some

7          point in time before             you started making the

8          film, you entered into a series of contracts

9          with the relevant parties.                       Correct?

10                  A.         Yes.

11                  Q.         And was there an LLC formed to

12         make the film?

13                  A.         The LLC had already been

14         preformed.         It was called One-Party America,

15         LLC.     It already existed.

16                             And so our film titles and our

17         LLC titles aren't the same, so it was quite

18         easy to import this new concept under an

19         existing LLC.

20                  Q.         And did      you also enter into an

21         agreement with TTV?

22                  A.         Yes, we did, and we also had

23         Salem have an agreement.                  I think       they

24         drafted the agreement and, yes, TTV signed

25         it.


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1                   Q.        And do you recall the terms of

2          that agreement?

3                   A.        In general terms, yes.

4                   Q.        Tell me in general terms and

5          then we'll look at the document.

6                   A.        Well, in general terms, there

7          were a few key elements outside of the legal

8          boilerplate.

9                             One, that True the Vote would

10         cooperate actively with the research that was

11         needed, that would be the backbone, if you

12         will, of the film.            They would be

13         acknowledged and credited for that

14         involvement.

15                            They would also participate in

16         helping to promote the film and help us get

17         the word out, so to speak.                   We would be the

18         primary promoters, but we were counting on

19         them to kind of do their part.

20                            Number three, we wanted

21         to -- we were insistent that they protect the

22         confidentiality of the surveillance video,

23         but also more generally of their work,

24         because part of my persuasion to them about

25         whether to do a film was based upon the idea


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1          that complex ideas cannot be released in

2          dribs and drabs and they need -- it needs to

3          be presented as part of a narrative

4          storyline; and, therefore, the film is an

5          effective medium to present these ideas and

6          have them intelligently discussed.

7                               And so we didn't want the key

8          visual features of the film to be getting out

9          or people to sort of know all about it

10         beforehand because why go see the film if

11         that's the case?

12                              We offered True the Vote

13         10 percent of the profit share of the film,

14         which is basically once you recover all the

15         costs of the film, pay back the equity

16         investor, which is Salem, the so-called P and

17         A lender, prints and advertising lender, also

18         Salem, once Salem had recouped its investment

19         and loan, then the balance left over would be

20         the profit bucket.             And we offered True the

21         Vote 10 percent of that, which I thought was

22         a reasonable amount, the reason being that,

23         of course, Salem inherently had 50 percent of

24         the bucket just by virtue of putting the

25         money in.          So everybody else had to share the

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1          other 50.

2                               And we were giving True the

3          Vote a fairly large share that was not as

4          large as mine, but was as large as Bruce's.

5          And there were other people who were also

6          involved in that.

7                               So the confidentiality was

8          critical.          The        obviously, the profit

9          share, the compensation, is critical.

10                              And we basically said, you

11         know, Provide us with what we need to make

12         this film.

13                              So we -- and they were -- they

14         were on board with all of that.

15                   Q•         So let's look at a document we

16         previously marked as Exhibit 38.

17                  (Previously marked was Plaintiff's

18         Exhibit No. 38.)

19                   Q.         (By Ms. Haber Kuck)                   And just

20         if you -- the agreement, as I understand it,

21         is on the second page of that document.

22                   A.         (Reviewing.)              Yeah.       Yeah.

23                   Q•         And that's the agreement, as

24         you said, it's between True the Vote, Salem,

25         and D'Souza Media.                Right?


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1                   A.         Right.

2                   Q.         Looking at the whereas, the

3          first whereas clause, it says (as read):

4          "TTV is the owner of highly confidential film

5          footage."

6                              What is that referring to?

7                   A.         That is a reference to

8          surveillance video.

9                   Q.         Okay.     Why was that

10         surveillance video highly confidential?

11         Wasn't it open-source material?

12                  A.         Yes, but the problem with open-

13         source material is that if you and I

14         got -- first of all, it's difficult to get

15         this video.         It's not like it's available

16         online and you simply search it by Google and

17         it pops up.         If that were the case, this

18         statement would be absurd.

19                             You have to go through a

20         complex process.            You often have to pay money

21         to get access to this video.                     You sometimes

22         need some legal expertise to be able to

23         obtain it.         I obviously know more about all

24         of this now than I did before.

25                             And not only did they have the


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1          video, but, more importantly, they had gone

2          through the video and they had -- in an ocean

3          of essentially nothing had excavated

4          particular meaningful content, clips and so

5          on.

6                             And that's what we mean by

7          highly confidential.              They are the clips that

8          they have painfully culled from the large

9          body of video.         They are in possession of

10         that video.        They obtained it legally, and so

11         it's their video.

12                            And so it's confidential in

13         that sense.        It's really kind of -- the

14         meaning of "confidential" here is it has not

15         been seen by the public.

16                  Q.        Okay.      It's not easily

17         obtainable by the public?

18                  A.        True.

19                  Q.        Was this agreement ever

20         amended, or is this the only agreement you

21         ever had with them?

22                  A.        To my knowledge, the agreement

23         wasn't changed.          In subsequent conversations

24         with Bettina reflecting Catherine and Gregg's

25         discontent, as evidenced by Page 1 where she


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1          says the doc is horrible, we made some modest

2          concessions and agreed to do a couple of

3          things to appease them.

4                             And I don't remember exactly

5          what those were, but I suppose those would be

6          a de facto modification of the agreement.

7                   Q.        Okay.      But there is no other

8          agreement that says amended agreement, to

9          your knowledge?

10                  A.        To my knowledge, yes, that's

11         correct.

12                  Q.        Okay.      And if you look at

13         Paragraph 4, which is the revenue share, it's

14         on Page 2, that's what you were talking about

15         that they would get 10 percent of the profit

16         share?

17                  A.        Yes.

18                  Q•        And as it turned out, TTV

19         itself was not actually paid anything.

20         Right?

21                  A.        As it turned out, that is

22         correct.

23                  Q.        And why was that?

24                  A.        The -- at the end of the

25         process -- this was obviously several months


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1          later when there were profit payouts -- I

2          called Catherine and/or Gregg.                    I don't

3          remember if it was both of them or just

4          Catherine.         It wasn't just Gregg.                I know

5          that.

6                              And I basically said, Hey,

7          guys, you know, the film has done well, which

8          they already knew, and that we have a

9          10 percent profit payout, which we're going

10         to do in parts.          So we didn't do it all at

11         once.     And so we're ready to send that to you

12         and how would you like me to do that?

13                             And I say that because since we

14         deal with contractors all the time, it is

15         quite normal for me to                   well, Bruce has an

16         LLC.     I have an LLC.           I contract with parties

17         all the time and sometimes it will be like,

18         Hey, Dinesh, you know, would you like us to

19         make it out to you or do you have an LLC?

20                             So I asked Catherine and Gregg

21         how do they want to receive this profit

22         payout.       And they replied and gave us the

23         name of an LLC, and we paid it to that LLC.

24                  Q.         Although TTV is a

25         not-for-profit.          Right?


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1                    A.         That is right.

2                               MS. HABER KUCK:              Okay.      So

3                    let's mark -- let's look at 73.

4                    Q.        (By Ms. Haber Kuck)                  This is a

5          document we previously marked as Exhibit 73.

6                   (Previously marked was Plaintiff's

7          Exhibit No. 73.)

8                    A.         If I can just add one brief

9          thought to the last point.

10                   Q.        (By Ms. Haber Kuck)                  Uh-huh.

11                   A.         Organizations can be

12         not-for-profit and still do profit-making

13         projects.          I just wanted to put that on the

14         record.

15                              I've been involved with

16         nonprofits all my life, and they will sell

17         books and they will do things that do make a

18         profit, but the profit goes into the

19         nonprofit, if you know what I mean.

20                   Q.         Correct.

21                   A.         Yeah.

22                   Q.         Correct.         But usually in the

23         case of a nonprofit, it doesn't go to the

24         individuals involved with the nonprofit.

25         That's a little bit different than, say,


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1          D'Souza Media, which is a private company.

2                   A.        That's true.            The reason that

3          this switcheroo, if you want to call it -- I

4          don't think of it that way -- didn't bother

5          me is because we were drawing on a

6          considerable amount of Catherine and Gregg's

7          time, and also their individual knowledge.

8                             And so, to me, it was an open

9          question to what degree the film was, from

10         their point of view, a True the Vote project

11         or was it a True the Vote project with

12         partial involvement by them as individuals or

13         was it largely an individual project that was

14         nevertheless drawing on some research that

15         was -- had been done by -- and separately

16         funded by True the Vote?

17                            Frankly, none of this is -- is

18         my main concern.          I was just trying to

19         deliver to them their share of the payout and

20         I thought it was reasonable to ask them how

21         they wanted to receive it.

22                  Q.        Well, let's look at

23         the -- let's look at Exhibit 73, which --

24         it's difficult to tell.                It's from "Me,"

25         which I'm assuming is you.


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1                             It says (as read):

2          "Participants, 3."            It appears to me it's

3          between -- well, I'm not quite sure actually.

4          If you could read the -- read the text and

5          see if you can tell who you're communicating

6          with.

7                   A.        (Reviewing.)            I cannot because

8          there is no reply, only some attachments.

9                   Q.        Right.

10                  A.        But that is -- that sounds like

11         me.

12                  Q•        And it says (as read):                 "By the

13         way, I told Bettina last night I'm happy to

14         modify the license agreement so the

15         10 percent share goes to you guys"?

16                  A.        Uh-huh.

17                  Q.        Would that suggest you were

18         talking to Gregg and Catherine?

19                  A.        That would suggest that, yes.

20                  Q.        And you say (as read):                 "It can

21         go either 5 to Catherine or 5 to Gregg or 10

22         to True the Vote.           Completely up to you.                 I

23         think you guys should get some personal

24         benefit out of this, so let me know if you

25         want to make this modification."


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1                             Right?

2                   A.        Right.       Right.           This is a

3          response to my conversations with Bettina and

4          her expressions of conveying Catherine and

5          Gregg's frustration that they had, you know,

6          in their -- in their rhetoric had, like, put

7          their lives into this and devoted a lot to

8          it.

9                             I think they also were a little

10         bitter, and there is some verbal -- some

11         written and some verbal confirmation of this,

12         about, like, the attention is flowing to you,

13         Dinesh.       You just made a movie.                 We did all

14         the work.

15                            So this is the background of

16         all of this.

17                            And I'm also trying to smooth

18         the waters.        We obviously don't want to have

19         renegade Catherine and Gregg when we have a

20         film out there, and so I am doing my best to

21         smooth the waters.

22                            And so I am telling Bettina,

23         their representative, Bettina, listen, you

24         know, we made an agreement.                      We are going to

25         pay out the 10 percent.                It's a matter of


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1          indifference to us how you receive it.                          Just

2          what I said a moment ago.

3                              And obviously, here there is a

4          little bit more particularity and color.                           I

5          don't remember offering 5 and 5.                        But I think

6          this was my effort to create a harmonious

7          bridge to two ships that had seemingly

8          started out on the same course, but had

9          pulled kind of far away from each other.

10                  Q.         And so this was made in the

11         context of them trying to renegotiate the

12         agreement?

13                  A.         Exactly.

14                  Q.         And so if the money went to

15         them          if it went to TTV, it was going to a

16         nonprofit.         If it went to them, they had

17         access to it personally.                 Right?

18                  A.         Right.

19                  Q.         And so to keep them happy, you

20         were suggesting, Look, we will just give it

21         to you personally, if that's what you want to

22         do?

23                  A.         Yeah, it was part of us trying

24         to show maximum flexibility at a stage when

25         the waters were roiled.


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1                    Q•       And this is right before the

2          film came out.          Right?        This is February -

3          or, I'm sorry, May 1, 2022?

4                    A.       Right.        So this is at a point

5          when the film is about to come out, but the

6          way that films are -- because the film came

7          out right about that time.

8                             But we may have already had our

9          virtual premier and we already had a lot of,

10         like, preorders and things like that for the

11         film.

12                             You can generally make a fairly

13         early projection about how films are going to

14         do.      And at this stage, right at the

15         beginning, it was quite obvious the film

16         would do well.

17                   Q•        Let me mark as Exhibit 99 a

18         document bearing Control Nos. TTV_007469

19         through 7471.

20            (Marked was Plaintiff's Exhibit No. 99.)

21                   Q•       (By Ms. Haber Kuck)                   Now, this

22         is a           appears to be an email from it looks

23         to me like this is Bettina, Bettina Viviano?

24                  A.        Yes.

25                   Q.       To Catherine Engelbrecht and


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1          says (as read):         "Revised email request."

2                            Do you see that?

3                   A.        Yeah.

4                   Q.       Did you get an email similar to

5          this in which, you know, there was a

6          discussion -- there was a memorialization of

7          this discussion you had been having about

8          renegotiating things?

9                   A.        Yeah.      I got, you know, this

10         document or a version of it.

11                  Q.       Okay.       And this is the context

12         in which also the chat was sent about

13         changing the way the payment was going to be

14         made?     This --

15                  A.       Let me just check the date.

16                  Q.        This is April 26.

17                  A.        Yeah.      This is April 26 and

18         that was May 1, I believe, or early May, yes.

19         So that is -- that is correct.

20                  Q.       And you also offered them

21         20 percent of any share of the royalties from

22         your book sales?

23                  A.        Yes.

24                  Q.       Did they ever get anything for

25         that?


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1                    A.        No.

2                    Q.       And is that because

3           the -- there was no -- there was no profit

4           after other payments were made?                     Is that the

5           reason?

6                    A.       Exactly.          I mean, basically,

7           when Salem pulled the book, they did reissue

8           it later, but they lost the time window in

9           which the book would have had maximum

10          traction; and so it kind of torpedoed the

11          possibility of royalties at that point.

12                   Q.       And the third category of

13          things or expenses, and they were looking for

14          expenses of about

15                            Did they get those expenses?

16                   A.        No.    The -- we -- the two

17          donors that we introduced them to, to our

18          knowledge, gave them a total of                                  and

19          that was it.        And we didn't give them any

20          more or raise any more for them.

21                   Q.       Do you recall, though, giving

22          them each                 for expenses?

23                   A.       I don't, but I -- I do

24          believe -- they undertook certain unexpected

25          activities that were not envisioned at the


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1          beginning when the contract was signed; and

2          we recognized that there were costs involved

3          in that, both of time and of expense.

4                             They did those things in an

5          unusual way for a film.                Normally the film

6          would organize it.            The film would do it.                 I

7          would be the one doing the interviews and

8          doing the reporting and --

9                            But they -- in at least two

10         notable cases, they organized it.                       They did

11         it.      They even filmed it.              And they delivered

12         the film to us.

13                           But we saw this as a film

14         expense since we fully intended to use the

15         material in the film, so I think we did pay

16         them some money to cover those expenses.

17                  4 •      And what were those -- what

18         were those two notable events?

19                  A.       One was the -- was a

20         conversation with an actual mule in Arizona,

21         a mule who -- whose identity was concealed in

22         the film for fear of reprisals of some sort.

23                           But, nevertheless, they

24         interviewed -- Gregg interviewed the mule in

25         that case, in Arizona.               In the Yuma area, I


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1          believe.

2                             The other was an interview by a

3          lady named Heather Mullins of a -- a retired

4          detective or cop with regard to voter

5          irregularities that he observed and reported

6          to a GOP Republican committee.

7                            And that interview was done by

8          Heather, but was done at True the Vote's

9          direction.

10                           And so we -- those are the two

11         I'm talking about.

12                  Q.       And Heather Mullins was also

13         given a payment, right, in connection with

14         the film?

15                  A.       She might have been.                  I

16         don't -- don't know.

17                  Q.        Yeah.      Okay.        The conversation

18         with the mule in Arizona, did you have any

19         role in -- it sounds like you didn't have any

20         role in organizing that.

21                  A.        Not the interview itself.                   I

22         familiarized myself with the ambiance and the

23         surrounding case, and wrote about it in the

24         book as well.

25                           But, no, I didn't know who the


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1          person was, I didn't know her name, and I

2          didn't go to the filming.

3                   Q.       Okay.       Did you ever learn who

4          she was?

5                   A.       I might have heard -- I might

6          have learned her name.               I obviously didn't

7          use it.       But I don't remember it now.

8                   Q•       Okay.       And you never met her?

9                   A.       I never met her.

10                  Q•       And do you know how it was that

11         Mr. Phillips came to be able to get that

12         interview with the mule?

13                  A.        Yeah.      He told us that they

14         were doing active work in a number of places,

15         notably Arizona, it seemed, the most, but

16         also Michigan and also Georgia.

17                           And so I wasn't all that

18         surprised when the two kind of additional

19         interviews, if you will, that they conducted

20         were this those two states, because we

21         had been -- they had been telling us that

22         they're -- we're going to Arizona or we're

23         going to Georgia or we're going to Michigan,

24         those         that kind of thing.

25                  Q.       After you had this kind of


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1          renegotiation or you agreed to these

2          additional payments, did that smooth the

3          waters?       Did you feel that everything                       you

4          were -- you were all back on the same team at

5          that point?

6                   A.       I think it's probably fair to

7          say that it got us over the hump, but I think

8          that it did create some friction and bad

9          blood that manifested itself in certain ways.

10                           And might also have contributed

11         to their irritation over the film as a whole,

12         reluctance to specifically promote it as we

13         had expected.        And also with some residual

14         effect on our, really Debbie's, continuing

15         friendship with Catherine, which I would not

16         say has disappeared, but I would say is now

17         colored by this experience, as it inevitably

18         would be.

19                  Q.       When you say the reluctance to

20         promote it, was there any                        at any point in

21         time did they tell you they were -- they

22         disagreed with anything in the film?

23                  A.        No.    There were a couple of

24         times subsequent to the film where they made ,

25         I would say, modest critiques of the film,


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1          generally of a fairly narrow nature.

2                            We never heard anything to the

3          effect that they disputed the film as a

4          whole.

5                            It had more to do with the fact

6          that I think their expectations was that they

7          would be sort of the heroes of the film.

8          And, quite honestly, they were.                     We presented

9          them that way.

10                           But it is the nature of my

11         films that they are seen as my films.                         Very

12         similar to Michael Moore's films are Michael

13         Moore films.        And you can be in a Michael

14         Moore film, but you're not Michael Moore.

15                           So that's kind of the -- from

16         the media's point of view, I was the magnet

17         for the publicity; and I think they felt that

18         I was getting credit that legitimately

19         belonged to them, even though I felt I was

20         doing backward somersaults to always

21         acknowledge them.           I was aware of the

22         sensitivity of it.

23                           And so this was a -- this was a

24         sort of a sticking point.

25                           I think additionally,


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1          they -- it became increasingly apparent that

2          our collaboration was far more modest, from

3          their point of view.

4                             They did not see the film as

5          the conduit for their work as a whole.                         They

6          saw the film as that they had made certain

7          limited agreements to give us certain types

8          of stuff and that they had plenty of other

9          things to do and plenty of other agendas to

10         follow.

11                           And I think it became a little

12         bit disappointingly clear to us that we might

13         not even be, like, number one or number two

14         on that list.

15                           So it was not in the nature of

16         them repudiating the film -- they never did

17         that -- but rather in the nature of them

18         going a little bit limp on us and not only

19         pursuing other projects, but, in some cases,

20         doing some things that we felt hurt the film.

21                  Q.       But they -- and they never said

22         to you that the film in any way

23         misrepresented their work?

24                  A.        Never.

25                  Q.       Okay.       And -- okay.


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1                             Oh, and it's also true, though,

2          that they often referred to it as TTV's film.

3          Is that right?

4                   A.        I was aware of one occasion

5          where they did that.               If I remember, Debbie

6          pointed out to me -- and this is the kind of

7          thing that annoys Debbie more than me.                          I

8          laughed it off.

9                              To me, it is totally

10         understandable that a group that was

11         relatively -- not obscure.                    They were

12         actually well known, but I think that their

13         reputation was more regional rather than

14         national.         They suddenly became, to a degree,

15         famous.

16                            And so it didn't surprise me at

17         all and I didn't object to them saying it

18         was, quote, their film as long as we

19         understood what we meant by that.                        This was

20         the film featuring their work, you know.

21                            So it didn't bother me, to be

22         honest, but Debbie was irritated by it

23         because she said they are acting like they

24         made the film; and I took a slightly did

25         different view of that.


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 1                   Q        But I guess my point is they

 2          didn't -- they not only didn't disavow it,

 3          but they also adopted it as their own.

 4                   A.        Yes, to the degree that the

 5          film magnified their reputation and gave them

 6          credit, they happily accepted it.

 7                            I think the -- I think that

 8          their concern was that they thought that that

 9          credit should be greater

10                   Q.        Yeah.

11                   A.       -- than it was.

12                   Q.       Okay.       Did you get insurance in

13          connection with the film?

14                   A.       What kind of insurance?

15                   Q.       Movie insurance.

16 '                 A.       In films there are different

17          types of insurance.             There is some insurance

18          that pertains to things like the safety of

19          your set, somebody falls off a ladder.                         There

20          is that type of insurance.

21                            Then there is sort of liability

22          insurance, which is a separate matter.

23                            I'm assuming you're asking

24          about the latter.

25                   Q.        Yes.


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1                   A.         And we did not get that

2          insurance.

3                   Q.         Why not?

4                   A.        I'm really not sure whether we

5          were not able to get it, which I think may be

6          the case.         I don't know for sure, to be

7          honest.

8                              And this is an area that Bruce

9          generally deals with

10                  Q.         Okay.

11                  A.         -- so he kind of keeps me

12         appraised [sic] of where we are on this kind

13         of stuff.

14                  Q.         Yep.

15                  A.        But I don't remember the

16         details.

17                  Q.         Okay.      Okay.        But Mister --

18         that would have been in Mr. Schooley's set of

19         responsibilities?

20                  A.         Right.

21                  Q.         Okay.

22                             MS. HABER KUCK:               Let's look at

23                  23.

24                  Q•        (By Ms. Haber Kuck)                   Let's

25         look -- oh, we don't -- you should already


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1          have -- we're going to -- I'm going to give

2          you a document we previously marked as

3          Exhibit 23.

4                            We looked at it yesterday, so

5          you should have it?

6                   (Previously marked was Plaintiff's

7          Exhibit No. 23.)

8                            MS. HYLAND:            You said 23?

9                            MS. HABER KUCK:                23.

10                   Q.      (By Ms. Haber Kuck)                   Do you

11         recognize this document?

12                   A.       Yeah.

13                   Q.      What is that?

14                   A.      It is a -- it's sometimes

15         referred to as a beat sheet, but it's not

16         a -- a real beat sheet is typically something

17         that is developed prior to filming and

18         reflects a map, a kind of schedule and map of

19         themes, who is being interviewed, what is

20         their potential location in a film.

21                           It's the kind of loose

22         organizational structure of a film.                        We don't

23         script our films, but we do outline them.

24                   Q.       Uh-huh.

25                   A.      Quite commonly, Bruce will take


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1          a first stab at laying out a scenario.                         And

2          it's a very rough scenario.                      This is done

3          extremely early in the process.                      And it's a

4          lot of maybe this and maybe that and possibly

5          that and how about this?                 And a lot of

6          question marks.

7                            But the idea is to give some

8          form to a rather amorphous subject, list

9          potential people that we might or might not

10         interview, things we might or might not show.

11                           I would describe this as an

12         early brainstorming document.

13                  Q.       Okay.       And I see that

14         Ms. Engelbrecht and Mr. Phillips are copied

15         on it?

16                  A.        Yes.

17                  Q.       And why were they copied?

18                  A.        They're copied because although

19         we were emphatic from the beginning that

20         editorial control of the film would be

21         ours -- this is our film.                  It's a D'Souza

22         Media project.         I am the narrator of the

23         film.

24                            Nevertheless, we intended to

25         try to work as collaboratively as possible


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1          with them, have them know what we were doing

2          so -- just to give them a feeling of

3          knowledge, but also trust, that we were

4          thinking stuff through, we were asking the

5          right questions.

6                             In other words, we saw them as

7          sources of potential ideas and input even

8          into things that we were doing on an informal

9          basis.

10                  Q.         And during the course of the

11         making of the film, how much did you

12         personally interact with Ms. Engelbrecht and

13         Mr. Phillips?

14                  A.        It was, I would say, sporadic

15         and periodic.         Some of it had to do with the

16         content of the film.               Some of it had to do

17         with the sort of logistics or mechanics of

18         the film.         When will we get this?                 When are

19         you guys doing that?               When can we expect

20         this?     Things like that.

21                             The strategy of the film was to

22         try to keep the content of the film inside

23         the film.         In other words, to do what, I

24         guess, as a kid I heard from my teacher as a

25         show your work.


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1                            So the idea was not to go back

2          and forth with them on prepared questions,

3          How would you answer this if I were to ask

4          you?     None of that.

5                            But rather, You know your topic

6          really well.        We're going to be doing filming

7          on so-and-so date at so-and-so studio.                         You

8          have to leave the mechanics to us, but I will

9          be conducting a freewheeling, in-depth

10         conversation with you.

11                           A lot of the questions that I

12         have, some of which I know the answers to,

13         but many of which I don't, I'm going to

14         prefer to put to you on camera because I am

15         assuming that the audience would have those

16         exact same questions and I want to get

17         informal, unrehearsed answers because that

18         also is more kind of genuine, I guess is the

19         right word, in a film context.

20                            You want people speaking

21         informally.        Nobody has notes.               I don't have

22         any notes.        This is not a -- you're not

23         acting out a script.              You haven't memorized

24         anything.

25                           So my idea was to try to keep


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1          most -- not all, but most of the content

2          inside of the two conversations, the one that

3          Debbie and I had in The Woodlands and the

4          other with the Salem hosts.

5                            Because even there, keeping the

6          film in mind, I wanted unrehearsed reactions,

7          both from Catherine and Gregg and from the

8          Salem hosts.        None of them were prepped in

9          advance.      None of them had seen anything that

10         Catherine and Gregg were going to show them.

11                           I wanted to capture expressions

12         of surprise, disbelief, what the heck?                         That

13         makes no sense.           I wanted all of that to be

14         inside the film so that the audience could

15         understand that this was a project that we

16         were approaching critically and skeptically,

17         not uncritically.

18                  Q•       And so -- but in terms of the

19         communications that were needed in terms of

20         scheduling, in terms of getting information,

21         that sort of thing, is it fair to say that

22         Mrs. D'Souza was the primary contact for

23         them --

24                  A.        Yes.

25                  Q.       -- during the filming?


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1                   A.        Yes.     On logistical types of

2          matters and also sometimes to convey content

3          matters, which came mainly from me, but were

4          relayed by her.

5                   Q.       Looking at the beat sheet from

6          Mr. Schooley, if we look at the -- I think

7          it's the third page -- fourth page, it says

8          "Election Film:           Beat Sheet"?

9                   A.        Yes.

10                  Q.       He's talking about information

11         that he's hoping to get.

12                           Did they -- did you ever get,

13         say, these five to six characters from the

14         mule list, one in each of these places?

15                  A.       (Reviewing.)             This is Bruce

16         laying out a template, and I think laying out

17         a template in advance of us having content.

18                  Q.       Right.

19                  A.       So he is -- this is

20         imaginative.

21                  Q.       Right.        I understand.            He's

22         saying, Let's see if we can get this.

23                  A.       Let's see if we can get this,

24         and let's see if we can get that in.

25                           And, you know, again, with --


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1          we look at this beat sheet, I kind of

2          internalize it, but then I also look at kind

3          of what we have and we construct our

4          argument, keeping in mind our original -- I

5          would call this sort of like a hypothesis.

6                   Q.        Uh-huh.

7                   A.       And then we draw in

8          information.        We recognize, of course, we

9          have certain things and don't have others.

10                           And so this is in no way a --

11         the argument of the film.

12                  Q.       Right.

13                  A.        This is like early

14         brainstorming.

15                           And I cannot even say that we

16         systemically pursued it, like, Hey, what

17         about Atlanta?         Hey, what about Phoenix?

18         Because I recognized fairly early on that we

19         had certain things and we didn't have other

20         things.       Also the paucity and shortage of

21         surveillance video was a big concern.

22                           And I don't know if Bruce was

23         at that point aware of it.                   I don't think he

24         was aware, or even me at this point, how many

25         videos we would get at all.


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1                             So -- so this just becomes an

2           early stab that is -- becomes dependent on

3           what we get later.

4                    Q.       Right.        And there are things

5           he -- with the initial idea for the movie,

6           things you might want to show in the movie.

7           Fair?

8                    A.        That we might want to show in

9           the movie, yes.

10                   Q.        Yes.     Did you ever get -- No. 4

11          is (as read):        "People who were a approached

12          and declined."

13                            Did you ever find anybody like

14          that?

15                   A.       Let me just read this.                   (As

16          read):     "Shouldn't we be able to find someone

17          that kept saying no to these harvesters?"

18                            Oh, I see.           So Bruce is, here,

19          raising a question that is, I think,

2O          virtually impossible to answer, which is to

21          say the reluctant mule, a mule that had been

22          approached by a nonprofit or that asked them

23          to go do this and the mule goes, I'm not

24          going to do it.

25                            Catherine and Gregg told us


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1          that they did have one or some of these they

2          called them whistleblowers notably in

3          Georgia, and that the whistleblower or

4          whistleblowers insisted upon absolute

5          confidentiality because they did not want to

6          be prosecuted or busted in any way.

7                             They might have been either

8          people who said no, but I think more likely

9          they were people who participated in the

10         operation, but then had qualms about it.

11                           And this was, in fact,

12         according to Catherine and Gregg, the reason

13         why they came up with the geotracking idea in

14         the first place; namely, to try to get more

15         systematic information on something that was

16         coming from a confidential whistleblower.

17                           Very often if the whistleblower

18         is confidential, there is not a lot of

19         credibility to it unless you have some other

20         corroboration.

21                  Q.       Right.        But so you never had

22         any people who were actually -- you never

23         found any people --

24                  A.        No.

25                  Q.       -- who were actually approached


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1          and then declined?

2                   A.       Correct.

3                   Q.       And going back to the first

4          one, following this, you never found five or

5          six mule characters that you were able to use

6          from each of these cities, No. 1?

7                   A.        Yeah.      I wouldn't say that we

8          were looking for that.               This wasn't on the

9          original, you know, sort of -- kind of wish

10         list that Bruce developed.                   But we don't have

11         any system by which we go through this list

12         and start looking for all of these things.

13                           It's more in the nature of,

14         here is -- if we were on mission to get

15         everything we wanted, here are some ideas of

16         things that we could go after.

17                           And, you know, in that sense,

18         No. 6 is illustrative, you know, Interview

19         Stacey Abrams.

20                  Q.       Right.

21                  A.       We didn't think there was a --

22         much of a chance of doing that.                     Brian Kemp,

23         same.     Raffensperger, same.                   Eric Holder,

24         same.

25                           I did want to talk to Mark


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1          Brnovich, but that never came about.

2                            And so this is a very early

3          think-out-loud list.

4                   Q.        No, I understand.

5                            And you also -- he -- No. 5,

6          you also didn't -- you didn't get 1 or 6.

7          You also didn't get No. 5                    Right?

8                             You didn't call out the

9          operatives who ran the harvesting and the

10         organizations they used?

11                  A.        That is correct.              We were

12         dissuaded from doing anything along those

13         lines.

14                  Q.       By who?

15                  A.       By Catherine and Gregg, who

16         were emphatic that the nonprofits not be

17         named in the movie and that we make no effort

18         to contact them.

19                  Q.       And why was that?

20                  A.       I think they felt that that

21         was -- I don't know the exact reason, but the

22         kind of things that went through my mind as

23         we thought about all of this, and obviously

24         my goal in this whole project was -- I

25         wouldn't say less is more, but the opposite.


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 1          More is more.

 2                            In other words, I wanted,

 3          certainly initially, to show the faces of the

 4          mules, to name all the nonprofits, to send a

 5          film crew to the nonprofits and show where

 6          they were.

 7                            In an ideal world, that's what

 8          we certainly would do.               That is -- that is

 9          pursuing things to the limit, which is

10          generally my starting point.

11                            I -- however, I realized I was

12          working collaboratively.                 I realized I was

13          working with an organization that had closer

14          dealings with and more familiarity with this.

15          I realized that they were doing continuing

16 '        work.

17                             They also emphasized to me that

18          they were in constant contact with the

19          authorities and there might be either

20          investigations that came out of this.                         I

21          obviously had no intention to disrupt or

22          spoil those investigations.

23                             They also raised with me the

24          possibility of physical confrontations that

25          might occur if we produced -- our film crew


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1          is of a rather elaborate and dramatic sort.

2          There might be incidents.

3                            And so all of this was highly

4          toxic, in their view, and ultimately I was

5          persuaded that we were not going to do that.

6                   Q.       Okay.       And that was based on

7          your conversations with Catherine and Gregg?

8                   A.       And the reasoning just given.

9                   Q.        Yes.     And you said you also

10         originally wanted to show the faces of the

11         mules?

12                  A.        Yes.

13                  Q•       But you didn't do that either.

14         Right?

15                  A.       Right.

16                  Q.       And why not?

17                  A.       I was persuaded in the end

18         that -- that that was not necessary and not

19         the thing that we had set out to do or to

20         show.

21                           In other words, we are not the

22         FBI.     We are not a law enforcement agency.

23         We are a -- we are a journalistic operation

24         making a documentary film attempting to throw

25         light on a matter of grave importance.


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1                            As I mentioned, there is a

2          difference between voter fraud and election

3          fraud.     And if our goal was to try to somehow

4          bust individuals, then we would go and try to

5          find the guy who voted in Georgia, then moved

6          to Arizona and voted there also.                        This was

7          never our intention.

8                            Our intention was to try to

9          examine whether there is an organized

10         operation to deliver -- to traffic votes,

11         generally in bulk.            And, of course, one of

12         the overriding questions is, of a magnitude

13         sufficient to make a difference.

14                           We were not interested in doing

15         investigation that showed that there was a

16         modicum of fraud that made no difference

17         because that would be, then, so what?

18                           So in the end, I was

19         persuade -- we had internal discussions about

20         this and I was persuaded that it's not about

21         the individual mules.               It's not about, you

22         know, Fred who decided to do this.                       Who even

23         knows wether he knew or she knew what they

24         were doing?

25                            This is really about a matter


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1          of public policy significance.                     And so

2          showing the face of the mules is not

3          essential and it's probably not even prudent.

4                   Q.       And I've seen -- I've seen

5          public statements by you where you say there

6          were legal reasons you had to blur them.

7                   A.        Those might have been also in

8          the back of my mind in the sense that

9          the -- I have an understanding, in general,

10         that things go through legal review.                        Books

11         go through legal review.

12                           It's quite customary.                  And I've

13         had that happen to me 25 times with pretty

14         much every book I've written.                    And it is --

15         it's not unusual for us to discuss legal

16         aspects of something and try to take those

17         into account.

18                  Q.       Did anyone ever tell you that

19         as long as you blurred someone's face, you

20         could say false things about them with

21         impunity?

22                           MS. HYLAND:            And I'm going to

23                  instruct you not to answer that if it

24                  discloses attorney-client

25                  communications.


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1                   A.       Without disclosing any

2          attorney-client conversations, no one has

3          ever said that to me.

4                   Q.       (By Ms. Haber Kuck)                   Okay.    Has

5          anyone ever said to you that you could blur

6          someone's face and then just make things up

7          about them?

8                            MS. HYLAND:            Same.

9                   A.       With the same proviso,

10         absolutely not.

11                  Q.       (By Ms. Haber Kuck)                   Okay.    And

12         isn't it also true that if the faces of the

13         mules were blurred, then no one could

14         challenge the assertion that they were mules?

15         Was that part of the consideration?

16                  A.        No.

17                  Q.       It would make it harder,

18         though, for any individual to challenge the

19         assertion that they were a mule.                        Correct?

20                  A.        You mean the individual who was

21         depicted in the

22                  Q.        Yeah --

23                  A.              video themselves?

24                  Q•              yeah.      Yeah.

25                  A.        Yeah, possibly.               I can't say


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1          that even entered into my mind.

2                   Q.        And this didn't -- and the

3          blurring didn't have anything to do with the

4          insurance, the liability insurance, because

5          you didn't get that for this film.

6                   A.        Well, I wasn't involved in the

7          insurance part of the discussion, Bruce was.

8                             But Bruce and I, you know,

9          talked about blurring, and basically Bruce

10         and then Debbie were advocates of blurring

11         and I was an advocate for not blurring.

12                            But ultimately I acceded to

13         their concerns and agreed with them, and we

14         made the decision -- I mean, I did -- to

15         blur.

16                  Q.        Okay.       So your testimony now is

17         it was just a -- it was really just a

18         stylistic issue?

19                  A.        I didn't say that.

20                            MS. HYLAND:            Objection.          I

21                  don't -- I don't -

22                            MS. HABER KUCK:               Okay.

23                            MS. HYLAND:            -- think that's

24                  what he said.

25                  A.        Yeah, I didn't say it was a


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1          stylistic issue.           I thought it was

2          substantive on a number of levels.

3                   Q.        (By Ms. Haber Kuck)                  Okay.      But

4          you also were in favor of not blurring the

5          faces.

6                   A.        Initially.

7                   Q.        And you were convinced by

8          Mrs. D'Souza and Mr. Schooley that you

9          should.

10                  A.        Yes.      And I'm trying to

11         remember if Catherine -- Catherine and Gregg

12         also weighed in on that.                  I'm pretty sure

13         that they were on, loosely speaking, the

14         Bruce and Debbie side of this -- of this

15         discussion, but I don't remember anything

16         specific that they said.

17                  Q•        Okay.       The last question I have

18         about Exhibit 23 is on the last page.                           It

19         says (as read):          "Other."           And it says (as

20         read):        "The third thing is we need a couple

21         of investigators to hit the street.                         They

22         could be on screen."

23                            Do you see that?

24                  A.        Where is that?

25                  Q.        The last page.


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I                    A.       Okay.       I'm on the last page.

2                    Q•       (iii).

3                    A.       Oh, yes, I see it.

4                    Q•       Did you ever send out any

5          investigators in connection with making the

6          film?

7                   A.        No, for the reason I gave a

8          little earlier; namely, we -- we thought

9          about it.         We rejected the idea because the

10         potential of confrontation was too high and

11         we thought that the benefit was outweighed by

12         the cost or the risk.

13                   Q.       Okay.       And that risk was

14         conveyed to you by Mr. Phillips and

15         Ms. Engelbrecht?

16                   A.       Possibly, but probably more

17         internally.        We -- you know, we do the

18         devil's advocate in all the things that we

19         do.      And so what's the upside?                  What's the

20         downside?         What are we looking to get?                   What

21         is the probability that we could get it?

22                            And so the idea of

23         investigators going on the street and being

24         on screen, which is to say with a camera

25         behind them, no one is going to say anything


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1          when they see a film crew following some guy.

2          No one is going to reveal anything that's

3          going to be all that valuable.

4                            Plus, if there is a showdown

5          and they are trespassing or they are this or

6          they are that, it's just not worth it.

7                            So I think this was not

8          actually a hard call.

9                   Q.       And you didn't have -- did you

10         have any discussion about sending

11         investigators out to find some of these

12         people that were described in here, but not

13         on film, just doing more investigation?

14                  A.       We had absolutely no way to do

15         that outside of Catherine and Gregg because

16         they were in possession of the geotracking

17         data.     They -- if there were cell phone IDs

18         of the -- of anybody, they had them.                        We

19         never got them nor could we do anything with

20         them.

21                           And so those were avenues that

22         one could -- one could brainstorm about, but

23         there is no practical way to carry them out.

24                  Q•       So you had to just rely on

25         their word?


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1                   A.       We had to rely on their work,

2          not their word.         But we rely on their work

3          and their -- and their summaries and

4          presentations of their data and their

5          evidence, and also corroborate it to the

6          degree that reasonably could be done.

7                   Q.       And what -- is there anything

8          you did to corroborate that work other than

9          what we've already discussed?

10                  A.       Sure.       For example, they

11         described the mule operation in Yuma,

12         Arizona.      And the -- helpful to that was that

13         there was an ongoing case in Yuma, Arizona,

14         involving ballot trafficking

15                           And so I learned everything I

16         could about the case, and it completely

17         supported what Catherine and Gregg had been

18         saying about it.          And it was, in fact, eerily

19         similar to the overall mule operation

20         described in the movie.

21                            They also referred me to the

22         North Carolina case, which also involved

23         illegal ballot trafficking, ironically in

24         this case done by a Republican.                     And I also

25         was insistent that that be put in the movie


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1          to emphasize that this was not a kind of a

2          mere partisan type of film; that there may be

3          partisan implications, but, on the other

4          hand, there was -- there had been Republican

5          ballot trafficking.

6                              This had been not only been

7          busted, but it had been -- it resulted in the

8          overturning of a North Carolina congressional

9          election.         I learned everything I could about

10         that.

11                             And that not only corroborated

12         what Catherine and Gregg were saying about

13         that case in particular, but it corroborated,

14         again, the generic mule operation.

15                            If you look at the mechanics of

16         what happened in North Carolina, it was

17         identical in substance and very nearly in

18         form to what was being described as the

19         broader mule operation in the 2020 election.

20                  Q.         Okay.      Other than those two

21         things, was there -- was there anything that

22         you did to corroborate not just that there

23         were particular incidents, but there was some

24         broader organizational structure that had

25         this mule operation?


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1                   A.       Well, I -- I discussed the

2          general findings of Catherine and Gregg with

3          people that I considered highly credible on

4          the topic of how election fraud is organized,

5          notably Hans von Spakovsky of the                          formerly

6          of the Federal Election Commission.                        This is

7          a man who is an encyclopedia on election

8          fraud.

9                   Q.       Well, let me just stop you

10         because we talked about him earlier.

11                  A.        Yes.

12                  Q.       Other than those people...

13                  A.       Other than those people.                    Well,

14         I guess what I was saying was initially I was

15         talking about something different.                       I was

16         talking about the fact that I would draw the

17         implications of Catherine and Gregg's work

18         and test those against these other.

19                           But now I'm talking about the

20         fact that I specifically discussed with Hans

21         and with Harmeet, and there was also another

22         election lawyer named Cleta Mitchell, whom I

23         met in another context, but I knew that she

24         had done some work with Catherine and Gregg.

25                           And so I specifically asked


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1          them about Catherine and Gregg's work and

2          asked them what their assessment was of the

3          credibility and value of this work.                        And I

4          was reassured, even by some people who did

5          not like Catherine and Gregg personally, that

6          their work was excellent and that -- and that

7          this was a very alarming development that

8          they were describing and that, according to

9          Hans von Spakovsky, it fit in with other

10         things that he was quite familiar with.

11                           And so he considered this to be

12         believable, I suppose plausible is another

13         way to put it, and he was very interested to

14         comment on it, and he did so in the film.

15                  Q.       But, again, none of those

16         people are experts in the geotracking aspect

17         of it?

18                  A.        Yeah, but we're talking about

19         two different things.               We're talking about an

20         election fraud operation and how it's carried

21         out.

22                            That is quite separate from the

23         retroactive technical mechanics of

24         discovering and excavating that operation.

25                           I'm talking about the former.


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1          I'm not talking about whether Gregg has got a

2          degree in geotracking.               I'm talking about, is

3          it believable that the election fraud

4          operation described by Catherine and Gregg as

5          a result of their geotracking and

6          surveillance video, is that plausible?                         Is

7          that the way things have been done before?

8          Have you ever seen anything like this?                         Is it

9          crazy?

10                            Those are the questions I raise

11         with credible people who know a lot about the

12         subject, and I was assured on

13         multiple -- from multiple angles that it is

14         creditable, it's highly interesting, and it,

15         in fact, is a logical fraud scheme that would

16         have come out of something like -- like the

17         COVID pandemic.

18                  Q.       But, again, it's a logical

19         conclusion in terms of proving it

20         scientifically.         That's not what those people

21         were opining on.

22                  A.        They were opining on the fact

23         that any finding to the effect that there had

24         been, let's call it, fraud magnitude 100 is

25         believable because fraud magnitude 7 has been


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1          going on for a long time over here and there

2          and here.

3                             And under COVID, when you have

4          a proliferation of mail-in drop boxes, all

5          that the fraudsters have to do is scale up

6          and they will be able to do, let's say, you

7          know, 50-fold or 10-fold what they have been

8          previously doing on a smaller scale.

9                             So, in other words, the

10         operation in miniature was familiar to people

11         who are familiar with election fraud, and

12         they were like, Oh, no, it looks like this is

13         now being ramped up to a previously

14         unexpected scale; yes, Dinesh this is

15         definitely something you want to get to the

16         bottom of.

17                  Q.        Right.        So they're talking

18         about such a fraud could have -- it would be

19         plausible that such a fraud could have

20         occurred.         They are not assessing the

21         underlying evidence that Catherine and

22         Mr. Phillips and Ms. Engelbrecht had.

23                  A.        Correct.          And I -- yes, they

24         were not assessing the evidence.                         At that

25         point, they hadn't seen it.                       Subsequently,


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1          they have seen the movie and have commented

2          on that.

3                            But at the time, no.                   They were

4          commenting on the topic, the nature of the

5          operation, the plausibility of something like

6          this happening at scale, and also on the

7          credibility of Catherine and Gregg as far as

8          they knew it.

9                   Q.       As far as they knew it in terms

10         of election work, election integrity work?

11                  A.       Election integrity work and

12         election intelligence work.

13                  Q.       Who selected the videos that

14         were used in the film?

15                           MS. HYLAND:            Objection,

16                  ambiguous.

17                  Q.       (By Ms. Haber Kuck)                   Who

18         selected the videos of the drop box footage

19         that -- strike that.

20                           Who selected the drop box

21         footage that was shown in the film?

22                  A.        That was selected by Bruce and

23         Nathan based upon the videos that we received

24         from Catherine and Gregg.

25                           And in -- I don't know if


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1          "consultation" is the right word, but

2          Catherine and Gregg ultimately, you know,

3          knew what we had selected and in what context

4          we had put those videos.

5                             The -- we were looking for

6          videos that were obviously informative and

7          also videos that were not so grainy or fuzzy

8          that the audience would be like, I don't even

9          know what I'm looking at.

10                            So there was a clarity

11         component to selecting the videos.                       But I

12         think it's fair to say that we used all the

13         usable content that we got from Catherine and

14         Gregg.

15                            In other words, this is not a

16         case where          where we had a plethora of

17         videos and we made our own selection.                         We did

18         make our selection, but the selection was

19         using the main stuff that we got from them.

20                  Q.        Let's look at -- it's -- this

21         is a document we previously marked as

22         Exhibit 40.        We had it yesterday.

23                       (Previously marked was Plaintiff's

24         Exhibit No. 40.)

25                  Q.       (By Ms. Haber Kuck)                   You see


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1          this -- this appears to be an email from

2          Ms. Engelbrecht to Mr. Schooley and you

3          appear to be copied on it?

4                   A.        Yeah.

5                   Q.       And in the email he is

6          responding to, Mr. Schooley says (as read):

7          "Do you have video of multiple drops by the

8          same person and/or ballots and/or evidence

9          they are out of state?"

10                           Do you see that?

11                  A.        Yeah.

12                  Q.       Do you recall discussion about

13         trying to get from TTV video showing the same

14         person going to multiple drop boxes?

15                  A.        Yes, we did discuss that.                   I

16         yeah, we discussed it with them.

17                           It is important to note the

18         date of this, which is January 10, very early

19         in the game.        Very -- this is about when

20         we're beginning the film.

21                           It looks like from the context

22         that we've received a sort of -- "dump" is

23         the wrong word, but we received a bunch of

24         videos.       And it is not clear to me that any

25         communication has occurred between Catherine
     l_
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1          and Gregg at this point and Bruce and Nathan.

2                            Bruce and Nathan

3          have -- because while Bruce was present at

4          the Salem meeting, Nathan was not.

5                            So what you have here is an

6          attempt to make sense of video content that

7          is completely lacking in context.                       And so

8          that's why Catherine says, correctly (as

9          read):     "We have folders.               Let's talk it

10         through.      We can help you make sense of

11         things.       Things are not always what they

12         appear."

13                           And so that's -- that is the

14         explanation for what's going on here.

15                           But if you're asking if at any

16         time, not here or subsequently, did I discuss

17         with Catherine and Gregg or -- and did we

18         discuss with them the idea of showing the

19         same mule at multiple drop boxes, absolutely

20         we did do that.

21                  Q.        You discussed it with them, but

22         you never actually got footage of the same

23         person going to multiple boxes.                     Right?

24                  A.       Correct.          We did -- we did get

25         footage of at least two cases of the same


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1          mule appearing on different occasions in

2          different clothing at the same drop box.

3                             We call those, colloquially,

4          the doppelganger videos.

5                            (Reporter clarification.)

6                             THE WITNESS:            Doppelganger,

7                   D -O -P-P-E-L-G-A-N-G-E-R.

8                            I probably should have

9                   abstained from that term.

10                  A.       Doppelganger videos.                   So we

11         have that.

12                           Really what we got from

13         Catherine and Gregg was a very plausible

14         reason for why this very reasonable

15         expectation was very difficult to meet.

16                  Q.       (By Ms. Haber Kuck)                   Okay.

17         What was their explanation?                      And then we will

18         go back to the doppelganger videos.

19                  A.        Okay.      Their explanation was

20         that the surveillance video rules were

21         grievously flouted under the pretext of

22         COVID.        So that while it is in the election

23         rules and guidelines that all drop boxes must

24         have 24/7 video, this was not done.

25                            There are entire states where


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1          it was not done at all.                There are some

2          states where it was done in a partial way.

3          There are other states where it was done, but

4          the video not provided.                Some of the video

5          was forthcoming, but hadn't come in yet.

6                            And so I remember having a

7          discussion -- and I don't remember if it was

8          with Catherine and Gregg or with our own

9          team -- in which we were making an analogy to

10         a serial killer who had gone to ten different

11         homes and committed ten murders and his phone

12         placed him at those homes in ten places.

13         However, only Home No. 4 happens to have a

14         surveillance video.

15                           And so you look on the cell

16         phone       you look at the cell phone

17         geotracking and it shows, let's just say that

18         on Wednesday night at 1:00 a.m. he showed up

19         at that home.        You look at video and there he

20         is.

21                           I argued, to me, this is highly

22         plausible evidence that this is our guy,

23         because the cell phone places him at all the

24         ten homes.

25                           And even though I would love to


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1          have video at all the ten homes and I would

2          have video at all the ten homes if there were

3          ten surveillances in all those ten homes; but

4          if there are only surveillance in one home

5          out of ten, it's a little silly to say,

6          Where's the surveillance video of the other

7          homes when the rules are grievously being

8          flouted and very -- there is very little

9          video that is actually done.

10                  Q.       Although, in your example, we

11         would know that there were ten murders

12         because we would have ten bodies.

13                  A.       Exactly.

14                  Q.       It's just a question of who

15         committed them.

16                  A.       It would be just a matter of

17         who committed them.             But the -- what -- I

18         guess what -- the point of the analogy is

19         that the plausibility that this particular

20         suspect whose cell phone places him at those

21         locations and is corroborated in only one

22         location I think is sufficient to convince a

23         reasonable adjudicating panel, Yeah, that's

24         our guy.

25                  Q.       So when you talk about these


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1          doppelganger videos, what are you talking

2          about?

3                   A.       I'm talking about the fact that

4          we noticed from looking at the videos, and

5          especially looking at the videos also more

6          closely afterward, that quite obviously in at

7          least two cases you see the same guy show up

8          at a drop box, same -- and deposit multiple

9          ballots.

10                  Q.       And again, when you say "we"

11         noticed, who is the "we"?

12                  A.        The "we" is I noticed, Bruce

13         noticed.      We obviously brought it to the

14         attention of Debbie.

15                           Our team noticed that this is

16         the case.

17                  Q.        Just by looking at the videos,

18         they seemed to be the same person?

19                  A.       Well, they -- they are quite

20         obvious -- well, I -- yes, by looking at the

21         videos, they seem to be same person, yes.

22                  Q.       And --

23                  A.       I mean, as far as I'm

24         concerned, they are the same person; but

25         seemed to be is reasonable, I guess, under


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1          the circumstances.

2                   Q.        And did -- were you able to get

3          Ms. Engelbrecht or Mr. Phillips to confirm

4          from the geotracking data that they were the

5          same person?

6                   A.        No.    But I remember at one

7          point talking to Gregg.                This was after the

8          film came out when there were some critics of

9          the film who said, Show me the same guy

10         multiple --

11                            This was a -- this was a

12         critique of the film that came not just from

13         the left, so to speak, but a little bit even

14         from the right, Ben Shapiro and others.

15                            I was very eager to either

16         respond to it, rebut it, or explain why this

17         is the case.        And I remember discussing this

18         with Gregg.

19                            And he drew my attention to one

20         of those two doppelganger videos.                       And he

21         goes          it might at that point have been a

22         screenshot.        I'm really not sure.                 But it was

23         like, Check this out.

24                            I was like, That's interesting.

25                            Because, to me, you know, here


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1          you have something consistent with what they

2          are telling us.         You may not be able to find

3          the same mule at multiple drop boxes, but

4          guess what?        We can find the same mule

5          showing up again, at least twice, on the same

6          drop box, and I -- we couldn't think of a

7          reason why anyone would do that.

8                   Q.        But, again, that's not based on

9          geotracking data.           That's just based on you

10         looking at the videos.

11                  A.        In this case, it was based

12         upon -- in this case -- in this particular

13         conversation with Gregg, it was based upon

14         looking at a screenshot, but I have

15         subsequently seen the videos.

16                  Q.        Right.       But -- so none of these

17         so-called doppelganger videos, you do not

18         have geolocation data supporting the idea

19         that it was the same cell phone or it's the

20         same person.        You're just doing it by looking

21         at the video.

22                  A.        Just doing it by looking at the

23         video.        I -- right.       I haven't pursued it

24         beyond that.

25                  Q.        And you didn't ask


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1          Ms. Engelbrecht or Mr. Phillips to confirm

2          that with their geolocation data?

3                   A.       Well, as I said, this really

4          became apparent afterward.                   In other words,

5          this was part of the debate around the film.

6          It was not          it was not part of the -- the

7          making of the film.             And so it...

8                   Q.       So, no, you didn't --

9                   A.       I did not.

10                  Q.       Okay.

11                           (Reporter clarification.)

12                  Q.       (By Ms. Haber Kuck)                   No, you

13         did not ask them to confirm it?

14                  A.        To confirm it by geotracking.

15                  Q.       Right.        Right.

16                  A.        Yeah.

17                  Q.       And when you say "afterwards,"

18         was it -- was it in connection with this

19         litigation or was it something before that?

20                  A.       Both.       I was aware of

21         doppelganger videos before that.                        The

22         conversation I had with Gregg was prior to

23         the litigation.         Same guy at the same drop

24         box, clearly different day, different outfit,

25         different everything.


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1                             And obviously we looked a

2          little more closely at the videos also after

3          the litigation commenced.

4                             And I'm not sure if I was aware

5          prior of the second case, but -- or whether

6          we discovered that later, but I was aware of

7          the phenomenon prior to the litigation.

8                   Q.        Okay.

9                             MS. HYLAND:            How far are we

10                  from lunch break?

11                            MS. HABER KUCK:               Can    we go,

12                  like, 20 minutes?

13                            MS. HYLAND:            Okay.

14                            MS. HABER KUCK:               You okay?

15                            MS. HYLAND:            I'm okay.

16                            MS. HABER KUCK:               Are    you okay?

17                            THE WITNESS:             Sure.

18                            MS. HABER KUCK:               Okay.

19                  Q.        (By Ms. Haber Kuck)                  Do   you

20         recall that the TTV actually provided two

21         batches of surveillance videos?

22                  A.        Yes.

23                  Q.        Okay.       And tell me how that

24         came to be.        How    were there two -- describe

25         the two batches for me.


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1                   A.       I know about these indirectly

2          in that -- in that I am kept informed of

3          what's happening, but I'm not the direct

4          recipient.

5                             Generally, our video content

6          will go -- I mean, I might be copied on it

7          initially, but it really goes to Bruce and

8          Nathan.

9                             And -- but I was aware that

10         there was an initial, roughly, 70 videos that

11         were sent.        And subsequently we got a second

12         batch of videos.          I'm not sure if we got them

13         all at once.        I'm not sure how many there

14         were exactly.        But they -- it was Batch 2.

15                  Q.        Let me -- I'm going to mark as

16         Exhibit 100 a document bearing Control No.

17         TPNF-0004579.

18          (Marked was Plaintiff's Exhibit No. 100.)

19                  Q.       (By Ms. Haber Kuck)                   Do you

20         recognize this document?

21                  A.       (Reviewing.)             Yeah.

22                  Q.        And what is it?

23                  A.       It's a communication between

24         Nathan and then Bruce and then me.

25                  Q.        And what are you discussing?


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1                    A.       We're discussing -- Nathan is

2           talking about what he got from Gregg and

3           Catherine, G&C.           And Nathan is talking about

4           some VO, a voice over, to connect to the

5           Salem part that comes next in the -- in the

6           structure of the film.

7                             (As read):           "I played one full

8           screen because it's the only good left that

9           wasn't shown."

10                            Don't quite know what that

11          means.

12                            And then he is making a plea to

13          get more mule videos.

14                   Q.       And you say (as read):

15          "Realistically I think this is out of the

16          question, at least for now."

17                            Do you see that?

18                   A.        Yes.

19                   Q.       And why were you saying that?

2O                   A.       I'm not entirely sure,

21          but -- I'm not entirely sure.                    It could

22          be -- well, I mean, I can -- I can think of a

23          couple of reasons just given the context and

24          given where this is on the calendar with

25          things.


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1                            But one of the themes of Gregg

2          and Catherine, as I say, that became apparent

3          as the movie -- as the production process

4          went along was that we were not quite as

5          simpatico as I had hoped and thought.

6                             They had their own agenda,

7          their own vision, their own expectation of

8          what they owed us or would give us.

9                             They made it quite clear that

10         they are not giving us everything that they

11         have because they have every right to release

12         some of it separately, later, on their own.

13                           So they -- they were -- I guess

14         they saw this as a limited partnership, to

15         put it that way.          And so I had sensed a

16         reluctance on their part to go the whole hog,

17         so to speak.

18                           And I think I'm diplomatically

19         reflecting this in this conversation, like,

20         listen, we have to sort of -- we have to

21         approach this cautiously because I'm clearly

22         getting pushback and resistance from them on

23         the grounds I just described.

24                  Q.       Although didn't your agreement

25         give you exclusive right to the video?


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1                   A.       It did.         And my experience in

2          these situations is that people frequently

3          agree to things and then they go

4          passive-aggressive on you when it comes to

5          actually delivering them.                  Subsequently, we

6          realized that this was true also about the

7          confidentiality provisions.

8                            And, to a degree, I understand

9          this.     And I say this because I don't mean

10         to -- I don't mean to imply that I didn't get

11         that they are a voter integrity organization

12         that's been doing this for a decade.                        We were

13         making a film and quite happy to march on to

14         the next film.

15                           So, in other words, I

16         understood their sense of proprietorship.                           I

17         believed that they -- it took them a lot of

18         effort to do this.            I recognized that they

19         were very busy and doing other things.

20                           And because although we were

21         giving all our attention to this project, it

22         would be fair to say that they were not

23         giving all of their attention to us.                        And I

24         accepted that and actually even expected it.

25                  Q.       And did you have any concern


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1          that it was difficult to get video from them,

2          that maybe this -- that maybe they didn't

3          have the video, maybe it didn't exist?

4                   A.       At times I thought that -- that

5          there may be video that we're not getting.

6          At other times they -- they never said that

7          to us.        They always emphasized, It is really

8          hard to process this video.                      It's extremely

9          time-consuming.         It's extremely expensive.

10                           And so we understood that we

11         were operating with limited, sort of,

12         availability here.            And we were trying to

13         make the best of what we had.

14                  Q•       Did there come a time shortly

15         after this when the Salem folks viewed the

16         film?

17                  A.        The Salem folks viewed the film

18         shortly after "this," meaning after the

19                  Q.       At the --

20                  A.       -- 29th of March?

21                  Q.        Yeah.      Yeah.

22                  A.        Yeah.      The film was released in

23         early May, and so there would have been a

24         rough cut of the film sometime in April and

25         then more of a final cut in late April, and


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1          Salem would have viewed both.

2                    Q.      And do you recall that when

3          they viewed the film they were concerned

4          about there being a lack of evidence of

5          wrongdoing shown in the film?

6                    A.       Yeah, I remember this -- I

7          remember their initial reaction to the film.

8          They liked a lot about it, and yet they

9          raised some concerns about it, which, quite

10         frankly, I welcomed because we want to make

11         the most persuasive, intelligent film.                           I

12         like to anticipate all potential objections

13         beforehand.       I don't want to be told after

14         the film, You didn't do this.

15                           And there are things I might

16         not do, but I would want to know the reason

17         why I didn't do them beforehand.                        And so, to

18         me, this was a very welcome critique by Salem

19         and exactly part of the vetting process

20         that -- the kind of broad vetting process

21         that we establish for all of our films.

22                  (Brief off-the-record discussion.)

23                   Q.      (By Ms. Haber Kuck)                   Let me

24         show you a document we looked at yesterday.

25         It's Exhibit 80.


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1                   (Previously marked was Plaintiff's

2          Exhibit No. 80.)

3                    A.      (Reviewing.)

4                    Q.      (By Ms. Haber Kuck)                   Do you

5          recognize this document?

6                    A.       Yeah.

7                    Q.      What is it?

8                    A.      It's an email chain that kind

9          of bumps from one to the other, but it starts

10         off with some feedback from a fellow named

11         David Evans at Salem.

12                           He has evidently shown the

13         rough cut to people in the larger Salem

14         universe; namely, Regnery and their publisher

15         and Townhall, which is one of their news

16         websites.

17                           And he is gleaning their

18         collective critiques, and he offers three

19         specific suggestions.

20                   Q.      And one of them is to get the

21         same person visiting multiple drop boxes?

22                   A.       Yes.

23                   Q.      And then Mr. Frankowski says

24         that there was no such video?

25                   A.      He's making a bit of a movie


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1          point, I think, here, which is that he seems

2          to be saying that Gregg does say that there

3          is a mule at more than one location, but

4          Nathan is saying that it doesn't -- it's not

5          validated in the video.

6                              This is really a cinematic

7          point, which is that if you say that

8          that's Dinesh over here and there is Dinesh

9          over there, the audience must independently

10         be able to recognize that it's me.

11                            So if it's, there is Dinesh

12         over here, but there is Dinesh over there but

13         he's facing to the back doesn't really work

14         in a movie because the audience is, like, I

15         don't see it.

16                            So that's the point that Nathan

17         is making.         He says that Gregg thinks that

18         there is, in fact, a mule at more than one

19         location.         But Nathan is saying, But I recall

20         the one you did have, it's a faraway shot and

21         dark, so it could be anyone.

22                            So it didn't work in the film.

23                  Q.        So, at best, he only had one

24         and it didn't -- it wasn't -- it was

25         inconclusive from a video standpoint?


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1                   A.        What he's saying is from video

2          standpoint for a movie, yes, that is the

3          case, correct.

4                             Sometimes in other contexts a

5          grainy video and so on can work because

6          people will magnify it, look at it more

7          closely.       But in a movie, you basically get

8          to see something and then you get to see

9          something else.

10                  Q.        So we talked about earlier in

11         the movie to qualify as a mule, these people

12         would have had to have gone to ten drop

13         boxes.        Right?

14                  A.        Right.

15                  Q.        And there were allegedly 242

16         mules in Atlanta.            Correct?

17                  A.        Using that criterion, yes.

18                  Q.        Yes.      So did you have some

19         concern that you didn't have even one video

20         of any of these people going to more than

21         one.

22                            I mean, there should be 240

23         people and they are going to -- each going to

24         at least ten drop boxes.

25                            Did you have some concern that


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1          you couldn't find a video of anyone going to

2          more than one?

3                   A.       I did have that concern and I

4          raised that concern.              And the reason I was

5          ultimately satisfied or at least -- I

6          wouldn't say fully satisfied, but sort of

7          grudgingly went ahead is probably best way to

8          put it, is because I came to the

9          understanding that even in the places where

10         there was video, notably Georgia, the video

11         was very sparse.

12                           In other words, the majority of

13         the drop boxes did not have video.                       And so

14         you always have to ask, Well, what would you

15         expect?

16                           And so as I -- using my example

17         from earlier, if you have a 1 in 10 ratio of

18         surveillance video, then it's going to be

19         really hard to find mules going to multiple

20         drop boxes.        That's just by the nature of the

21         algebra.

22                  Q.       Even though there's 242 of

23         them?

24                  A.       Even though there's 242 of

25         them, yes.


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1                            MS. HABER KUCK:                Okay.     We can

2                   take a break for lunch.

3                            MS. HYLAND:            Okay.

4                             THE VIDEOGRAPHER:               Going off

5                   the record.        The current time is

6                   12:31.

7                            (Recess taken at 12:31 p.m. ,

8                   resuming at 1:28 p.m.)

9                             THE VIDEOGRAPHER:               Going back

10                  on the record.           The current time is

11                  1:28 and this is the start for Media

12                  4.

13                  Q.       (By Ms. Haber Kuck)                   So before

14         lunch we were talking about the videos

15         obtained from TTV.

16                           Do you recall that?

17                  A.       (Moving head up and down.)

18                  Q.       And they -- and I believe you

19         say this in the book and the movie.                        They had

20         4 million minutes of video surveillance?

21                  A.        That's what we understand.

22                  Q•       Did you ever have reason to

23         think that wasn't true?

24                  A.        No.

25                  Q•       Let me show          you a document we


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1          marked yesterday as Exhibit -- I'm not sure

2          which day we marked it.                It's been marked

3          previously as Exhibit 49.

4                            MS. HABER KUCK:                I have one

5                    more copy.       You should have it.                We

6                    looked at it yesterday.

7                   (Previously marked was Plaintiff's

8          Exhibit No. 49.)

9                    A.      (Reviewing.)

10                   Q.      (By Ms. Haber Kuck)                   Do you

11         recognize this document?

12                   A.       Yes.

13                   Q.      What is it?

14                   A.      It appears to be a summary of

15         Catherine talking to Debbie, copying Gregg

16         and me, about some questions that we seem to

17         have asked prior.           And this is responding in

18         an itemized way to those questions.

19                   Q.      And you're copied on this.

20                           Do you remember receiving it?

21                   A.       Yeah.

22                   Q.      Okay.       With respect to the

23         first category (as read):                  "Video footage and

24         how many we can realistically have.                        We want

25         to show mules all of what you have that


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1          works."

2                             That was the first request?

3                   A.        Yes.

4                   Q.       She says (as read):                   "We have

5          around 70 videos currently separated out and

6          are scaling our efforts to review more.                          This

7          is an incredibly time-consuming because it

8          involves reading the geospatial data to try

9          and find a match in really poorly detailed

10         county video, so only the analysts can do

11         that."

12                           Do you see that?

13                  A.        Yes.

14                  Q.       And are those -- she refers to

15         around 70 videos.           Are those the ones that

16         you had already received?

17                  A.       I think in context it seems

18         clear; that is, it's dated February 10.                          So

19         to me it makes sense in my timeline that we

20         would have gotten the first batch of videos,

21         and that's what she's referring to.

22                  Q.       And do you understand, from the

23         way she describes it, she's talking about

24         videos that they had done the geospatial

25         matching on?


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1                   A.        Yeah.      My understanding was

2          that that was a consistent pattern.                        And, in

3          fact, it has to be because there is no -- I

4          cannot think of a reasonable way to excavate

5          videos of mules without doing that.

6                             You've got 4 million minutes of

7          video and unless you have somebody watching

8          24 hours a day to, Hey, I found somebody at

9          this drop box, you really have to coordinate

10         the two.      That is the essence of the task

11         here.

12                           In other words, you can have

13         the geotracking without the video, but you

14         really can't have the video without the

15         geotracking, as I understand it.                        And I think

16         that's what she's confirming here.

17                  Q.       And then she goes -- she goes

18         down -- at the bottom she says (as read):

19         "We have millions of minutes of general

20         footage so we can break apart clips and as

21         long as they are too blurry to determine

22         identifiable features, they could work for

23         purposes of showing movement to the drop

24         boxes and giving a 'fly' effect."

25                           Do you see that?


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1                   A.        Yeah.

2                   Q.       So when she's using the term

3          "general footage," did you understand her to

4          mean the footage that hadn't yet been linked

5          to the geospatial tracking?

6                   A.       Exactly.          She seems to be

7          saying that if you don't have enough usable

8          video, we can just scroll the video and we

9          will find some people moving around; and as

10         long as you have no idea who they are, quote,

11         sort of what we would loosely in films call

12         something like crowd footage or B role or

13         background footage or showing someone walking

14         through a subway.           There are obviously other

15         people milling about.

16                           She appears to be suggesting

17         this.     It's not an advice that we took in any

18         way, but she's throwing out an idea to

19         seemingly satisfy our question.

20                  Q.       And did you get a second batch

21         of footage from them?

22                  A.        Yes.

23                  Q.       And was that the general

24         footage as opposed to the footage that had

25         been tracked?


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1                   A.        No, we never got -- we never

2          got general footage.              We got a second batch

3          of mule videos.           I don't know on what date,

4          but that was Batch No. 2.

5                   Q•       And your understanding that -

6          was that that was a batch of videos that

7          actually had been matched?

8                   A.        Yes.

9                   Q.       Did she tell you that?

10                  A.        That was the agreed-upon

11         understanding of the videos, the mule videos

12         we were using in the movie, given that we

13         had -- by this time we had already done the

14         interview with Catherine and Gregg.                        So this

15         is subsequent to all that.

16                  Q.       Right.

17                  A.       And in the               in the interview,

18         which is to say in the movie, we couldn't

19         have been more clear up front about what a

20         mule is.

21                            That was the point of the very

22         basic:        What is a mule?          What is geotracking?

23         How do you define a mule?

24                           So our criteria had been put on

25         the table by then and we were operating


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1          within that criteria.

2                            I -- when I read this, I paid

3          no attention to the bottom of it because I

4          took it as really one of those, We're trying

5          to be helpful and here is a wild idea.

6                            I was, like, Pass.

7                            So, no.         We were -- we asked

8          them, and I believe there is plenty of

9          documentation where we specifically asked

10         them, We need more mule videos.

11                            Not, We need general footage.

12         We need mule videos.

13                  Q.       And who did -- who did they

14         give that second batch to?

15                  A.        The second batch went to

16         Nathan.       I'm not sure of the mode of the

17         delivery, whether in person or somehow

18         digitally or -- I have no idea.                     But I know

19         that it was delivered and Nathan received it.

20                  Q.       And do you know if -- well,

21         strike that.

22                           Did you have any direct

23         conversations with Ms. Engelbrecht or

24         Mr. Phillips about what was in that second

25         batch?


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1                   A.        Did I have any direct

2          conversations with them about what was in

3          that second batch?             I cannot recall any

4          specifically, no.

5                   Q.        Do you know whether

6          Mr. Frankowski did?

7                   A.        I don't know.

8                   Q.        Other than Mr. Frankowski,

9          would there have been anybody else on the

10         team?

11                  A.        Bruce Schooley.

12                  Q.        Okay.       Do you know if

13         Mr. Schooley had any conversations with them

14         about what the content of that second batch

15         was?

16                  A.        I don't know specifically.                      He

17         was in contact with them, but I don't know

18         specifically.

19                  Q.        Okay.       When      you reviewed

20         Ms. Engelbrecht's deposition, did you notice

21         that she said the second batch was not

22         geotracked?

23                  A.        I saw something to that effect.

24         I'm not sure I fully read, you know, page by

25         page or line by line; but I do recall seeing


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1          in there that not all the videos evidently

2          were geotracked, yes.

3                   Q.        And then the second category,

4          it says (as read):            "We still need a list of

5          nonprofits that you -- were involved with the

6          tracking."

7                             Do you see that?

8                   A.        Yes.

9                   Q.        And then she sends you a link

10         to Georgia and Arizona.

11                            Do you see that?

12                  A.        Yes.

13                  Q.        Did you click on that link?

14         Did you look at that?

15                  A.        I did, but I don't remember if

16         I did it immediately or if I did it a little

17         bit later.        I say that because the -- we were

18         making a film.         I was also on a slightly

19         different trajectory writing a book.                        And

20         those, while they ran parallel to each other,

21         were not occurring at the identical same

22         time.

23                            So it could well have been that

24         I looked at it from a film point of view,

25         didn't do anything with it, but then later


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1          took a look at the link to see what was in

2          there.

3                   Q•       Why was it that you were asking

4          for this list?

5                   A.       Both to have some background

6          knowledge, whether we used it or not, about

7          what are these nonprofits.

8                            I was particularly interested

9          in something that Gregg Phillips said, which

10         was he said that the ideology of these

11         nonprofits was consistently left wing so that

12         even if I didn't use the nonprofits in the

13         movie, I could look and see, Oh, yeah.                         Okay.

14         We're talking about, you know, this and that

15         and this and that, and I recognize this and I

16         recognize that.

17                           So for that reason, I was

18         curious as to what Catherine and Gregg were

19         referring to specifically.                   And -- but you

20         can also see in the same -- I took note of

21         the fact that they're                  they say that these

22         active investigations that I gave you

23         earlier, that is one potential reason for not

24         including their names.

25                  Q.       And did you understand that


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1          this link was including organizations that

2          they had identified in their research as

3          stash houses?

4                   A.       I sort of assumed that, but I

5          think that the opening line is a little

6          ambiguous in the sense that it says (as

7          read):     "Here is a link to the Georgia and

8          Arizona organization."

9                            So that appears to be

10         responsive to the question, we need a list of

11         the nonprofits.

12                           And then when it says "that

13         have published 990s," that throws me off a

14         little bit because I don't know if the list

15         is now modified by a second criterion, which

16         is the 990s.

17                           So it's not something I would

18         proceed with without learning more, but now

19         that I read it -- and I'm sure I felt -- read

20         it the same way -- I'm like, hmm, I wonder

21         what that means.

22                  Q.       Did you -- do you recall having

23         a discussion with her about it?

24                  A.        No, because I think once we

25         made the decision not to include the

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1          nonprofits, it remained a subject of interest

2          and, as I say, it was something I did give a

3          second look at in connection with the book,

4          but it was -- it was not something that we

5          were going to include in the film.

6                   Q.       And you also asked for the NGOs

7          in the other states, and she says that she

8          will send a list by the close of business on

9          Friday.

10                           Do you see that?

11                  A.       I don't see that in here.

12                  Q•       She says, the last line is

13                  A.       Oh, yeah, sorry.               Yeah, I do

14         see it.

15                           (As read):           "We have the NGOs

16         in the other states, too.                  We will send a

17         list by close of business Friday."

18                  Q.       Do you know whether you got

19         that list ever?

20                  A.       I do not know for sure, but I

21         don't recall getting any further list.

22                  Q.       And you asked her -- you

23         continued to ask her for those lists, though.

24         Right?

25                  A.       I think we had asked on more


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1          than one occasion.            I don't know how many

2          times and I don't know if at some point we

3          made a decision, hey, we're not going down

4          this road, and so we stopped asking about

5          that.

6                    Q.      I will show you what we

7          previously marked as Exhibit 52.

8                   (Previously marked was Plaintiff's

9          Exhibit No. 52.)

10                   A.      (Reviewing.)

11                   Q.      (By Ms. Haber Kuck)                   Do you

12         recognize this document?

13                   A.       Yes.

14                   Q.      And what is it?

15                   A.       This appears to be an

16         email -- this is an email from me to

17         Catherine, copying Debbie, saying (as read):

18         "I seem to have the list of NGOs you tested

19         for in Georgia, Wisconsin, Arizona, but not

20         Michigan or Pennsylvania.                  Can you send me

21         those two lists?"           And, "Have you written any

22         reports on Pennsylvania?"

23                   Q•      And you don't recall whether

24         you actually got those two lists?

25                   A.      Right.        I don't believe I did,


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1          but I'm not positive.

2                   Q.       Did you have a concern that she

3          was reluctant to give you this information

4          about the NGOs?

5                   A.        Yes, but -- I did, but I

6          thought that the reason was plausible and, in

7          fact, stated in the previous email; namely,

8          that she was -- had always conveyed to us

9          that she, both in Georgia and Arizona, was

10         quite involved in making reports to either

11         political bodies or investigative bodies,

12         maybe -- maybe even law enforcement bodies,

13         and all of this was ongoing.

14                           So I thought, You're reluctant,

15         but it doesn't seem suspicious to me because

16         I know the reason why you're reluctant.

17         You've told it to me.

18                  Q.        The reason -- yes, you're --

19         you believe she was reluctant for the reason

20         she gave you?

21                  A.       Exactly.

22                  Q.       And in your book, you have a

23         chapter on -- talking about how the

24         nonprofits could have funded the mules?

25                  A.        Yeah.


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1                   Q.       And you say (as read):                   "I set

2          out to show who could have funded the mule

3          operations."

4                            Did you have any evidence that

5          any mule was actually paid, or were you

6          hypothesizing on how it could have worked?

7                   A.       My reasoning was that the movie

8          is going to take you to a water's edge at two

9          or three points in the movie, but there will

10         be legitimate questions that go beyond that

11         water's edge.

12                           We may not be able to fully

13         answer those questions, but we should be able

14         to at least partially answer them, or at

15         least provide some plausible explanation for.

16                           So this is the follow-the-money

17         kind of part of the film.

18                  Q.        Uh-huh.

19                  A.       If you have a nonprofit

20         involvement in a coordinated election fraud

21         scheme, they -- it would have to be paid for

22         somehow.

23                           If it is paid for somehow,

24         there would have to be some source of money.

25         And ideally some source of suspicious money


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1          because this is an illicit operation.                         It is

2          an under-         is an underground operation.

3                            So it cannot be that the Ford

4          Foundation gave you this money because

5          typically that will appear in the Ford

6          Foundation's report as the money has been

7          given to you for this reason.

8                            So you are looking for really a

9          river of cash.         And that was the point

10         of consulting Scott Walter, Are there big

11         rivers of cash that flow into nonprofits

12         right around election time?

13                           And his answer was, You won't

14         be surprised, Dinesh, that the answer to that

15         is yes.

16                           And so I was like, all right,

17         without being able to connect those to the

18         mules, since we're not naming the nonprofits,

19         let's discuss that because that is -- that is

20         a very interesting question to someone who

21         would follow the trail to where the trail

22         ends, but then still have questions.                        And I'm

23         going to do my best effort to answer those

24         questions.

25                           So I was not able to go beyond


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1          the, Here's the money.               This is prima fascia,

2          a little suspicious and -- but this is the

3          kind of money that could be used to fund a

4          mule operation.

5                             And that's all that I felt

6          comfortable to say and that's all I did say.

7          I didn't go beyond that evidence in the book.

8                   Q.        So you didn't have -- you

9          didn't have any proof that any mule was paid?

10                  A.        The only -- the only

11         evidence          and I agree that it is -- it is

12         somewhat speculative -- is it is hard to

13         think of other reasons for why mules would

14         take photos of drop boxes.

15                           In other words, I can

16         understand why someone would take a selfie,

17         because you might want to take a selfie

18         I've seen people post selfies of the "I

19         voted."       But to take -- to take a photo of

20         ballots going in a box or just the box to me

21         is extremely bizarre.

22                            And I also do know that people

23         like UPS drivers and delivery people will

24         often take photos of a package when they

25         deliver it.        They prove that they deliver it,

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1          make -- prove that they delivered it.

2                            And so that seems to be a very

3          reasonable conclusion, that that was a

4          mode -- that was a mechanism of payment.                          But

5          that's all the evidence that we had and

6          that's all the evidence we put in the film.

7                   Q.       Okay.       And when you said the

8          film takes you to the water's edge, what did

9          you mean by that?

10                  A.       Well, what I mean by that is

11         that -- is that a film is limited by the

12         journalistic techniques available to the

13         journalists who are making the film.

14                           So, for example, I gave earlier

15         the example of cell phone IDs.                     Even if

16         Catherine and Gregg had given me, here's a

17         list of the 2,000 cell phone IDs

18         corresponding to 2,000 mules, there is

19         absolutely nothing I could do with that

20         information.        I don't know who those people

21         are.     I have no way of finding out.

22                           And so that's the water's edge.

23         By that I mean that's as far as I can go.                           I

24         can't go any further.

25                           Similarly, the ballots came


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1          from somewhere.          I don't believe that these

2          people who were showing up with backpacks

3          produced their own ballots.                      They got them

4          from somewhere.          Where?

5                            According to Catherine and

6          Gregg, it's the nonprofits groups.                       But if

7          you're not going to name the nonprofit groups

8          and if we don't even have a comprehensive

9          list of those nonprofits groups, it is

10         impossible then to go and get the financial

11         statements of those nonprofit groups and look

12         at where they are spending their money and

13         what they disclose and what they don't and

14         who their leadership is.

15                            That is almost like another

16         phase of the investigation.                      It's not to say

17         it can't be done, but it is to say that

18         under -- under these circumstances, we are

19         not in a position to do it.                      But

20         investigators could do it.

21                  Q•       Okay.       So we talked about

22         the       we talked about the fact that the

23         premier was shown at Mar-a-Lago.

24                  A.       Yes.

25                  Q.       When were you first in contact

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1          with Donald Trump about the film?

2                   A.       Catherine and Gregg had some

3          contact with him separate from us, and we

4          reached out to Mar-a-Lago to organize our

5          premier.

6                            Mar-a-Lago was aware of us, but

7          basically notified us that they don't have

8          events, particularly events that are

9          exhibiting some content without them having a

10         look at what it is.

11                           So they said, You need to have

12         a screening of the film.

13                           And we're like, We're happy to

14         do that.      We can come and show it to you or

15         we can send it to you.

16                           And they said, No, why don't we

17         do an actual screening?                In other words, we

18         will just have a private room in Mar-a-Lago.

19         There will be a handful of people there.                          We

20         will all watch the film.                 And we -- this is a

21         necessary step before we give our sort of

22         seal of approval for you to have your big

23         event here at -- on our property.

24                  Q.       But you were in contact with

25         him well before the screening.                     Right?


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1                   A.        Well, I mean, I mentioned to

2          you my meeting with him in the Oval Office in

3          2019.

4                   Q.         Uh -huh.

5                   A.        I did not have any direct means

6          of contacting Donald Trump.                       I didn't have

7          his phone number.            I couldn't text him, at

8          the time.         And so I was doing everything

9          through channels.

10                  Q.        Okay.

11                  A.         Catherine and Gregg had

12         more          in that sense, more direct access

13         than I did.

14                            So I approached Mar-a-Lago.                     I

15         approached Trump's people.                    I didn't deal

16         with Trump.

17                  Q.        Okay.       Did you subsequently

18         have convers-- did you subsequently meet with

19         him after the preview?

20                  A.         We met -- we met for the

21         preview of the film.               In other words --

22                  Q.        Right.

23                  A.        -- he was there and Catherine

24         and Gregg were there and I was there and some

25         other members of our film team, a couple of


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1          members of my family were there.                        We all

2          watched the film together.

3                            And the next time I saw him was

4          at the        at the actual Mar-a-Lago premier.

5                            So the prescreening and then

6          the premier.        I didn't see him -- I can't

7          remember any meetings with him in between

8          those two things.

9                   Q.       So at the premier                     or, I'm

10         sorry, at the prescreening, am I correct that

11         he made some comments to you about he thought

12         the ending could be better?

13                  A.       I'm laughing because Trump is

14         the type of guy who gives you a running

15         commentary as the film is playing, so he had

16         a lot of input, which, you know, included

17         sighs, groans, technical comments, a lot

18         of -- a lot of stuff, some of it quite

19         amusing.

20                           But, yes, at the end, one of

21         his comments was, You know, he's like, it

22         drags at the end.           It's too long.

23                           So he did say that.

24                  Q•       And so in response to that, did

25         you revise the ending?


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1                   A.       I never agreed to do something

2          like, Okay, I will shorten the film.                        It

3          wasn't like that at all.

4                            I was like, Hmm, that's

5          interesting.

6                            I'm not saying -- my general

7          presumption is on films like this that I'm

8          right and other people are wrong.                       And so

9          very rarely does someone say something like

10         this where I go along with it.

11                           But I did take note of it and

12         we had a discussion with our team later.                           And

13         we actually realized that not only was he

14         right, but he was right for -- because he is

15         a cultural celebrity.

16                           In other words, he has

17         experience in this.             He's not speaking off

18         the top of his head.              He was on "The

19         Apprentice."        He actually knows what makes

20         good TV.

21                           And what he was saying to us,

22         in effect         and this is my reading of it,

23         not really what he said -- is what he was

24         basically saying is, Look, if you -- if you

25         show people "The Shawshank Redemption,"


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1          nobody wants to have a big panel discussion

2          at the end about, why are there -- how do we

3          reform Shawshank?           And, What are the seven

4          things we need to do to clean the place up?

5                             No.    The movie is the movie.

6          And the moment that the guy breaks out, the

7          movie is over.

8                            And not that the rest of it

9          doesn't need to be done, but it's not a good

10         idea to put it in the film.                      It takes the air

11         out of the tire.          It deflates the energy of

12         the film.

13                           So this was a section I had

14         originally thought belongs in the film.

15         You've described the problem.                      You need to

16         have an extended discussion of the solution.

17                            The more I thought about it,

18         the more I realized that there needs to be an

19         extended discussion of the solution, but not

20         in the film.

21                           So I made a unilateral

22         editorial decision to cut the film.                        He

23         didn't tell us how to cut it or how much to

24         shorten it, but I agreed that -- not just

25         that it was too long, it just wasn't a matter


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1          of length, it was a matter that the film

2          builds in a certain climactic way and then it

3          sort of deflates.

4                            So it was more of an artistic

5          decision to shorten the film.                    Short is

6          generally better anyway.                 Documentaries

7          ideally are          it's kind of a rule of

8          documentaries that 90 minutes is the perfect

9          length.       This film was over 100 minutes, as I

10         recall.

11                           So I was like, You know, it

12         will be a better film if we take ten minutes

13         of it out, and we did.

14                  Q•       And then did you -- you sent

15         him a new cut of the film after that?

16                  A.        Yes.

17                  Q.       And when you say you sent it to

18         him, who -- well, who on your team would have

19         sent it and who did they send it to?

20                  A.       I'm not really sure.                  I wasn't

21         the one who actually sent it and he wasn't

22         the one who actually received it --

23                  Q.       Right.

24                  A.       -- so it would have come from

25         US.


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1                            Very often what happens is

2          Nathan or Bruce will send me a link and I

3          will then forward it to somebody on the Trump

4          team and say, Here is the link.                     This is how

5          you watch it.

6                   Q.       And you don't recall -- you

7          don't recall who you were in contact with,

8          who you would have sent it to?

9                   A.       Well, there were -- there were

10         two or three regular guys we were in contact

11         with.     And I think I know who it is, but I

12         don't know for sure, and so I would be sort

13         of guessing.

14                  Q.       So leaving aside the specific,

15         then, who are the people on the Trump team

16         that you regularly had contact with?

17                  A.       Well, I didn't have regular

18         contact with anybody.               It's just that

19         when -- it's just that when we were

20         organizing Mar-a-Lago, I had contact with

21         with a couple of people on the Trump side and

22         then a woman named Nicky (phonetic) who was

23         the organizer at Mar-a-Lago.                     She is        she

24         does the chairs, the menu, the everything.

25         She's the Mar-a-Lago banquet organizer.                          We


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1          dealt with her on a lot of these specifics.

2                            And then when we subsequently

3          sent the film, it would have gone to one of

4          the Trump staffers.

5                   Q.       And who were the Trump staffers

6          you would have been in contact with at this

7          time?

8                   A.       Well, the main one that I

9          remember is a guy named Sergio Gor, G-O-R.

10         He was just one of their -- one of Trump's

11         guys.

12                  Q.       Okay.       And then you've

13         got       we discussed this yesterday with

14         Mrs. D'Souza -- you got feedback from him on

15         the new cut?

16                  A.        Yes.     I don't remember either

17         how I got the feedback.                I don't -- he didn't

18         call me or anything with feedback like that,

19         but we might have heard from his people that

20         he really liked it and that was -- that was

21         important to us.

22                  Q.       So to the extent that

23         Mrs. D'Souza was reporting that Trump loves

24         the new cut, you're saying you didn't get

25         that directly from Mr. Trump?


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1                   A.        Yes.     Correct.

2                   Q.       Okay.       And you don't recall

3          having any direct conversations with him

4          about the film, other than -- well, you had a

5          conversation at the screening?

6                   A.        Yes.

7                   Q.       And then you saw him again at

8          the premier?

9                   A.       Right.

10                  Q.       And you don't remember any

11         conversations with him in between.

12                  A.       Right.

13                  Q•       Do you recall that there was a

14         time in -- at the end of January of 2022 when

15         you were -- well, strike that.

16                           Do you recall there were two

17         trailers for the film?               There was a teaser

18         trailer and then there was a longer trailer?

19                  A.        Yes.

20                  Q.       And do you recall that there

21         was a time around the end of January with

22         respect to the teaser trailer that Salem was

23         threatening to pull out?

24                  A.        Yes, I do.          I do want to

25         qualify what we mean by "pull out."                        At no


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1           point did Salem remotely consider pulling the

2           funding of the movie or its involvement in

3           the movie.

4                              The pullout here had to do with

5           whether or not Salem wanted to be an

6           executive producer and have their name appear

7           on the movie.        So "pullout" in that context

8           has to do with public recognition.

9                             We explained to Salem at the

10          outset of this project that we have had a

11          pool of maybe 40 investors over a series of

12          films.        The vast majority of them have no

13          intention of their names appearing in the

14          film.     They are just contributing money.

15                             They'd rather actually stay out

16          of any public debate around a film, so their

17          names are confidential.

18                            And we told Salem, You're

19          welcome to be an investor in the film and

20          have your name on the film or not have your

21          name on the film.           That's completely up to

22          you.

23                   Q•       And what caused them to have

24          second thoughts about having their name on

25          the film?


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1                   A.       Salem is a large company with a

2          lot of different cooks in the soup, and they

3          are a little skittish about things, in my

4          opinion.

5                            And by that, what I mean is

6          that they are -- I'm describing them as an

7          organization.        They           if something appears

8          to be controversial or radioactive, they will

9          run away from it.           If something becomes very

10         successful, and they will run toward it.

11                            They want to embrace credit,

12         but they want to minimize any public

13         criticism.

14                  Q.       Okay.

15                  A.        They are cautious, not in a bad

16         way, but that is their temperament.                        And

17         it -- I was familiar with that.                     That is kind

18         of the way they are.

19                            The first time that I talked to

20         them about doing a podcast, they were like,

21         Dinesh, you know, are you going to prepare,

22         like, daily transcripts of what you say on

23         the podcast?        We would like to review them.

24         We want to make sure...

25                           And I was like, I do the


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1          podcast impromptu.            I don't have any

2          transcripts.        You're not going to get any

3          transcripts.

4                            And if that's your condition

5          for doing it, either you have to do it or

6          it's not going to be done.

7                            And then they came to me and

8          said subsequently, You know, it's been six

9          months and we haven't heard a word of public

10         attack based on your podcast.                     You're

11         obviously doing really well.                     Keep going.

12                           It's hardly my criteria for

13         doing well, but, nevertheless, it reflected

14         their caution.

15                           And so here in this context,

16         basically what it is is they were -- they

17         were in, they were out, on the public use of

18         their name.

19                           And what happened is that the

20         teaser got accidentally released and they

21         freaked out.        They had a panic attack.                   And

22         so I had to administer intellectual ambulance

23         services.

24                  Q.       So what was it -- why did the

25         teaser getting released, what was it about


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1          that that caused --

2                   A.        It had their name in it.                    It

3          already had -- in other words, we had put

4          their name in the teaser and so they were --

5          I don't want to say "outed," but they -- the

6          cat was out of the bag, so to speak.                         This is

7          a Salem Media production.

8                              They had not made that final

9          decision.         They didn't think that they had to

10         make it.      They didn't know the trailer was

11         going to be released.                Neither did we.

12                            So we were quite -- we were

13         dismayed of the trailer being released, but

14         for a completely different reason.

15                  Q.        And how was it that the trailer

16         was leaked?

17                  A.        We do not to this day know.

18         There was a small number of people who had

19         the trailer.         We had shown the trailer to

20         some people and in the days -- you know,

21         these days of electronic communication, we

22         had sent it to it a handful of people either

23         for feedback or because we wanted them to see

24         it.

25                            But we are usually quite


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1          careful to tell people not to release things.

2          We release them.          It's our product.                We have

3          a strategy and a timing around these things.

4                            So we were a little horrified

5          that the trailer was played without our

6          knowledge at a Trump rally.

7                            It was erroneously linked

8          to -- I won't say erroneously.                     People said

9          Ken Paxton released it, because he did have a

10         copy of it.       But it played either before or

11         after he spoke and that caused people to

12         think he did it, but I'm not convinced he

13         did.

14                  Q•       And how -- how was it that the

15         Trump people had a copy of it?

16                  A.       I don't know.

17                  Q.       Okay.       So who had a copy of it

18         outside of Salem -- or, I'm sorry, outside of

19         D'Souza Media and TTV?

20                  A.       I can't say definitively.                    I

21         mean, we had it for sure.                  True the Vote had

22         it for sure.

23                           And we had sent it to -- we had

24         sent it to probably a half dozen other

25         people, but they were all people in a sort of


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1          inner circle that we thought we could trust,

2          you know.         And it wasn't people that we

3          thought would -

4                              We're dealing with people who

5          are professionals and it's -- it's kind an

6          understood rule if somebody sends you, Hey,

7          here is our teaser trailer that you don't go

8          and release it.

9                    Q.        Right.       Did    TTV know that            you

10         were providing the trailer to anyone outside

11         of D'Souza Media?

12                   A.       I don't think that they would

13         have known that.

14                   Q.       Let me show you a document.

15         Can you pull up -- you should have them

16         there -- 83?         It wasn't one of the ones we

17         looked at today.

18                   A.       Okay.

19                  (Previously marked was Plaintiff's

20         Exhibit No. 83.)

21                  (Brief off-the-record discussion.)

22                   A.       I have it.

23                   Q.       (By Ms. Haber Kuck)                   Okay.     Can

24         you take a look at this?                  We looked at this

25         with Mrs. D'Souza yesterday, but I can't tell
                                                                                        i
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1          who the two people are on it because one is

2          redacted and one says "Me."

3                             She -- she suggested perhaps it

4          was between you and your daughter.                        But can

5          you take a look and tell me if you can figure

6          that out?

7                   A.        (Reviewing.)             This is without a

8          doubt a conversation between me and my

9          daughter.

10                  Q.         And this is about the incident

11         that we were just talking about?

12                  A.        It starts by talking about

13         that.

14                  Q.        Right.        And this would -- this

15         would suggest that they were actually

16         threatening to pull the funding.                         It says,

17         "Because if" -- the second line is (as read):

18         "Because if Salem pulls out of the movie they

19         will have torpedoed your launch.                         Maybe

20         Trump's friends can fund this film if

21         needed."

22                  A.         This looks like my bombastic

23         daughter.         She has no idea.

24                  Q.        So your            your -- so your

25         recollection is not that they were


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1          threatening to pull the funding?

2                   A.        Absolutely not.               I know that

3          for a fact.

4                   Q.        And did you subsequently have a

5          meeting with Mister -- well, with someone

6          from Salem Media and worked it out?

7                   A.       I remember, with some friends

8          and this all broke in the evening the day of

9          the rally.        And so my dinner was sort of

10         ruined by a lengthy telephone conversation

11         with the top people at Salem.

12                  Q.        Okay.      And do you -- and there

13         is a reference to Ed.

14                            Who is Ed?

15                  A.       Ed is Ed Atsinger, the CEO.

16                  Q.        Okay.      Did you have a

17         conversation with him?

18                  A.       I think he was on the call,

19         yes.

20                  Q         Okay.      And but your -- your

21                           Well, let me just make sure I

22         have this clear.           So they're -- they were

23         upset not because of any content issues, they

24         were upset because of the way in which the

25         trailer was released?


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1                   A.        They were -- I think that's a

2          little misleading.            Salem had not fully

3          signed on to being -- to having their name on

4          the title page of the film.

5                   Q.       Okay.

6                   A.        The reason for that was a

7          little bit of their skittishness around

8          issues of election integrity, being an

9          election denier.          These topics I think they

10         found a little bit radioactive and they were

11         in a crouched position about it.

12                           When the trailer was released,

13         it was almost like somebody made a decision

14         for us that we had not made in connection

15         with this film, and so they were having a bit

16         of a fit.

17                  Q.       After the premier at

18         Mar-a-Lago, do you remember there being a

19         Trump -- the Team Trump Bus Tour to promote

20         the film that your daughter was involved in?

21                  A.       When you say do you remember, I

22         remember my daughter telling me that

23         she -- my daughter was on the board of Women

24         for Trump and so she was doing some rallies

25         and traveling, not connected with the film.


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1                            But I believe that once the

2          film sort of hit the scene, the Trump people

3          realized that, Hey, we've got Dinesh

4          D'Souza's daughter in our bus.                     And so they

5          organized a couple of screenings on the tour

6          and she participated in those because she was

7          on the tour anyway.

8                   Q.       Okay.

9                   A.       And she told me about it.

10                  Q.       I'm showing you what we will

11         mark as Exhibit 101.

12            (Marked was Plaintiff's Exhibit No. 101.)

13                  Q.       (By Ms. Haber Kuck)                   A document

14         bearing Control Nos. DDD-000469 through DD

15         [sic] -- I believe it's 512.

16                  A.       (Reviewing.)

17                  Q.       Have you ever seen this

18         document before?

19                  A.        No.

20                  Q.       Are you aware that Ms. Jackson

21         prepared a declaration for use in this case?

22                  A.       I was aware that she was in

23         communication with our lawyers who had

24         contacted her to discuss some of the

25         publicity aspects.            She was our publicist for


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1          the movie.

2                            And I knew that she was kind of

3          cooperating with them.               But that was

4          the -- that's what I knew.

5                   Q.       And did you have any

6          communications with her?                 Did you put her in

7          touch with your lawyers?

8                   A.       I believe Debbie did.                  I might

9          have.     I mean, there was forwarded the

10         contact information, I don't remember, but

11         one of us did.

12                  Q.       And you don't                  do you have

13         any information as to why she was preparing a

14         declaration?

15                  A.       I don't have any information

16         about that, no.

17                  Q.       Okay.       Ms. Engelbrecht at one

18         point also expressed a desire to use the film

19         to promote the campaign of David Perdue.

20                           Do you recall that?

21                  A.        Yes.

22                  Q.       And what do you recall about

23         that?

24                  A.       I recall from exchanges between

25         Catherine and really Debbie, but sometimes


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1          exchanges in which I was in the loop, a

2          running conversation about projects that True

3          the Vote was doing.

4                            Quite honestly, projects that

5          were not -- not only were we not involved in ,

6          but as a film we have a kind of a motto;

7          namely, that -- and it's not just -- not an

8          ideological motto so much as it is a

9          practical one, which is that we don't like to

10         get involved in internecine Republican party

11         fights.

12                            The reason is kind of obvious,

13         and that is we're trying to sell a film to an

14         audience that is mainly right of center.                          And

15         if one guy is running against another guy and

16         you take sides with the one guy, everybody

17         who supports the other guy will hate you and

18         not come and see your film.

19                           So it's something that we've

20         learned over the years, probably owing to a

21         couple of mistakes we made early on in my

22         filmmaking career and we were like, Ah,

23         that's not something we want to be doing.

24                           So we recognize, of course,

25         that True the Vote is an independent


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1          organization.        They have their own interests.

2          They have their own pursuits.

3                             They seemingly had an interest

4          in Georgia.       I had my own reasons for

5          guessing as to why that was the case.                         I

6          think I knew why it was the case.

7                            But, nevertheless, this was

8          their cause and not ours and -- but they were

9          very determined to get some of this

10         information out in time.                 I think that was

11         the key issue.

12                           Our film was rolling on a very

13         predictable, fairly typical schedule.                         They

14         were trying to rush it, but we were not

15         willing to do that.

16                  Q.       And do you recall that -- her

17         asking to talk about what information they

18         could give to the campaign?

19                  A.       I remember her asking about

20         that, yes.        We want to know what we can share

21         with the Perdue campaign

22                  Q.       Right.

23                  A.            to which our presumptive

24         answer was, Nothing because of our NDA and

25         our joint agreement.
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1                            However, we suspected that they

2          would, in fact, share some things with the

3          Perdue campaign, and that turned out to be

4          the case.

5                   Q.       What -- how do you know it was

6          the case that TTV provided information to the

7          campaign?

8                   A.       Well, I just happen to know

9          later -- and, of course, now -- about the

10         voter Georgia campaign, the ad that ran in

11         sort of certain red areas in Georgia,

12         and -- that contained footage from Catherine

13         and Gregg -- or contained their footage.                          And

14         so some of this is just things that I've

15         learned subsequently.

16                           I obviously knew at the time

17         that they were very -- they seemed to be

18         quite dead set against Governor Kemp and very

19         much -- very eager.             They seemed to think,

20         like, that the fate of Georgia or the

21         Republic hinged on this election.

22                           We didn't think so.                   But on the

23         other hand, we -- you know, we -- I felt like

24         I was eavesdropping on a loop that I was not

25         part of.


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1                   Q.       And so the campaign ad that you

2          referred to, is that -- was it related to the

3          Get Georgia Right PAC?               Does that sound...

4                   A.        Yes.

5                   Q.       Okay.       And tell me what you

6          came to understand about that political

7          advertisement.

8                            MS. HYLAND:            Objection,

9                   ambiguous.

10                  Q.       (By Ms. Haber Kuck)                   What did

11         you learn -- how did you learn about that

12         advertisement that you referred to in your

13         answer a minute ago?

14                  A.       Well, I mean, to be honest, I

15         don't know if I knew anything about it prior

16         to seeing the Charlie Kirk interview with

17         Catherine and Gregg, which I did watch,

18         and -- but I watched later, much later.

19                           And I saw in it an apparent

20         piece of video that was labeled -- that had

21         the designation Georgia -- Right

22         Georgia something --

23                  Q•        Get Georgia Right?

24                  A.        Yeah, something like that.

25                  Q•       I'll show you what we marked


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1          previously as Exhibit 10.

2                   (Previously marked was Plaintiff's

3          Exhibit No. 10.)

4                    Q.      (By Ms. Haber Kuck)                   There

5          seems to be a text attached here, but there

6          seems to be a cover page with you emailing

7          this to yourself.

8                            Do you see that?

9                    A.      (Reviewing.)             Yes.

10                   Q.      And this is December 30, 2023.

11                           Do you know why you were

12         sending it to yourself or whether somebody

13         else was, or what               can you explain the

14         cover email, I guess is my question?

15                   A.      I don't really know.                  It

16         doesn't make any sense to me.                     However, I

17         mean, I can offer a reasonable theory of what

18         was going on.

19                   Q.      Okay.

20                   A.      And I think the reasonable

21         theory is that in the end of December of

22         2023, which is last December

23                   Q.       Uh-huh.

24                   A.      -- and this is after we were

25         notified about the lawsuit, I saw this


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1          exchange and I thought it may be prudent to

2          maybe print it out.

3                            I don't really know.                  I'm

4          thinking out loud.

5                             This would be a plausible

6          reason for why I would have sent it to myself

7          because finding my emails in the deluge is

8          not easy, so by sending it to myself, I have

9          it at the top, I can print it out.

10                            This         that's why I do bizarre

11         stuff like this from time to time.

12                  Q.       And what was it about this

13         exchange that was significant?

14                  A.       I don't know because I'm

15         actually reading it now.                 Let me see.

16         (Reviewing.)

17                           I think it is -- I think it is

18         significant because it has to do with the

19         release of the videos on Charlie Kirk's show.

20         That's what appears to be the case.

21                  Q.       And that's what Ms. Engelbrecht

22         seems to be talking about in the -- I

23         guess the last -- the second full text there.

24                           And she says (as read):

25         "Lastly, we did an interview with Charlie


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1          yesterday.        He had the same videos from the

2          ad in Georgia, the one we talked about, and

3          asked us to review them.                 He says Salem

4          knows, et cetera, but didn't want to not tell

5          you-all.      It's supposed to air tomorrow."

6                             Do you see that?

7                   A.        Yes.

8                   Q.        And is that -- what is she

9          referring to (as read):                "The ad in Georgia,

10         the ones we talked about"?

11                  A.        Yes, so I don't know what my

12         reaction was at the time, but I've reviewed

13         this subsequently and thought about this

14         particular statement.               And I think what she

15         means is          okay, let's go through it slowly.

16         (As read):        "We did an interview with Charlie

17         yesterday."

18                            So that dates the interview.

19                  Q         With -- and that's Charlie

20         Kirk?

21                  A.        That's Charlie Kirk.                 So we

22         know when that happened.

23                            And -- and now I'm looking the

24         date of the exchanges.               It's evidently right

25         around April 5th, as you can see from the


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1          date below.        It's given on the -- on the

2          script itself.

3                   Q.         Uh-huh.        Yep.

4                   A.         So this is obviously right

5          around then, maybe the 4th, maybe the 5th.

6                              And this is, like, a bit of a

7          red flag.         And she knows it because you can

8          see that she's cautiously wording this text

9          to kind of disclose something to us that she

10         knows will annoy us; namely, that:

11                            (As read):           "We are releasing

12         videos or Charlie Kirk is releasing videos,

13         surveillance videos it seems.                      They are not

14         from the film, but they are from the ad in

15         Georgia."

16                             Now, I don't think I knew what

17         the so-called ad in Georgia was.                        That was

18         complete, you know, mystery to me.                         But

19         apparently those videos, Charlie Kirk had

20         them.

21                             So, you know, remember, this

22         is       these are videos we were -- we were

23         hoping to release exclusively in the film,

24         which is still a month away.

25                            "...and asked us to review


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1          them."        I think she means on the show.

2                              Then I think to sort of soften

3          the blow (as read):              "He says Salem knows,"

4          is to me a way of saying, Don't be too upset

5          about it.         Salem Media is the one that is

6          funding this film.             They know about it

7          because Charlie Kirk is, after all, on the

8          Salem Network.          And so since they know about

9          it, you shouldn't be too freaked out about it

10         because Salem has seemingly given tacit

11         approval.

12                            So I think all of this is aimed

13         at telling us not to react, not to freak out.

14                            "...but didn't want to not tell

15         you-all" is a -- is a kind of after-the-fact

16         disclosure; by the way, I'm letting you know

17         that it's coming tomorrow, heads-up.

18                            So that's how I read this text

19         line by line.         And I infer from it that

20         Charlie Kirk got the videos, he seems to have

21         gotten them from the, quote, ad in Georgia,

22         whatever that is, and we had no prior

23         knowledge of any of this.

24                  Q•        And what did you understand her

25         to be referring to?              She says, "... the ones


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1          we talked about."

2                   A.       It seems that she's referring

3          to some conversation she had, but not with

4          me, about this ad in Georgia.                    She might have

5          said something either to Debbie or somebody

6          like, Oh, there's this ad in Georgia.                         It's

7          part of our -- I don't know anything about

8          it.

9                   Q.       Okay.       So you -- this seems to

10         be just -- okay.          So you don't recall any

11         discussion about this ad in Georgia?

12                  A.       Exactly.

13                  Q.       After this               after you got

14         this, and you said it was a bit of a red

15         flag, did you try and figure out what she was

16         talking about about the ad in Georgia?

17                  A.        No.    That wasn't the part that

18         worried me.       It was rather the fact that -

19         that True the Vote was -- well, it was -- it

20         was really the fact that these videos were

21         getting out a full 30 days before the film.

22                           And, you know, the way films

23         work is people make plans to go see a film

24         generally in the ten days leading up to the

25         film.     I don't even know anyone who plans 30


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1          days ahead, I'm going to go see a movie.

2                            So this is a serious kind of

3          problem for us when this kind of thing

4          happens.       We -- we had thought it might

5          happen.       We were worried it might happen.

6          And I think this was an indication that it

7          was happening.

8                            So I          that's really what

9          caught my attention.              It wasn't like I cared

10         about the, quote, ad in Georgia.                        I didn't

11         even know what that was.

12                           But what I did know was why on

13         earth would Salem allow Charlie Kirk to do

14         this?     Doesn't Salem realize that we're

15         trying to hold back on the film?                        Of course

16         they do.

17                           Is this even really true that

18         Salem does know?          And why are you telling us

19         this like as a fait accompli, as a done deal?

20                           And so all of this was, you

21         know, I would say deeply concerning is a good

22         way to put it.

23                  Q.       Well, did -- and did you have

24         any follow-up conversations with them about

25         it?


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1                   A.       We -- okay.            We are now in

2          April.        So we are right about the time that

3          the film, I think, is being edited and sort

4          of hammered down.           This is about a -- it

5          would be a normal schedule.

6                            I see we talk here about (as

7          read):     "Interesting they came with 7 percent

8          just as we did."

9                            So this is referring to the

10         content of a later cut of the film.                        So I

11         kind of know where we are in this stage of

12         the film here.

13                           I think by this stage we were

14         very concerned about things getting out and

15         we would have conveyed that to them, yes.

16                  Q.       Did you have any conversation

17         with them about -- well, strike that.

18                           Where did you think Mr. Kirk

19         got the film that he was showing on the show?

20                  A.       I don't -- got the film?                    You

21         mean got the video?

22                  Q.       Where -- where'd he get the

23         video?

24                  A.       Where he got the video?                   Well,

25         the text says he had the same videos from the


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1          ad in Georgia.         So we know what the videos

2          are.

3                            And we seem to know where they

4          came from; namely, the people who are making

5          the ad in Georgia, because they are the same

6          videos.

7                            And they are not our videos.

8          We -- and what I mean by that is they are not

9          videos from the film.               And it's quite easy to

10         tell that because you can tell the difference

11         between something that's in the film.                         It has

12         a certain type of cut, color, texture,

13         et cetera.        This is -- this is seemingly the

14         raw video.

15                           So I don't know for a fact -- I

16         think I was less concerned about kind of

17         where he got it and more concerned about why

18         is this getting out?

19                  Q.       Okay.       And you subsequently

20         learned that this video was being used in an

21         ad.

22                  A.        Yes.

23                  Q.       And did you ever hear that

24         Mr. Phillips provided the video for that

25         campaign ad?


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1                   A.       I never heard that from anyone

2          that I recall, that he definitively did that.

3          I don't know that.

4                   Q.       Do you remember seeing                      do

5          you remember seeing an interview that

6          Mr. Phillips and Ms. Engelbrecht did around

7          this time on "Gateway Pundit"?

8                   A.       I -- I don't remember seeing

9          that at the time, but I am aware of it now.

10                  Q.       Okay.       And are you aware that

11         in that program, Mr. Phillips talked about

12         providing video for that ad?

13                  A.       I'm not aware of that, but I

14         guess you're telling me that.

15                  Q.        No, I'm asking you about your

16         knowledge.

17                  A.        Yeah, I don't -- I don't -- I

18         don't -

19                  Q.       And you don't have knowledge of

20         that?

21                  A.       I don't as of -- I don't -

22         right, from my memory, I don't recall that

23         that was in the "Gateway Pundit" interview.

24         It very well might have been.

25                           I actually haven't reviewed the


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1          "Gateway Pundit" thing any time lately.                           I

2          just know about it.

3                   Q.         Okay.      And after the Charlie

4          Kirk interview, did you repost that interview

5          on your social media?

6                   A.         Not to my knowledge, but that's

7          a very difficult thing for me to kind of

8          guess at.         I don't believe I did.

9                   Q.         And do you recall any

10         conversations you had with -- well, strike

11         that.

12                             At some point you watched the

13         interview.        Right?

14                  A.         Yes.

15                  Q.         And did you see that in that

16         interview the footage that was shown did not

17         have the so-called mule blurred?

18                  A.        I did notice that.

19                  Q.         And did you have any

20         conversations with Ms. Engelbrecht or

21         Mr. Phillips about that?

22                  A.         Well, I didn't watch the

23         Charlie Kirk video at the very beginning.                             I

24         watched the video like a week ago, meaning

25         recently --


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1                   Q.        Okay.

2                   A.        -- I watched it.              So I'm very

3          familiar with the video now because I've seen

4          it recently.

5                   Q.        Okay.

6                   A.       But -- so we have to

7          distinguish between my knowledge now based on

8          that -

9                   Q.        Right.

10                  A.        -- and then earlier knowledge I

11         had.

12                  Q.        So was that the -- when you

13         watched it a few weeks ago, was that the

14         first time you had seen it?

15                  A.        Yeah, I think so.               It's the

16         first time I saw it, like, all the way

17         through.

18                  Q.        Okay.

19                  A.        And so that's really when I

20         noticed things about it that if -- if I had

21         even glanced at it before.

22                           I mean, it's an hour-long

23         video.        It's kind of not my custom to watch

24         hour-long videos like that unless I have a

25         pressing reason to do it.


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1                            So I'm quite sure I didn't see

2          the original video.             I was simply reacting to

3          the information in the text.

4                   Q.       Okay.       Around this time you

5          also provided some of the -- well, strike

6          that.

7                            Around this time you also

8          showed some of the mule footage at a private

9          event for Mr. Kirk.

10                           Do you recall that?

11                  A.        Yes, but I think -- I recall it

12         with some specificity.               And when you say

13         "mule footage," I believe we're talking about

14         two or three specific items, which we can go

15         into.     But I -- so I am aware of the event,

16         yes.

17                  Q.       And you provided -- this is

18         also around the same period of time, but you

19         provided footage to him in connection with

20         that event?

21                  A.       I provided clips from the

22         movie.

23                  Q.       Okay.       And which clips did you

24         provide?

25                  A.       Going based on memory, I


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1          provided a clip of the interview with the

2          mule in Arizona talking in a disguised voice

3          about her participation.

4                            We also provided a clip from

5          the movie of Catherine and Gregg discussing a

6          mule.

7                             Now, here, by memory, I cannot

8          tell you which discussion there is.                        There

9          are three or four candidates that are quite

10         obviously the ones we chose, and I could tell

11         you what those are, but I don't recall the

12         clip from memory now.

13                           I just remember                  I just know

14         what I asked for, I know what we got, and I

15         know what we -- you know, well -- I know the

16         designation of the videos that we sent.

17                  Q.       And was one of -- is it

18         possible that one of those clips was the clip

19         of Mr. Andrews?

20                  A.        No.

21                  Q.       Okay.       Did you have a concern

22         in providing those clips for this private

23         donor event that the -- that they could get

24         leaked out?

25                  A.        The -- I don't remember the


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1          date of the private donor event, but I was

2          not concerned about that because the -- we

3          keep a fairly tight control over our own

4          material, and not to mention the fact that if

5          those exact videos got leaked out, we would

6          know exactly who leaked it; namely, Charlie

7          Kirk and "Turning Point."

8                            And I'm sure we were quite

9          emphatic with them that that cannot and

10         should not happen.            And those were not, in

11         fact, the videos that appeared on "The

12         Charlie Kirk Show."

13                  Q•       And how are you -- how can you

14         be sure of that?

15                  A.       Because of the description of

16         them.     The description of the videos is

17         entirely different.             Clearly the videos we

18         sent are from our film.

19                           And Charlie Kirk never showed

20         the interview with the mule.                     He never showed

21         Catherine and Gregg discussing a mule.

22                           So we had sent very short and

23         particular clips that are described in the --

24         in the request and -- in what we sent, and,

25         quite obviously, they are not these videos.


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1          And now that I've seen these videos, I

2          actually know that these are different

3          videos.

4                   Q.       And also you can tell by the

5          quality of the video?

6                   A.       By the nature of the cut.

7          Somebody like Nathan would give you five

8          immediate, like, technical reasons, but they

9          looked different.

10                  Q.        Yeah.      Okay.

11                  A.       I also want to emphasize, you

12         know, that with regard to Charlie Kirk, not

13         only did we not send him those videos, we

14         couldn't have and we had no good reason to.

15                           We couldn't have because we

16         didn't even know the show was going to

17         happen.       So there's no way we could have sent

18         videos for a show that we had no idea was

19         occurring at all.

20                           I'm now talking about the

21         interview with Gregg and Catherine.

22                  Q.       Right.

23                  A.       And moreover, it would be very

24         destructive to our own interests to do that

25         when we're trying to hold the videos close to


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1          our chest and not release them prior to the

2          film.

3                            So for all of these reasons,

4          not only did we not send the videos, but we

5          couldn't have, and it runs completely against

6          our interest to do it.

7                   Q.       But he could have used the

8          videos that you sent him, but he just didn't.

9                   A.       He just -- he could have used

10         the videos that I sent him, which would have

11         been a breach of trust if he had done that.

12         I think he would probably have gotten a phone

13         call from me immediately had that happened.

14                           He -- Charlie Kirk is a very

15         smart guy and I'm sure he knew that.                        I also

16         think that he did not want to -- he knew that

17         he --

18                           He knows enough to know that

19         the film is quite a-ways away, and so it's

20         very important for him to play nonfilm videos

21         because that way he can say, Well, I got the

22         videos myself and so I'm not -- I'm not

23         trespassing on the film, Dinesh.

24                           So there's a -- I mean, I sort

25         of can see this -- how this happened from


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1          different angles.           Everybody is sort of

2          looking at it a slightly different way.

3                            And both with regard to people

4          like Charlie Kirk and later with Tucker

5          Carlson, there is a tremendous appetite in

6          media today to want to claim exclusivity.

7          I'm not showing you Dinesh's stuff.                        I'm

8          showing you my stuff.

9                            And so there is a desire

10         for -- on the part of media to try to, as far

11         as possible, claim, We found these.                        These

12         are our videos.

13                           And some of that appears to be

14         going on here.         At least that's my reading of

15         the -- of the event in context.

16                  Q.       And let's talk about Tucker

17         Carlson.

18                  A.       Okay.

19                  Q.       Originally there was a plan for

20         him to release the teaser trailer.                       Am I

21         correct?

22                  A.        Yes.     At least we thought so.

23                  Q.       And what happened there?

24                           He didn't release it.                  Right?

25         It was leaked in some other fashion?


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1                   A.       What happened there was that --

2          was that the Tucker Carlson people had asked

3          us to provide the teaser trailer.                       I believe

4          Debbie sent it to their producer, Alex.

5                            And we -- as far as we knew,

6          Tucker was going to go on with Catherine

7          Engelbrecht.        They were going to play the

8          teaser, announce the upcoming film, and then

9          Catherine and Tucker were going to have a

10         conversation.

11                            This was -- we were okay with

12         this because even though it's a-ways from the

13         film being released, we were releasing the

14         teaser.       So the teaser is fine to get out.

15                            The key to films is to have

16         generally a single product, whether the

17         teaser or the actual trailer, and that's what

18         sells the film.

19                           So we don't want to be

20         releasing other material from the film.                          If

21         you want to play the trailer, that's good.

22         The trailer is the appetizer that causes

23         people to want to watch the film.

24                           So we were very much on board

25         with Tucker showing the teaser.


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1                             However, Alex, the producer,

2          called me and said he had to talk to me.                           And

3          he said, We are not able to use the teaser

4          because it's 90 seconds long and we can only

5          use 42 seconds.

6                             And I go, Alex, you know what,

7          I go on Fox a lot.             I understand constraints

8          of media.         Which 42 seconds do you have in

9          mind?

10                            And he goes, Well, we want to

11         skate over the beginning of the teaser which

12         says, D'Souza Media presents and Salem Media.

13         We want to take all of that out.                         We then

14         want to go to the videos in -- that are in

15         the trailer.         And then at the end where it

16         says, "2,000 Mules" coming soon, website, we

17         want to cut all that out.

18                            I go, Alex, you're basically

19         stealing our teaser.               You want to use all the

20         video content in it and pretend like it's

21         yours when we've taken a lot of time and

22         trouble to put this together.                     It's our

23         artistic product with music under it, and so

24         I'm not going to let you do that.

25                            So if that's what you're going


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1          to do, don't use it.              If you're telling me

2          that you want to use 42 seconds and you want

3          us to make a shorter cut, we would be willing

4          to do that.       But you cannot appropriate our

5          teaser in the way that you've described.

6                            And then I got an extremely

7          brash and abusive text from the executive

8          vice president, a guy named Justin B. Wells,

9          where he says things like, Dinesh, that's it.

10         We were trying to do you a favor.                       You will

11         never appear on "Tucker" again, blah, blah,

12         blah.

13                           And -- but I didn't budge.                     And

14         they realized that they couldn't use the

15         trailer and so they pulled the show.

16                  Q.       And then -- but then sometime

17         later in May, Ms. Engelbrecht did go on

18         "Tucker Carlson" and there was some footage

19         shown.        Correct?

20                  A.       Later, right around the time

21         the movie came out, Catherine, yes, she did

22         go on "Tucker Carlson" and in an appearance

23         that we had sort of expected would be a

24         promotion of the movie, because the movie at

25         this point was either -- had been released or


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1          on the verge of being released, and so

2          publicity at this point would do us a lot of

3          good.

4                             And Tucker, of course, is the

5          No. 1 show on Fox.             So that was an added

6          reason to want this to -- to be helpful to

7          the movie.

8                             As a matter of fact, I would

9          say -- I would not say it was unhelpful to

10         the movie, but it was -- it was much below

11         our expectations because the movie was never

12         mentioned either by Tucker or by Catherine.

13                            And to be honest, that's really

14         what, at the time, caught my attention.                             It

15         wasn't the videos.             Quite honestly, I wasn't

16         paying attention to what videos were shown.

17                            The movie either being out or

18         being on the verge of being out -- this was

19         not the same as "The Charlie Kirk Show"

20         because at that point, the videos were one

21         month away from being released.                         But the

22         movie has evidently either been out                            is

23         already out.

24                            So my attention was, what's

25         going on here?          You have Tucker, who doesn't


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1          want to say a word about the movie.

2          Catherine is evidently on board with this.

3                             I sort of felt that it was bad

4          blood from Tucker, going back to my earlier

5          skirmish with his -- you know, his sidekick.

6                             But I was more bewildered by

7          Catherine because I thought it's Catherine's

8          job to help us promote this film.                        The film

9          is, like, red hot.             This is the time to be

10         doing that kind of promotion.                     You're clearly

11         okay with not doing it.

12                            I understand you like to be on

13         "Tucker."         I don't know if this is a

14         condition that Tucker and his people imposed

15         on you.        I have no idea.            But this is not

16         what we had hoped for.

17                   Q.        And did you know in advance she

18         was going to be on the show?

19                   A.       I think she told us that she

20         was going to be on the show, but I don't

21         remember if she told Debbie or if she told

22         me.      I think she said, I'm going on "Tucker."

23                   Q.        And where did the footage that

24         was shown on "The Tucker Carlson Show" come

25         from?


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1                    A.       It certainly didn't come from

2          us.      And it couldn't have come from us.

3          We -- our communications with Tucker were cut

4          off at that point.

5                             Obviously, the teaser trailer

6          was a completely different thing at that

7          point.         The teaser, in fact, had very little

8          video.         And all the video that we had was

9          extremely early.

10                             The        now that I know a little

11         bit more about what was on "Tucker" in terms

12         of the video, as I say, at the time I paid

13         very little attention to what -- you know,

14         are these blurred or unblurred?                      I don't even

15         think I could even tell looking at the video.

16                            But the truth of it is that

17         wasn't my focus.           My focus was somebody

18         was        primary concern and the main, like,

19         marketing guy for the movie, like this is a

20         foregone opportunity and it probably blows

21         our chance to have the movie talked about on

22         "Tucker" at all.

23                   Q.       And did you                you reposted

24         that interview, though.                 Right?

25                   A.        Yeah, one my social media guys


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1          did.

2                   Q.        And you didn't blur any of the

3          video when you reposted it.

4                   A.         Well, we didn't know what was

5          in the interview at that point.                      The -- my

6          schedule is such that when a movie comes out,

7          I'm doing back-to-back interviews, morning to

8          night.

9                             And so what -- the reason we

10         share content is it's content relevant to the

11         movie.        I think we expected that it would

12         promote the movie.

13                            Obviously, it's a big show,

14         "Tucker."         And we had been trying to also do

15         things with Hannity and on Laura's show as

16         well, Laura Ingraham.

17                            And so I think from the point

18         of view of my social media guys, they're

19         like, Catherine Engelbrecht is talking about

20         mules on "Tucker Carlson."                    You know, share.

21                            And so I'm sure I approved of

22         the decision, but it was not based upon me

23         reviewing videos that Tucker showed or

24         anything like that.              I had no idea what that

25         was.


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1                            As I say, what I -- when I

2          learned about was she -- and I think people

3          told me.       It's not that I even watched the

4          show          not a word about "2000 Mules."

5                            And I'm like, yeah, Tucker, I

6          had this bad blood.             But Catherine never said

7          a word about it?          No?       It's like the movie

8          doesn't exist.         That was like, This is

9          horrible.

10                  Q.       So at some point in time did

11         you come to understand that Ms. Engelbrecht

12         was instructed not to mention the movie by

13         name?

14                  A.        No, I was never -- I never got

15         the inside story of that.                  I'm merely

16         offering the two possibilities.

17                  Q.       And you don't recall Tweeting

18         about Fox instructing her not to mention the

19         film?

20                  A.       I don't remember that.                   I do

21         remember a little bit later doing some

22         postmortems on the film and Fox.                        I've

23         actually not been on Fox since "2000 Mules,"

24         and it has to do with their extreme

25         skittishness around this issue, even though


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1          we were doing something completely different

2          from any litigation that Fox was involved in.

3                            So this was -- so the issue of

4          Fox is a little separate from the issue of

5          Catherine and Gregg.              And -- and I think I've

6          done some commentaries about Tucker and about

7          Fox generally having to do with comments that

8          Tucker himself may have made or others have

9          made about Fox's various motivations, and

10         some of the inside workings at Fox.

11                  Q.       Let me just mark as Exhibit 102

12         a document bearing Control No. DDR-00000007.

13          (Marked was Plaintiff's Exhibit No. 102.)

14                  A.       (Reviewing.)

15                  Q.       (By Ms. Haber Kuck)                   Does this

16         refresh your recollection at all about being

17         aware that Mr. Carlson specifically

18         instructed her not to mention the film?

19                  A.        No.    This is not -- this is

20         what is called a Quote Tweet.

21                  Q.       Okay.

22                  A.       And a Quote Tweet is when I'm

23         commenting on another piece of content

24                  Q.       Okay.

25                  A.       -- that is attached to the


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1          quote.

2                             This is the Marisa Coppola A6

3          business, because when somebody else's name

4          like that appears, I am actually responding

5          to something someone else is saying and I'm

6          commenting on it.

7                            So it looks like -- I'm only

8          inferring because I can't see what she

9          says -- it looks like Marisa Coppola -- and I

10         don't know off the top of my head who she

11         is -- is putting out a piece of content

12         revealing something about Tucker.                       Maybe

13         Tucker did an interview.                 Maybe Fox made some

14         sort of a statement.

15                           And then -- and then I am

16         drawing the conclusion from that (as read):

17         "Hey, take a look.            I'm sorry to say, based

18         upon what you see below here, that this

19         appears to be the inference from what you

20         see."

21                           So, again, it's hard for me to

22         say.     But this is not -- I don't think,

23         looking at this and knowing something about

24         X, this is not me volunteering information

25         about Tucker Carlson because I didn't learn


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1          anything new.        I'm responding to something

2          that is in the feed.

3                   Q•       Did you ask Ms. Engelbrecht if

4          she had been instructed not to mention the

5          film?

6                   A.       I believe we did talk about the

7          Tucker interview.           I don't know if I put it

8          quite that way.         But she alluded to the fact

9          that there had been this earlier bad blood.

10                           We were all very familiar with

11         it, and so -- but I didn't get anything

12         specific out of it.

13                  Q.       Am I correct that "Newsmax"

14         also declined to promote the film?

15                  A.       I don't believe that is true.

16         I do know that there was a back-and-forth on

17         that.     And what I mean by that is that

18         "Newsmax" initially, for reasons similar to

19         Fox, was very scared of the film and I think

20         had made some statement to the effect that

21         they weren't going to promote it.                       They got a

22         big backlash against that.

23                           And Chris Ruddy, who is the

24         head of "Newsmax," contacted me and said that

25         it was simply not true that they had declined

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1          to promote the film, that they supported the

2          film, that they would have me on as a guest,

3          and he wanted to convey directly that -- that

4          the rumor that "Newsmax" was not supporting

5          the film or any statement to that effect was

6          not, in fact, true.

7                   Q•       And why were they skittish

8          about the film?

9                   A.       Because of election lawsuits

10         that were at that point already well

11         publicized.       And I think it was more

12         that -- it was more that -- I don't know this

13         for a fact, but I know that several media

14         entities on the conservative side were

15         involved in, if not a Dominion lawsuit, some

16         sort of similar litigation, or they feared

17         that they might be.

18                  Q.       And when you say Dominion

19         litigation, that's the litigation where

20         Dominion was -- brought a defamation claim

21         alleging that misrepresentations about their

22         involvement in the election had been made?

23                  A.       Something like that, yes.

24                  Q.       And Bill Barr also indicated

25         that he found the "2000 Mules" narrative


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1          unpersuasive.         Right?

2                             (Reporter clarification.)

3                   A.         He did, but his statement was,

4          on the face of it, ludicrous and -- and was

5          quite apparent from the statement that he

6          hadn't seen the film.

7                   Q.        (By Ms. Haber Kuck)                   And Ann

8          Coulter also criticized the underlying

9          research.         Right?

10                  A.         Ann Coulter is my former

11         girlfriend.         And we have an interesting

12         history, but suffice to say that we are

13         friends and sometimes we clash.                         And I did

14         think I saw something about that and I kind

15         of laughed it off.

16                  Q.         Well, she was criticizing you.

17         She criticized TTV?

18                  A.         I don't remember.

19                  Q.         Okay.      There were also other

20         right-wing commentators who rejected the

21         narrative.         Right?

22                             MS. HYLAND:           Objection.

23                  Ambiguous.

24                  Q.        (By Ms. Haber Kuck)                   Were there

25         other people        you would consider right-wing


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1          commentators who rejected the narrative?

2                   A.        There might be a few.                 I would

3          say that the overwhelming majority were not

4          only supportive, but enthusiastic.

5                             There were some, I consider

6          them, responsible critics of the film.                         I

7          tried to address their concerns specifically.

8                            In a few cases, such as the Ann

9          Coulter case, I saw her comments as more just

10         dismissive and not substantive, and not

11         warranting a response.

12                           So, yes, there were -- I think

13         opinions varied across the board, yeah.

14                  Q.       Did you            did you follow the

15         coverage of the film in the media?

16                  A.        Yes, to a degree, I did.

17         Mainly I was concerned -- at least in the

18         three or four months I was in a mad frenzy of

19         media either direct involvement or, in some

20         cases, responding.

21                           I had a long exchange with

22         Phillip Bump of "The Washington Post," for

23         example.      I had some exchanges with Tom

24         Dreisbach of "NPR."

25                           I was -- I was trying my best


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1          to follow what was going on with the film,

2          absolutely.       I would always try to do that

3          with any of my films.

4                   Q.       And did any of the coverage and

5          commentary concerning the film that you saw

6          give you any -- well, no, strike that.

7                            Did anything that you saw in

8          the media coverage give you any concern about

9          the validity of the underlying research in

10         the movie?

11                  A.        No.    I would say there were

12         some legitimate questions that were raised

13         about the film.          I thought that they were --

14         that some of the commentary was thoughtful.

15                           Some of the critiques of the

16         film were about side issues, but,

17         nevertheless, were worthy of not only debate,

18         but response, and I tried to do that.

19                           And then some of the commentary

20         and some of the sources, and even some of the

21         fact-checkers, quite obviously didn't know

22         what they were talking about.                     And it was

23         quite apparent in my conversation with them

24         that that was the case.

25                           MS. HABER KUCK:                Why don't we


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1                   take a break.

2                             THE VIDEOGRAPHER:               Going off

3                   the record.        The current time is 2:48.

4                            (Recess taken at 2:48 p.m. ,

5                   resuming at 3:07 p.m.)

6                             THE VIDEOGRAPHER:               We are going

7                   back on the record.               The current time

8                   is 3:07, and this is the start for

9                   Media 5.

10                  Q.       (By Ms. Haber Kuck)                   When we

11         were talking earlier, am I correct that you

12         testified that you didn't meet with Mr. Trump

13         until the prescreening for the film?

14                  A.       I didn't meet with Mr. Trump

15         about the film since the prescreening.                         I

16         mentioned to you before that I met him in

17         2019 --

18                  Q.        Yep.

19                  A.       -- in the Oval Office on a

20         different matter.

21                  Q.       Right.        Okay.

22                           Let me show          you what I've

23         marked as Plaintiff's Deposition Exhibit 103.

24            (Marked was Plaintiff's Exhibit No. 103.)

25                  Q.       (By Ms. Haber Kuck)                   This seems


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1          to be a chat involving Ms. Engelbrecht,

2          Mrs. D'Souza, Mr. Phillips and yourself.                            It

3          seems to be dated March 1 of 2022.

4                             Do you see that?

5                   A.        Yes.

6                   Q.        And Mrs. D'Souza says (as

7          read):        "We just finished meeting with

8          Trump."

9                             Do you see that?

10                  A.        Yes.

11                  Q.        And what is she referring to?

12                  A.        Let met get the context of

13         this.     (Reviewing.)

14                            Honestly, just reading this, I

15         have no idea.         I'm trying to..

16                            I don't recall this at all and,

17         to be honest, there is nothing in the

18         supporting discussion, which veers into a

19         different track, that --

20                  Q.        Okay.

21                  A.        -- really refreshes my memory

22         at all.        I mean, we're obviously in the

23         throes of making the film, but

24                  Q•        Right.

25                  A.        -- I'm not aware of any meeting


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1          with Trump.       At least I can't remember --

2          remember it at all.

3                    Q.      Okay.       Around             you have no

4          recollection of any meeting with him March

5          1 -- around March 1 of 2022?

6                    A.      Correct.

7                    Q.      Let's look at a document that

8          we previously marked yesterday as Exhibit 87.

9                   (Previously marked was Plaintiff's

10         Exhibit No. 87.)

11                   Q.      (By Ms. Haber Kuck)                   Oh,

12         actually, no, you should have one -- you need

13         to look at the one that has a sticker on it

14         that says 87.        Sorry.

15                           MR. EVANS:           87?

16                           MS. HABER KUCK:                87.

17                   A.      I have it.

18                   Q.      (By Ms. Haber Kuck)                   This

19         appears to be another one of these things

20         that you were emailing yourself in

21         December of 2023.

22                           Do you see that?

23                   A.      Yeah, I do.

24                   Q•      And this seems to refer to an

25         interview you did with Phillip Bump of "The


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1          Washington Post" who I think                     you mentioned

2          earlier.

3                   A.        Yeah, I don't know if this is

4          the interview per se or if this is me on my

5          podcast talking about that, but either way

6          I'm sending it to -- evidently to Catherine

7          and Gregg, basically reflecting my response,

8          I believe to Phillip Bump.

9                             Because the interview I did

10         with Phillip Bump was actually over the

11         phone.

12                  Q.        Okay.       And it was a Q&A?

13                  A.        It was a Q&A.

14                  Q.        And -- that Q&A was published.

15         Right?

16                  A.        Right.

17                  Q.        And I understand that you may

18         take issue with some of his commentary, but

19         do you have any dispute that the article

20         accurately reflects the conversation                         you had

21         with him?

22                  A.        My main objection at the time

23         to the article was not the accuracy of the

24         transcription, but rather that he took all

25         the good points that he made and he put them


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1          in highlights and then he acted like that's

2          all you needed to read.

3                            And so this was a very

4          misleading typographical strategy that I had

5          never seen employed prior.                   And so I was

6          like, This is a little bit below the belt, my

7          friend, but so be it.

8                   Q.       But you don't have any                      you

9          don't have any issue with him misquoting you

10         in that?

11                  A.        No.

12                  Q.       And then towards the middle of

13         this, Ms. Engelbrecht says (as read):                         "I

14         can't talk now but let's connect tomorrow

15         when you're free to talk through a few tiger

16         traps."

17                           Do you see that?

18                  A.        Yeah.

19                  Q.       And what do you -- what did you

20         understand her to mean by "tiger traps"?

21                  A.        This is a -- I understand it to

22         be sort of Catherine sort of esoterica; that

23         is -- that is supposed traps that evidently I

24         can't get out of, but she knows how to get

25         out of, tiger traps.


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1                             And I just took it as a --

2          that's my understanding of that phrase.

3                   Q.        And so did you understand it to

4          mean she was highlighting some issues that

5          perhaps she had concerns about?

6                   A.        Yeah.       Sometimes, you know, she

7          would send somewhat cryptic messages which

8          would allude to things without clarifying

9          what they are.          And this kind of falls into

10         that category.

11                            And so I looked it over, I

12         tried to make sense of it, and I made a

13         mental note that perhaps at some point she

14         would explain further.

15                  Q.        Did you understand what she

16         meant by that first issue, the murder cases?

17                  A.        Yes, I think she was referring

18         to       well, there were two murder cases, but

19         one was featured in the film, the Secoriea

20         Turner case.

21                  Q.        Uh-huh.

22                  A.        And so she seemed to have

23         something that she wanted to say about that

24         case.     Subsequently, I had a better idea of

25         what that was.


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1                            I know what ACLED.

2                   Q.       Well, before we go -- move on

3          from the

4                   A.       Okay.

5                   Q•       -- the murder case, what was

6          her issue with the murder case?

7                   A.       I think her issue with the

8          murder case was something -- something to the

9          effect that the movie said that she had --

10         that she and Gregg had solved the murder.

11                           In fact, the defendants in that

12         case had been arrested before.                     And she

13         wanted to clarify that instead of saying that

14         she had solved the murder -- they had solved

15         the murder, it would have been better to say

16         that they had provided helpful evidence,

17         geotracking evidence, that could have been

18         used to reach final adjudication in the case.

19                           And I went back and looked at

20         the -- looked at what the film actually said,

21         and the film didn't say that they solved the

22         murder.       It somewhat implied it, but it

23         implied it in a very colloquial way, not in a

24         legal way.

25                           In other words, the way it


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1          went, as I recall, was:                And so you provided

2          this information, didn't you, to the

3          authorities?

4                             Yes, we did.

5                            And now they have arrested two

6          suspects in the case, haven't they?

7                             Yes, they have.

8                            All right.           Let's move on.

9                            So, in other words, the                      this

10         would be a little bit of film shorthand that

11         is leapfrogging some details in the murder

12         case that, quite honestly, I didn't think

13         were -- the nuance of it could work in the

14         movie.

15                           Let's remember the movie is not

16         about Secoriea Turner.               The movie is actually

17         about geotracking.            And all we're trying to

18         establish is that the geotracking that they

19         did for the Secoriea Turner case is the same

20         type of geotracking that they did for the

21         mules, and that point was clearly

22         established.

23                           And so, yes, if I could make

24         the movie again, I would -- I would add a

25         line or make a slight nuance that would do


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1          that a little differently, but I didn't think

2          that it was fundamentally misleading.

3                            And that was my thoughts about

4          the murder cases.

5                   Q.       And did she raise that concern

6          at the time she viewed the movie before it

7          was released?

8                   A.        No.

9                   Q.       Do you recall that she was also

10         concerned about statements that you made on

11         your podcast and she felt that on the podcast

12         you had said that they solved the murder?

13                  A.        Yeah, I do remember something

14         to that effect.

15                  Q.       And did you say on the podcast

16         that they solved the murder?

17                  A.       I don't know if I did or I

18         didn't.       I hope I didn't put it quite that

19         way.

20                           And -- but, again, I don't know

21         if the podcast statement was prior to having

22         this discussion with Catherine about what

23         their concern really was.                  So I might not

24         have been alerted to what she was concerned

25         about.


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 1                            And maybe it came after the

 2          podcast.       I'm not sure.

 3                   Q.       And so you said, well, it

 4          wasn't -- it wasn't that significant because

 5          it was the same geotracking information.                          And

 6          that's what your point was?

 7                   A.        No.    The -- in a movie you have

 8          a central narrative or a central thrust of a

 9          movie.        And the thrust of this movie is, was

10          there an elaborate coordinated election fraud

11          operation going on in the swing states?

12                             That would be quite different,

13          for example, from me making a "Forensic

14          Files" episode on who killed Secoriea Turner.

15                             The purpose of referencing the

16          murder cases at all was merely to make a

17 1        point that I think is now well known, which

18          is that law enforcement habitually relies on

19          these kinds of techniques.

20                            I thought what was interesting

21          in those cases was that Gregg and Catherine

22          themselves got the idea of trying to

23          investigate two unsolved murders using

24          geotracking.

25                            I was like, Wow, that's really


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1          creative because what you're really doing is

2          you're showing me the kind of critical

3          intelligence that would say, Hey, if your

4          if your geotracking is good, it should be

5          helpful in being able to apply to situations

6          that you didn't originally conceive, but

7          where you can get helpful information.

8                            And so their doing this showed

9          me a creativity of mind.                 And I said, I

10         definitely want to include something about

11         this in the film.

12                           Initially, I had thought of

13         including both of the cases.                     I think we

14         ended up cutting one of the cases out and

15         doing a more abbreviated treatment of the

16         other because, as I say, this was ancillary

17         to the theme of the movie.

18                           It was more to make the simple

19         point that geotracking works over here and,

20         therefore, it makes sense that it would work

21         over there.

22                  Q.       And it was -- it was also to

23         lend credibility to their research.                        Right?

24         They used this geotracking to solve a murder.

25                  A.       That they used this geotracking


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1          I would -- the way I would put it now is, in

2          a way that was helpful to solving a murder.

3                            I mean, I think, upon

4          reflection, any intelligent person knows that

5          you cannot throw a guy in jail because

6          his -- you place him on a location based on

7          his cell phone.         So it is actually impossible

8          to, quote, solve a murder based upon

9          geotracking alone.            Right?

10                            They are not going to convict

11         Kohberger in Idaho because his phone shows

12         that he was patrolling the suspect's

13         residence.        You need a murder weapon, you

14         need a motive, you need lots of other things

15         in order to get to a conviction.                        So solving

16         a murder is a whole different thing.

17                           I think we meant it as

18         shorthand that this was a part of bringing

19         justice to this case.

20                  Q.       Okay.       And you said you -- you

21         started to say you also knew what she meant

22         ACLED.

23                  A.        Well, I mean, I knew what the

24         reference meant.          I don't know what she meant

25         by ACLED in the sense that she wanted to


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1          evidently talk to me about ACLED.                       I'm just

2          saying I know what ACLED was, and I had done

3          some research into what ACLED was.

4                   Q.       And what research did you do

5          into ACLED?

6                   A.       Well, I went on the ACLED

7          website.       I searched all the articles I could

8          find about ACLED.           I read them.

9                            I -- I merely wanted to get a

10         good grip about what it is ACLED was and what

11         it is that they did because when I first

12         heard the term, it was -- you know, it was

13         unfamiliar to me.

14                  Q.       In your -- in the course of

15         your research, did you learn that ACLED

16         actually doesn't trace cell phone IDs?

17                  A.       I read subsequently an article

18         quoting an ACLED representative that said

19         that          that -- if I'm trying to remember,

20         that might be Tom Dreisbach's article in

21         "NPR," although I'm not a hundred percent

22         sure of that.        But I know that he was looking

23         into the ACLED part of the -- of the -- the

24         ACLED reference in the movie.

25                            The ACLED reference to me, in


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1          the movie, was merely to say that there was

2          an organization, ACLED, that tracked violent

3          protests around the country and perhaps

4          around the world.

5                            I don't if Gregg said something

6          to the effect about them using phones or

7          geotracking.        I just don't remember from the

8          film, even though I've got a good memory of

9          what's in the film.

10                           It didn't seem clear to me that

11         you needed, quote, data from ACLED in order

12         to do what Gregg was doing.

13                            Gregg was basically trying to

14         find a -- create two Venn diagrams and find

15         an area of overlap between the mules on the

16         one side and violent left-wing activists on

17         the other.        All right.         That was really the

18         person of this part of the discussion in the

19         movie.

20                            Well, Gregg and Catherine had

21         bought data in the Atlanta                       greater Atlanta

22         area and they had bought data in a lot of the

23         other swing state jurisdictions.                        And part of

24         what Gregg was saying is that these happened

25         to be the exact locations for violent


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1          activist protests.

2                            If you have the data on -- if

3          ACLED merely supplies there was a violent

4          protest on, let's just say hypothetically

5          and I am making up these

6          dates         September 7th in Atlanta on

7          so-and-so street, you don't need ACLED's

8          data.     You merely need to go to your own data

9          for September 7, on that day, run a Venn

10         diagram between that and your suspected mule

11         list, and you will see whether there is an

12         overlap or not.

13                           So, in other words, I'm not -

14         I'm not trying to second-guess what exactly

15         Gregg did, but I'm simply trying to think

16         through.

17                           At the time Gregg said it, I

18         didn't bat an eyelid about it.                     It made sense

19         to me there is an organization that tracks

20         these protests.         At that point I was like, I

21         don't know what they do.

22                           Subsequently, I dig into it.

23         I --

24                  Q•       When did you dig into it?

25                  A.       Well, what I'm saying is after


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1          I heard Gregg reference it.

2                   Q.       Okay.

3                   A.        Gregg mentions ACLED in our

4          interview in the movie.

5                   Q.       And this is before the movie

6          came out, though?

7                   A.       Before the movie came out.

8                   Q.       Right.

9                   A.        Yeah.      I heard the name ACLED,

10         but I didn't -- it didn't mean anything

11                  Q.       Right.

12                  A.       -- to me at that point.                   It was

13         just a sound, a name.

14                           Later, and I don't remember

15         exactly when, but sometime in the preparation

16         of the movie and the book, I went on the

17         ACLED website.         I learned more about ACLED,

18         whatever I could.

19                           And I was like, Oh, yeah, well,

20         that's what -- ACLED tracks violent protests

21         around the world, exactly as Gregg said.

22         This is an organization that seems to collect

23         this kind of information.

24                           It was not immediately apparent

25         either in the website or the articles I read


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1           what data ACLED does and doesn't have.

2                             In other words, it wasn't until

3           I read after the movie, in Dreisbach's

4           article or other articles, simply a spokesman

5           for ACLED disavowing the connection that True

6           the Vote had made and saying, We don't do it

7           this way.

8                             But that was news to me when I

9           heard that in the article.                   In other words, I

10          was like, Oh, you don't do it that way?

11                            And then I was thinking

12          through, What could Gregg have meant then

13          when he said what he said about ACLED?

14                            And I'm just telling you

15          what -- what I think now.

16                   Q•       Did you ask him?

17                   A.       I think ACLED came up at one

18          point and Gregg was not very clear about what

19          it is that they did or didn't do.

2O                            Part of the -- part of the

21          problem here, I think, is that we were

22          getting information not firsthand, but

23          refracted through the lens of critical media.

24                            In other words, it's quite

25          clear that Tom Dreisbach had his agenda.                          He


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1          was trying to debunk the movie, using ACLED

2          for that purpose.

3                             And so we had to sort out what

4          is ACLED saying?          What is it that ACLED does?

5          Is ACLED trying to kind of cover its tracks

6          in some way?

7                             Are they being deliberately

8          ambiguous?        What is Dreisbach -- what words

9          is Dreisbach putting in their mouth?                        What

10         words are in quotes and what are not?

11                           I guess what I'm saying is I

12         think you         I think you know what I'm

13         getting at.       I'm saying we're getting

14         information at least one step removed.                         And

15         so we ourselves have to be a little

16         skeptical -- all of us I think are these

17         dates          of things you just read.

18                   Q.       Did you check up on it after

19         you read Mr. Dreisbach's article?

20                   A.      I spoke to Tom about it, about

21         this stuff.        So we discussed it, the two of

22         us.      I didn't contact ACLED directly, no.

23         But I got Tom's best understanding of what

24         was going on.

25                           And I assumed -- I mean, I


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1          believe he's, you know, enough of a reliable

2          reporter that I took his word for it.

3                   Q.         And this was -- his article is

4          after the movie comes out, but before you do

5          the book.         Is that fair?

6                   A.        I think so.            I think he was

7          writing about the movie and the

8                   Q.         Yeah.

9                   A.         -- book, of course -- well, no,

10         I'm sorry -- the -- well, all I mean is this.

11         The book was            when was the book completed?

12                             The book came after the movie,

13         of course, but it was pulled.

14                  Q.         Right.

15                  A.         So its actual date became much

16         later.

17                  Q.         Right.

18                  A.        It was due to be released much

19         closer to the movie itself.

20                            So it's a little difficult for

21         me to answer that question just because of

22         the back-and-forth on the book.

23                  Q.         And the statements about ACLED

24         was one of the reasons the book was pulled.

25         Am I right?


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1                   A.        Not to my knowledge.

2                   Q•       Are you aware that Salem

3          settled with ACLED because of statements you

4          made in the book?

5                   A.       Well, I'll tell you what I

6          know.     I saw a copy of the book that, to my

7          complete bewilderment, had a one-paragraph,

8          like, insert in it.             This was in an actual

9          book.     And it was something to do with Salem

10         Media, some sort of statement about ACLED.

11                           I never discussed this with

12         Salem.        They never brought it up with me.                     I,

13         frankly, thought this was some sort of a joke

14         when I saw it -- I mean, and it was some sort

15         of a mistake.        And I was like, What's going

16         on here?

17                           I never got any further than

18         that.     That's the sole -- that is my sole

19         knowledge of Salem and ACLED.

20                  Q.       Okay.       So you are not aware

21         that they --

22                  A.       But that is not the reason the

23         book -- as far as I know -- or at least as

24         far as anything -- anything told to me, this

25         has nothing to do with why the book was


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1          pulled.

2                   Q.       Okay.       And you're not aware of

3          a settlement that Salem reached with ACLED

4          relating to statements made in the book, part

5          of which included the little blurb you're

6          talking about?

7                   A.        Not until right now.

8                   Q.       So the third category in                       on

9          Ms. Engelbrecht's list is (as read):

10         "Nonmule video in the movie."

11                           What did you understand her to

12         be referring to there?

13                  A.       She appears to be referring to

14         some video in the movie that does not pertain

15         to a mule.

16                  Q.       Right.

17                  A.       And it's not clear whether it's

18         even her video or if she's objecting or has a

19         point to make about -- or has a tiger trap

20         about some nonmule video in the movie.

21                           I think in my mind at the time,

22         we have -- we have some video in the movie --

23         early in the movie, for example, we show a

24         video which came from Project Veritas.                         And

25         it's about a guy, a sort of a Somalian guy


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1          who appears to be, like, buying votes or

2          something like that.              And he's -- he appears

3          to either be paying someone for a vote

4                            Anyway, James O'Keefe had

5          released this video publicly.                    It's not --

6          it's not our video, but we did have it in the

7          movie.

8                            And so there were these sort of

9          rare, but, nevertheless, other videos in the

10         movie.        And I guess I thought -- you know, I

11         don't know, I want to hear what Catherine is

12         talking about, but it made -- I didn't know

13         at all --

14                  Q.       Okay.       So --

15                  A.       -- beyond what I just said.

16                  Q.       Did you ask her what she was

17         talking about?

18                  A.        This is -- let me -- let me

19         look at this.

20                  Q.       May 16.

21                  A.       May 16, yeah.

22                            This is in the                in the

23         absolute media frenzy of the movie.                        I don't

24         remember the, quote, connect tomorrow

25         conversation occurring at all.


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1                            I -- as you know, I responded

2          to her, Let's talk tomorrow.

3                            And then we go on to talk about

4          John Fund and other things.                      And I guess I

5          just kind of assumed that she would let me

6          know more either by text or by call.                        And I'm

7          not -- I'm not sure that this follow-up

8          occurred.

9                            As I mentioned, I did later

10         come to a better understanding about the

11         murder cases and their concern about it, but

12         I'm not even clear this was the following day

13         after this particular text.

14                           I think it's -- I think with

15         these sorts of things they -- it's important

16         to realize that, you know, they take on a

17         retroactive meaning that was not obvious at

18         the time so that you can look now and go, Oh,

19         wait a minute.         Clearly she was referring to

20         this.

21                           But at the time, I had no idea

22         what she was talking about.                      I had no idea

23         that we had any video in the movie that was,

24         quote, nonmule video.               I thought maybe it

25         refers to the O'Keefe video.


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1                            I didn't know.                 They were very

2          protective.       And anything that was not theirs

3          was basically rubbish.

4                            And so I had a feeling that she

5          had an objection to something else we did in

6          the movie, maybe even our mule recreation,

7          because obviously our mule recreation was a

8          nonmule that was playing a mule.

9                            And I would not have been in

10         the slightest surprised if she was like,

11         This -- you did a horrible job in depicting

12         this mule.        This is not what mules are.                    This

13         is not what they do.

14                           And I think I was preparing

15         myself for something like that.                      This was not

16         a red flag to me because I didn't even know

17         what it was.

18                  Q.       Okay.       And you don't remember

19         any follow-up discussion with her?

20                  A.       As far as I can remember, no.

21                  Q.       Do you recall that there was a

22         point in time when the Georgia State Election

23         Board considered a complaint about

24         Mr. Andrews?

25                  A.        Yes.


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1                   Q.       And that was in May of 2022.

2          Does that sound right?

3                   A.       It sounds right.

4                   Q.       Okay.       And you -- you became

5          aware of that complaint at some point in

6          time?

7                   A.       I became aware of it at some

8          point in time.         I don't know exactly when.

9          And I think I saw something about it posted

10         on the platform now X, but then Twitter.                          I

11         think I saw something about it.

12                  Q.       And what do you recall?                   Do you

13         recall that the SEB cleared Mr. Andrews?

14                  A.       I remember seeing a video in

15         which an investigator was talking.                       It was a

16         video, so I saw him.              It was evidently from

17         some sort of a proceeding.                   And he was saying

18         what he did.

19                           And he was saying that based

20         upon what he did, he had no reason to suspect

21         any wrongdoing, something to that effect.

22                           And then I think I might

23         have -- I don't know if I learned from that

24         video or from something else that

25         subsequently that case was dismissed.


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1                   Q.       And do you recall posting

2          around that time something to the effect

3          that, you know, the investigation was a joke

4          because all they did was talk to the mule?

5                   A.       I thought -- I remember when I

6          saw it, I thought, This is not what I would

7          call an investigation.

8                            Because you have to remember

9          the context of the movie.                  The movie is

10         describing a rather widespread phenomenon.

11         The expectation of the movie, which is

12         discussed in the movie, is to have sort of

13         systematic follow-up to the movie that goes,

14         again, beyond the water's edge, by which I

15         mean takes up questions the movie cannot go

16         further in.

17                           So we're showing patterns of

18         geotracking in five different states.                         We're

19         showing surveillance video that is -- that is

20         very striking on its face involving lots of

21         different people.

22                           And kind of my expectation was,

23         all right, what we need is some sort of

24         investigation where you go talk to all of

25         these people and ask them:


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1                              Well, what were you doing at

2          1:30 in the morning with a backpack full of

3          ballots?      Do you have some alternative

4          explanation for your behavior that would make

5          sense, other than you're somehow doing

6          something wrong?

7                             So that's the context.                   That,

8          in fact, in a systematic way never happens.

9                             So this was the -- in some ways

10         the closest that I saw to a -- to an

11         investigation.          And I think it struck me at

12         the time, given these expectations, as being

13         inadequate.

14                            If I said it was a joke, I was

15         probably reacting a little emotionally.                           But

16         on the other hand, "inadequate" is probably a

17         better term that I would use now.

18                  Q.         And the -- and you understood

19         at the time that the complaint was based on

20         surveillance footage that you also used in

21         the film.         Right?

22                  A.        I'm not sure if I understood

23         that at the time.            I think I gleaned from the

24         context that there had been some sort of

25         complaint.


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1                            I honestly don't remember,

2          because I haven't seen that video since,

3          whether the investigator referenced the movie

4          or referenced -- but I was obviously familiar

5          with the fact that they were talking about

6          trafficking and they were talking about, you

7          know, Mules.        So in that sense, it clearly

8          pertained to the movie.

9                            And obviously we had nothing to

10         do with the circumstances of that complaint.

11         We didn't make the complaint.                    So -- and I

12         had no knowledge of any of that.

13                           But I was like, whoa, this is

14         something -- he's talking about something

15         that is relevant to our movie.                     I saw it that

16         way.

17                           And then I was like -- and I

18         remember my reaction was that if this is what

19         you call an investigation, this is not really

20         an investigation of a phenomenon that is very

21         seriously presented in this movie.

22                           And what you seem to have been

23         done to clear this guy is what I would call

24         sort of the irresponsible bare minimum.

25                  Q.       But you were on notice the


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1          mule, or the person that they were discussing

2          in this complaint was one of the mules you

3          were portraying in the movie.                    You knew that

4          at the time.

5                   A.       I'm not sure if I did.                   I might

6          have honestly because I -- because I think it

7          would have piqued my interest.                     Obviously, if

8          they said, This was the guy portrayed in

9          "2000 Mules," I, of course, knew that we had

10         blurred the faces of the mules.

11                           And so -- and so maybe I was

12         aware that there was some connection to the

13         movie, but I also knew for a fact that this

14         was not a case that was in any way brought by

15         US.


16                           Let's remember the movie is a

17         few days old.

18                  Q.       Right.

19                  A.       So the idea that there is a

20         movie that just came out, like, last Tuesday

21         and somehow there is some sort of case before

22         the election commission, quote, coming out of

23         the movie based upon images that are

24         unrecognizable and completely blurred struck

25         me as sort of preposterous.


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1                            I did not think that the --

2          this case, quote, came out of the movie.                          It

3          might have been linked with the movie, which

4          would not have been surprising because the

5          movie was out there, everyone's talking about

6          it.

7                            I saw the connection that way

8          rather than the movie being, quote, in any

9          way the source of this.

10                  Q.       But regardless of whether the

11         movie was the source, the person in question

12         in this investigation was one of the people

13         who was shown in the movie and described as a

14         mule.     Correct?

15                  A.       I'm saying I recognize that in

16         retrospect now.         I mean, I know that that was

17         the Andrews case.           I now know -- I had never

18         heard of Mr. Andrews, obviously, and I did

19         not know at any time in the movie the names

20         of any mules.

21                  Q.       Right.

22                  A.       Right?

23                           So this is not a case where if

24         you told me a name, I'm like, Oh, that's the

25         guy in the movie.


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1                             No, I had no knowledge of that

2          at all.

3                            If the investigator said

4          something like, you know, This is the man who

5          was also portrayed in "2000 Mules," I would

6          have obviously recognized that's what he's

7          saying.       But I would also say to myself,

8          Well, that's clearly not where this came from

9          because you can't see that guy in the movie.

10                           So I was commenting on the case

11         really as an outside observer of a -- the

12         closest thing I had seen to any kind of

13         investigation.         And I was like, whoa, what

14         kind of investigation is this?

15                            That's really all it was.

16                           And I was reacting also.                    As

17         often happens on social media, I was

18         responding to what I saw.

19                  Q.       And you don't -- do you recall

20         any discussion with Ms. Engelbrecht or

21         Mr. Phillips that this person was one of the

22         nonmules in the movie?

23                  A.       I don't remember having a

24         discussion with them at that time about it.

25         It might have -- obviously it came up


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1          subsequently with regard to the case.                         But I

2          don't remember any specific discussion of

3          what had happened.

4                            I think it's just because by

5          that time, our -- I won't say that we had

6          parted ways, but we had de facto parted ways

7          And by that I mean I was now on a -- I was

8          now on a multi-, probably month-long

9          promotional track for the movie.

10                            True the Vote was doing other

11         things.     They had actually made it quite

12         clear that they were done with this.

13                            They, in fact, had made a

14         statement -- Gregg Phillips did -- right

15         around this time or shortly before, Guys, we

16         are working on something ten times bigger

17         than "2000 Mules," which was to me an

18         appalling statement to make because I

19         translated it as, You don't need to see this

20         movie.     We've got something a lot bigger in

21         our back pocket.

22                           And I was extremely annoyed at

23         that statement, but as often is my case, I

24         tried to rationalize -- or I tried to -- I

25         tried to give Gregg a good reason for why he


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1          had said that.         I thought, Maybe this guy is

2          just so excited about his next project, he's

3          not even thinking about "2000 Mules."

4                            But that was the key point.                     He

5          wasn't thinking about "2000 Mules."                        They

6          were working on another project that could be

7          labeled Konnech.

8                            And -- anyway, they were on to

9          other things and our conversations with them

10         became quite truncated.

11                   Q.      And so you can't recall at this

12         point in time whether you had a conversation

13         with either of them about Mr. Andrews' video

14         being the nonmule video in the movie that she

15         was referring to?

16                   A.      Well, first, I made absolutely

17         no connection to the prior reference that

18         you --

19                   Q.       Yeah.

20                   A.      -- you know, that you showed

21         me.      I wasn't even thinking in that way at

22         all.

23                           If I had talked to them, I

24         probably would -- I probably would have said,

25         Did you see that investigation in Georgia?


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1          And did you see the way they carried that

2          out?

3                             That was what I got out of that

4          video.        Because the mules were blurred in the

5          movie, it didn't even cross my mind that we

6          had some problem with mules in the movie

7          because we hadn't shown any Mules in the

8          movie.        That was my point.             We hadn't shown a

9          single mule in the movie.

10                  Q.        Well, you showed mules in

11         the -- you showed people that you

12         characterized as mules in the movie.                        You

13         just blurred their faces.                  Is that fair?

14                  A.        Right.       But -- but what I'm

15         saying is if somebody says, you know, that I

16         saw Dinesh on Park Avenue and 35th and, in

17         fact, I was wearing a Halloween mask, there

18         is simply no way you could have said, I saw

19         Dinesh.

20                           It makes no sense, because

21         Dinesh was wearing -- was not -- Dinesh was

22         wearing a Halloween mask.                  There was no way

23         to identify Dinesh.

24                            So my point being that -- was

25         simply this:        Yes, we did show mules in the


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1          movie, people that -- that we believed were

2          100 percent mules.            We blurred their faces so

3          that they were unrecognizable.

4                            And so the fact that there was

5          a case of an alleged mule supposedly in the

6          movie was something that was obviously

7          interesting, but I was like, this didn't come

8          from the movie.

9                            In the movie you see bodies

10         moving, but you cannot tell who they are.

11         And -- and also, as I said, when I looked at

12         the case, I'm like, This investigation

13         actually tells me very little about the

14         circumstances involving this person because

15         it omits some obvious things that one would

16         normally do.        And then it's like, you know,

17         clap your hands because the thing is closed.

18                           I was like, okay, I understand.

19         Okay, I'm -- you know, this is not my

20         hearing, obviously; but to me it's a little

21         bit -- it's a little bit shoddy.

22                  Q.       All right.           Let's look at a

23         document that I'm marking as Exhibit 104.                           It

24         bears Control Nos. DDR-00049510 through

25         DDR-00049511.


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1             (Marked was Plaintiff's Exhibit No. 104.)

2                   Q.        (By Ms. Haber Kuck)                  So this

3          seems to be another text chain that you

4          emailed to yourself.

5                             Do you see that?

6                   A.        Yeah.

7                   Q.        If you look at the second text

8          down, which is a text from Gregg Phillips.

9                   A.        What is the date of this?

10                  Q.        I believe it's the 17th, but I

11         would have to -- we could -- we could go to

12         another document.

13                  A.        You're saying the 17th of May?

14                  Q.        May.

15                  A.        Okay.

16                  Q.        I will find the other document

17         next time we take a break.

18                            And so Mr. Phillips says (as

19         read):        "Is this what they call a refutation?

20         This article borders on the comical.                        It

21         features a single case in which the only

22         evidence the mule was merely dropping off the

23         votes of his family members is that he said

24         so.      True the Vote found nearly 250 mules in

25         Atlanta going to ten or more drop boxes."


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1                             And then there is a link, it

2          seems to be, to the "Atlanta-Journal

3          Constitution" website.               And according to the

4          link, it says (as read):                 "Georgia

5          investigation dispels allegations highlighted

6          in '2000 Mules'"?

7                             Do you see that?

8                   A.        Yes, I do now.                Yes.

9                   4•        And then Mr. Phillips says (as

10         read):        "These aren't our                  weren't our

11         complaints.        These were dismissed.                 Ours

12         moved on to the Attorney General.                       In

13         addition, this isn't a mule, didn't reach the

14         threshold."

15                            Do you see that?

16                  A.        Yeah.

17                  Q.        And you say, "All good points.

18         I will take them up on the podcast."

19                  A.        Yes.

20                  Q•        So do you understand that --

21         this to be a discussion of the issue we were

22         just talking about, the SEB investigation?

23                  A.        Yes.

24                  Q.        And so Mr. Phillips is saying

25         (as read):        "These weren't our complaints.


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1          These were dismissed.               Ours were moved to the

2          Attorney General."

3                             Do you see that?              Under the

4          link.

5                   A.        Yes, I do see that.

6                   Q•        So he's saying those weren't

7          the complaints of TTV?

8                   A.        I think that's how I understood

9          it.

10                  Q         Okay.      And then he says (as

11         read):        "In addition, this isn't a mule,

12         didn't meet the threshold."

13                            Do you see that?

14                  A.        Yes.

15                  Q.        So he's telling you the person

16         in the investigation wasn't a mule and didn't

17         meet their criteria for mule.

18                            Do you see that?

19                  A.        Yes.

20                  Q.        And you say (as read):                  "All

21         good points.        I will take them on the

22         podcast."

23                  A.        Yeah, this is -- this is my

24         rhetorically polite way of acknowledging what

25         he's saying, but not -- not going into the


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1          meat of it, if you know what I mean.

2                            In other words, we're on a

3          thread, as you can see, back and forth.                          I'm

4          shooting him articles.               He's sending me

5          stuff.     We're obviously corresponding about

6          stuff that's going on out there.

7                            So he sends me his take on all

8          of this.      I take a look at it.                 I grasp some

9          aspects of it that are obviously quite

10         familiar to me.         I had actually watched the

11         video where the investigator was talking.

12                           So I recognize what he means

13         when he says the mule -- the only evidence

14         the mule is dropping off was that he -- that

15         he said that he was.

16                           I don't entirely agree with

17         that statement because I think that I

18         remember the investigator saying that he also

19         looked at the E-Verify and he confirmed that

20         those family members had, in fact, voted.

21                           So I think that is -- I think

22         that this is an incomplete description of

23         what actually happened with the investigator.

24                            Then he goes on to say,

25         correctly (as read):             "True the Vote found


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1          250 mules."

2                             That's basically a recitation

3          of what happened in the movie.

4                            So I don't think I -- I don't

5          think I digested this at any level of depth.

6          I simply took it as Gregg going, this is --

7          seeming to agree at the surface with me about

8          this investigation.

9                            He then sort of distances

10         himself from it by -- the way I read it, as

11         saying, you know, we didn't get sort of

12         dumped here because this wasn't our

13         complaint.

14                           And I'm like, uh-huh, uh-huh, I

15         will discuss this on the podcast, which is

16         another way of saying I will take a look at

17         it.      I'll consider it.

18                   Q.      But he's also telling you

19         that that person isn't a mule.

20                   A.       Yes, he is.           And -- and I don't

21         think I took any significance out of that

22         because I don't think I got any further

23         clarification of what Gregg meant by that.

24                   Q.       You didn't understand what he

25         meant by (as read):             "This isn't a mule,


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1          didn't reach the threshold"?

2                   A.       Right.        In other words, I don't

3          think I understood anything beyond what he

4          actually says.         (As read):           "This isn't a

5          mule, didn't reach the threshold."

6                            And which seems to say

7          something like, we                maybe what he meant by

8          this is, Oh, well, we geotracked this guy to

9          eight drop boxes and not ten.

10                            That could be, I think, the

11         most plausible way to read this.                        And -- but

12         I don't think I even read it that way.                         I'm

13         like -- I think I read it and I was probably

14         scratching my head about it.

15                           And then I sort of defer it, go

16         on to other things.             And then I don't think I

17         ever came back to it.

18                  Q.        You didn't read this to

19         understand that the person you showed in the

20         movie and called a mule was not, in fact, a

21         mule?    It was a nonmule in your movie?                       You

22         didn't understand that?

23                  A.       I didn't -- yeah, I didn't

24         understand that -- I did not understand that

25         this -- that this person who was featured
     l_
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1          blurred in the movie was somehow not a mule

2          in the way that the movie described the word

3          "mule."

4                             I do recognize the plain

5          meaning of the words didn't reach the

6          threshold and I think it                     I probably

7          thought, What is he saying here about the

8          threshold?        Because we established a clear

9          threshold in the movie.

10                            There is a qualification that

11         is worth noting and that is that at one point

12         the movie did lower the threshold from ten

13         drop boxes to five.             This was for the

14         mathematical purpose of recalculating the

15         volume of fraud.

16                            So I recognize that this idea

17         of a threshold can be moved.                     In other words,

18         you -- it's fairly arbitrary to establish a

19         ten-drop box stop.            You could do it for eight

20         drop boxes.        True the Vote could have done it

21         from the beginning with eight drop boxes

22         rather than ten.

23                            So I think I thought to myself,

24         I don't really know what Gregg is getting at

25         here.    Is he basically saying that they


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1          reached the five drop box threshold but not

2          the ten?      I don't think I really knew.

3                            And I think part of what

4          happens sometimes in these kinds of exchanges

5          is -- you know, in a complex thread with a

6          number of features and certain parts of the

7          threads simply don't get picked up.

8                   Q.       And so you didn't have a

9          concern -- you have -- around this time

10         Ms. Engelbrecht is also saying one of her

11         tiger traps is that there are nonmules in the

12         movie.

13                           And then Mr. Phillips here is

14         saying that the person is not a mule, didn't

15         reach the threshold.

16                            You didn't have any concern

17         that perhaps not everyone shown in your movie

18         met the criteria for a mule as you described

19         them?

20                  A.       I think it is utterly unnatural

21         to take two separate texts in entirely

22         different threads given at entirely different

23         times and assume that one could make an

24         automatic connection between the two.

25                           Had the other text been in


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1          front of me and had I put the two together

2          and had I -- I might have been like, Hey,

3          wait a minute.

4                            But when I got the first one,

5          it made no sense to me.                I did not take it as

6          referring to Mr. Andrews or anybody else.                           It

7          was simply an obscure reference to, quote,

8          nonmule video.

9                            We have a lot of nonmule video

10         in the movie.        I don't know what she is

11         referring to.        I did not give it a second

12         thought.

13                           It was not sitting in the back

14         of my mind so I was able to make a logical

15         connection to this.

16                           I think all of that just

17         assumes a kind of -- a kind of unnatural way

18         of proceeding in the way we do social media

19         communications that is just not plausible.

20                           I was also quite confident that

21         we had protected the identity of the mule, so

22         I didn't think this was really a concern that

23         we had because I didn't think we had anything

24         to do with outing a mule.

25                  Q.       But did you have a concern that


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1          you actually had surveillance footage in your

2          film that had not been linked to the

3          geospatial research such that it was showing

4          someone they showed was a mule?

5                   A.        I had no such concerns.                     I

6          quite reasonably assumed that what we

7          are -- I quite reasonably assumed that the

8          way that the surveillance video was found in

9          the first place is because of geotracking.

10                            I made this point before.

11         Well, I will just highlight it here.

12                            How can you find surveillance

13         video if you don't geotrack?                      The only way,

14         presumably, would be to scroll all the video

15                            And I -- it struck me that that

16         would be an impossible, at the very least,

17         absurdly cumbersome way to do it.                        And

18         Catherine had specifically said that's not

19         how they do it.

20                             They do the geotracking.                       The

21         geotracking points to a cell phone ID at a

22         location.         Then they look at the video.

23                            So at no point did it cross my

24         mind that somehow we have video that is

25         somehow divorced from the -- from the cell


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1          phone geotracking.            We certainly had no

2          indication of this at all.

3                   Q•       Did you at some point have an

4          indication of that?

5                   A.       Well, after this -- much later

6          and after this case, I have heard, although I

7          can't say that I know for a fact, that there

8          is some question about whether all the video

9          was geotracked.

10                           I'm not kind of at the bottom

11         of that so I don't know for a fact, but I've

12         heard that.

13                  Q.       And your testimony is that you

14         had no idea about that until this litigation.

15                  A.        Yes.

16                           MS. HABER KUCK:                Okay.     We need

17                  to take a break for a moment for the

18                  videographer.

19                            THE VIDEOGRAPHER:               Going off

20                  the record.        The current time is 3:56.

21                           (Recess taken at 3:56 p.m.,

22                  resuming at 4:08 p.m.)

23                            THE VIDEOGRAPHER:               We are going

24                  back on the record.               The current time

25                  is 4:08.      This is the start for Media


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1                    6.

2                             MS. HYLAND:            And just very

3                    quickly, before          you jump in, I wanted

4                    to note that this entire transcript,

5                    along with the one we did yesterday

6                    for Debbie D'Souza, should be marked

7                   "Confidential."

8                             MS. HABER KUCK:               Okay.

9                             MS. HYLAND:            Thanks.

10                   Q.       (By Ms. Haber Kuck)                  Let me

11         show     you a document we marked at a prior

12         deposition as Exhibit 72.

13                  (Previously marked was Plaintiff's

14         Exhibit No. 72.)

15                   A.       (Reviewing.)

16                   Q.       (By Ms. Haber Kuck)                  Have you

17         ever seen this document before?

18                   A.       No.

19                   Q.       Do you know who Christopher

20         Henderson is?

21                   A.       Yes.

22                   Q.       Who is he?

23                   A.       He is a lawyer for Salem Media.

24                   Q.       And this seems to be from

25         Ms. Engelbrecht.           Correct?


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1                   A.        Right.

2                   Q.        And then it's copied to

3          Cherie Phillips and Gregg Phillips.

4                             Who is Cherie Phillips?

5                   A.        I don't know who that is.

6                   Q.        Okay.       Have you had a chance to

7          read through it?

8                   A.        I've skimmed it, yes.

9                   Q.        So on the third paragraph on

10         the cover email -- or, I'm sorry, in the

11         first email, it says (as read):                         "It is

12         important to note that Mark Andrews, unnamed

13         and unrecognizable, was shown as one of the

14         many Georgians who loaded multiple ballots

15         without properly signing as an assister in

16         the section of the movie that discussed drop

17         box abuse in one isolated drop box in

18         Gwinnett County, Georgia.                   We did not track

19         Mr. Andrews going to more than ten drop

20         boxes.        He is not among the 240 individual

21         devices identified that did go to ten plus

22         ballot drop boxes in Metro Georgia."

23                            Do you see that?

24                  A.        Yes.

25                  Q.        Were    you aware of that


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1          information -- well, when did you first

2          become aware of what she's saying there, of

3          that information?

4                   A.       Well, as I --

5                            MS. HYLAND:            Objection, assumes

6                   facts not in evidence.

7                   Q.       (By Ms. Haber Kuck)                   Go ahead.

8                   A.       As I mentioned earlier, I had

9          heard something to this effect, but I had not

10         seen something as clear as this coming right

11         from Catherine; and, of course, I hadn't seen

12         this exchange before.

13                  Q.       Did -- in the movie do you know

14         what she's talking about, there was a section

15         of the movie about assisters?

16                  A.        There is no section of the

17         movie about assisters, and I don't believe

18         that term is used in the movie at all nor am

19         I aware of that term until maybe a few days

20         ago.     I've never heard that term before.

21                           And there is a section of the

22         movie, to be sure, where we are discussing

23         the drop box in Gwinnett County where

24         evidently a couple of hundred people, roughly

25         250, seemingly deposited 1900 or so votes.


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1                            I remember clearly that

2          discussion in the film, yes.

3                            So I remember that discussion

4          in the film.        I don't remember anything about

5          assisters.

6                   Q.       Okay.       And were you

7          aware         well, strike that.

8                            Did you become aware at any

9          point in time that none of the footage from

10         Gwinnett County had been geotracked -- had

11         been compared with the geotracking analysis?

12                  A.        No.

13                  Q.        You never became aware of that?

14                  A.       I never became aware of that.

15                  Q.       And so do you agree with her

16         characterization that it was -- that in that

17         portion of the movie, those videos were of

18         people -- well, strike that.

19                           Do you agree with the first

20         sentence there that it was in a section of

21         the movie about people who voted without

22         signing assister ballots?

23                  A.       I don't really know.                  I know

24         the movie pretty well.               But as I recall, in

25         the section of the film
                                                                                      I
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1          discussing the -- let's just call it the

2          anomalous drop box --

3                   Q         The Gwinnett anomaly?

4                   A.        The Gwinnett anomaly.                 Perfect.

5                            In the Gwinnett anomaly we show

6          some video about a couple of election workers

7          emptying the box and a sort of large volume

8          of ballots being then deposited into a

9          collection bin.

10                            That's the only video that I

11         recall that is adjoined to the immediate

12         discussion of that topic.                  So I don't really

13         recognize anything beyond that because, quite

14         honestly, even until recently I didn't even

15         know which video is the Mark Andrews video,

16         you know, blurred.

17                           So I would have to actually go

18         back, watch the movie, to see exactly when

19         he's shown in the movie.                 So I can't comment

20         on that.

21                  Q.       But when you                   when you made

22         the movie and you included the various drop

23         box surveillance videos, were you intending

24         that some of them were mules and some of them

25         were being used for other -- to illustrate


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1          other purposes?

2                   A.       Absolutely not.                The point of

3          the movie was to show mules and really -- I

4          don't know, maybe nothing but mules is an

5          overstatement because there are other people

6          in the movie, but it was to show mules.

7                            And we didn't make distinctions

8          between types of mules.                We were showing

9          mules.        And when we requested mule videos, we

10         requested videos of mules, not videos of

11         anything else.

12                           And obviously it is of

13         considerable importance to know what videos

14         you're getting and in what context you're

15         using them.

16                           So I thought it was very valid

17         and important to discuss the anomalous

18         Gwinnett County drop box.                  I thought that

19         that was a legitimate part of the movie.

20                           In no way did I think I was

21         showing any mule videos that were not of

22         mules who had been both geotracked as well as

23         found on surveillance video.

24                  Q•       And, again, when you were using

25         the term "mules," it wasn't only that they


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1          had been geotracked, but it was that they had

2          been geotracked going to ten boxes from a

3          stash house?

4                   A.        That was the clearly

5          established criteria at the beginning of the

6          movie.        I mentioned that that criteria was

7          slightly relaxed for a specific purpose at

8          one point in the movie, and the threshold

9          dropped to five drop boxes.

10                           But that was only a way of

11         saying that if we lower the threshold,

12         this is -- it was an if/then.                    If we lower

13         the threshold, we are going to get a

14         different result and we want you to know what

15         that is.

16                           So we did do that.                But apart

17         from that caveat, we consistently stayed with

18         the ten drop box criterion.

19                  Q.       Do you recall any                     well,

20         strike that.

21                            You were aware in Georgia that

22         it was legal for family members to deposit

23         ballots.        Right?

24                  A.        Yes.

25                  Q.        And do you remember any


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1          discussions at all with Ms. Engelbrecht about

2          how somebody had to sign something about

3          being an assister?

4                   A.       I don't remember any such

5          conversation, and I don't believe I had such

6          a conversation with her myself.

7                   Q.       After the lawsuit was filed,

8          did you have any discussions with

9          Ms. Engelbrecht and Mr. Phillips about the

10         allegations in the complaint?

11                  A.       I remember us having an initial

12         conversation when we had first gotten these

13         complaints, just kind of:                  Did you get it?

14         Did I get it?

15                           And I don't remember if we got

16         into any detail about the complaint.                        I'm not

17         sure if we had even reviewed it.                        I don't

18         think we either -- I mean, I know we didn't

19         at that point have counsel.

20                           So any discussion that we had

21         would have been very preliminary.                        I don't

22         remember anything beyond that.

23                  Q.       Do you remember any discussion

24         at any point in time with Ms. Engelbrecht

25         about Mr. Andrews not meeting the


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1          qualifications to be a mule?

2                   A.       At that time?

3                   Q.       Anytime.

4                   A.        No, the only time I've heard

5          about         about this has been in the very

6          recent past         In other words, quite literally

7          in the last few days.

8                   Q.       And, again, that's not

9          conversations, though, with Ms. Engelbrecht?

10                  A.        No.

11                  Q.       All right.           Let's mark as

12         Exhibit 105 a multiple-page document bearing

13         Control Nos. DDR-00049492 through 49493.

14          (Marked was Plaintiff's Exhibit No. 105.)

15                  A.       (Reviewing.)

16                  Q.       (By Ms. Haber Kuck)                   This

17         appears to be another set of texts that you

18         emailed to yourself in December of 2023.

19                           Do you see that?

20                  A.        Yeah, I do.

21                  Q.       And you seem to be having a

22         colloquy back and forth between -- with

23         Ms. Engelbrecht and Mr. Phillips about, once

24         again, Phillip Bump.

25                           Do you see that?


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1                    A.        Yeah.      Uh-huh.

2                    Q.        And you say (as read):                  "Two

3           quick questions for a story I'm

4           writing" -- you say (as read):                     "Just got

5           this from Phillip Bump."

6                              And then Mr. Bump has two

7           questions.        Right?

8                    A.        Yes.

9                    Q.       In the -- in Ms. Engelbrecht's

10          response she says (as read):                     "On #2, I

11          believe we sent you the legal brief that the

12          RNC/NRSC blocked that had the top ten Mules

13          pattern-of-life mapped."

14                             Do you see that?

15                             That's the first sentence

16                   A.        Yes.

17                   Q.        -- of her second paragraph.

18                   A.        Yes.

19                   Q.        Do you know which -- what legal

2O          brief she's referring to there?

21                   A.        No.

22                   Q.        Do you know what she's

23          referring to when she said that "the RNC/NRSC

24          blocked"?

25                   A.        No.


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1                   Q         And then she goes on to say (as

2          read):        "If you haven't seen that, I will

3          send.        I think we covered all of this when

4          you-all were deciding whether to do the

5          movie.        Of course if you say yes, he'll ask

6          you to provide it to him and we will have to

7          say no because he will plaster it all over

8          Washington Post and then we will get sued for

9          violation of civil liberties so that's that.

10         They are desperate to debunk this and they

11         can't."

12                            And then you say (as read):

13         "Actually do send but I won't share with him.

14         I just want to say I have it."

15                            Do you see that?

16                  A.        Yeah.

17                  Q.        And did she send you something

18         after this?

19                  A.        Well, I don't know.                  I just see

20         right below that there is

21                  Q.        Yeah.

22                  A.        -- some sort of attachment.                    I

23         honestly have no idea.

24                  Q.        Okay.      Do you have any reason

25         to believe she didn't send it to you?


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1                    A.        Well, my -- let me see.

2          (Reviewing.)

3                             It is not uncommon for her to

4          say, I will send you something, and not send

5          it.

6                             So, in other words, it's not

7          obvious to me that this is that.                         It could

8          be.      But the reason I say it's not obvious to

9          me is because she implies that she will send

10         it later.

11                   Q.        Yeah.

12                   A.       (As read):           "If you haven't

13         seen that, I will send," and then, boom, it's

14         there.         I don't know if that's it or if that

15         is, quite honestly, something else.

16                   Q.       Okay.       We are done with that.

17                            So we talked a little bit about

18         the book that you wrote about "2000 Mules."

19         Correct?

20                   A.        Yes.

21                   Q.       Sitting here today, do you

22         stand by everything in the book?

23                   A.        Yes.

24                   Q.        How did it come to pass that

25         you also wrote a book based on the film?


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1                   A.       How did it come to pass?                    I had

2          a two-book deal with Salem Media.                       It is

3          customary for me to write books that go along

4          with my films.         I've done that on multiple

5          occasions.

6                             The Obama book, the book called

7          "America" that matched a film of the same

8          title.     "Hillary's America," which matched a

9          film of the same title.

10                           So this was my practice to do

11         something like this.              And I undertook the

12         project very much in the understanding that

13         this would be my book.               As with the film, it

14         would give a lot of credit to True the Vote

15         and it would cite them and refer to their

16         work.

17                           But a book is not a -- a film

18         is different than a book.                  A book is

19         typically an individual's enterprise, and so

20         I undertook to do this as an individual.

21         And, of course, I told Catherine and Gregg

22         about it.

23                  Q.       Was Ms. Engelbrecht at some

24         time thinking about also writing a book?

25                  A.       After I told her that I was


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1          writing a book that would go with the film,

2          she said, Oh, that's perfectly fine.

3                             She says, Well, you know, I had

4          also thought about the idea of writing a book

5          and I would like to pursue that.

6                              And I offered her some ways

7          that I said I would be happy to help her,

8          fully understanding that they had projects

9          that went way beyond this particular one and

10         recognizing that she might write a very

11         different kind of book.

12                            I mean, she could write her

13         life story.        She could write about the

14         history of election fraud                     She could do all

15         kinds of things.

16                            She also had specifically

17         referenced a -- sort of a -- more like a

18         voter's handbook that would be more of an

19         action-oriented guide.

20                             And I did mention that idea to

21         Regnery, my publisher.

22                  Q.         All right.          And

23         she -- ultimately she never published

24         anything.         Right?

25                  A.        Right.
                                                                                       I
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1                   Q.        So what is your book-writing

2          process?       Do you write everything yourself?

3          Do you have a ghostwriter?

4                   A.       I write everything myself.                     I

5          write every word.           I mean, I'm the primary

6          figure in the book, and most likely I do 90

7          percent of the research myself.

8                            I sometimes will have someone

9          help me, but -- because, you know, I mean,

10         I'm 63 and I'm hiring a 21-year-old.                        I give

11         them very limited tasks and, by and large, do

12         most of the lifting myself.

13                            So, in general, the research in

14         my book is almost all mine except for maybe

15         some          you know, Will you check this, Pull

16         this article for me, Get me -- I heard about

17         this article.        It's -- you know, can you get

18         it for me?        Or, There was an interview, can

19         you transcribe it?

20                            Things like that, relatively

21         menial type of tasks I'll sometimes delegate

22         out.     Otherwise, it's my -- it's my work.

23                  Q.       And that was true of the "2000

24         Mules" book as well?

25                  A.        Yes.


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1                   (Brief off-the-record discussion.)

2                    Q•      (By Ms. Haber Kuck)                   Let me

3          mark a document as Deposition Exhibit 106.

4             (Marked was Plaintiff's Exhibit No. 106.)

5                    Q•      (By Ms. Haber Kuck)                   It is the

6          centerfold from the "2000 Mules" book.                           I

7          will just have you take a look and see if you

8          recognize it.

9                    A.      (Reviewing.)             Okay.

10                   Q.      Look right to you?

11                   A.       Yeah.

12                   Q.      Where did the images in this

13         centerfold come from?

14                   A.      A number of them are from the

15         film.      And a few of them are from outside the

16         film.      When I say "a few," I really mean two

17         or three.

18                   Q.      Okay.       So let's look at the

19         fourth page.

20                           And those all are scenes from

21         the film?

22                   A.       Yes.

23                   Q.      And the caption says (as read):

24         "What we see here are screenshots from the

25         video of mules stuffing multiple ballots into


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1          mail-in drop boxes.             While vote harvesting is

2          legal in some states, typically under

3          restricted conditions, paid ballot

4          trafficking is illegal across the country.

5          What you are seeing here is organized crime

6          on behalf of the Democratic Party."

7                             Do you see that?

8                   A.        Yes.

9                   Q.        What evidence do you have that

10         the people in these pictures are

11         participating in organized crime on behalf of

12         the Democratic Party?

13                  A.       I think that the caption refers

14         to the evidence in the book as a whole, which

15         is illustrated -- merely illustrated by these

16         videos.

17                            As you can see, the caption is

18         not particular to a photo.                   It is generic.

19         And it's showing a -- it is showing a group

20         of people.        Right?      It's showing four

21         different people.           And it continues on the

22         next page.        More mule videos.

23                            So this is intended to

24         be -- intended to be part of a -- sort of a

25         thread.


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1                            Here we're showing you a bunch

2          of videos, screenshots of them, of course,

3          and with a little bit of further texture as

4          to what you can observe in the videos and a

5          little bit of a mini education about photo

6          law.

7                            So I'm trying to pack a lot of

8          information to educate people who read the

9          book.     And not all of these things are -- I

10         mean, some of these things are in there just

11         to let you know that, by the way, vote

12         harvesting is legal, but paid ballot

13         trafficking is not.

14                           Obviously, I'm not showing

15         anyone getting paid.              But what I am saying is

16         that the conclusion of the -- the argument of

17         the book, if you will, is that what you are

18         seeing here is organized crime on behalf of

19         the Democratic Party.

20                           By "organized crime" I mean

21         breaking the election laws and "on behalf of

22         the Democratic Party" means with a partisan

23         objective.

24                  Q.       And how do you know these

25         people had a partisan objective?
                                                                                      I
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1                   A.       I offer several reasons to

2          think that and make that surmise.                       In order

3          to make a surmise like this, you have to look

4          at the context because the context is

5          critical.

6                            If you have a group of mules

7          that are getting their ballots at the

8          National Rifle Association, evangelical

9          megachurches, and the -- let's just say the

10         National Republican Senate Committee, you

11         would be pretty reasonable in concluding that

12         this was some sort of a right-of-center

13         election fraud operation.

14                            You would think that even more

15         if this was occurring in, let's just say,

16         rural Virginia, rural North Carolina, because

17         this would be fraud that was being carried

18         out, let's just call it loosely, in Trump

19         country.

20                           On the other hand, if you were

21         to see mules going to drop boxes in downtown

22         LA or in downtown Philadelphia or Detroit,

23         Democratic strongholds, you would be -- and

24         let alone picking up their ballots at not the

25         NRA, but let's just say, for example, various


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1          left-wing organizations, you would be

2          reasonable in concluding that this was an

3          operation kind of on the other side of the

4          equation.

5                            Moreover, since the

6          organization has to be organized, it is

7          highly unlikely that the fraud could have

8          tipped on both sides of the fence.

9                            In other words -- in other

10         words, if you're looking at a random event

11         where the tennis ball could have fallen on

12         this side or that side, that's one thing.

13         But if people are organizing it, they're

14         going to organize it to a single purpose.

15                           And, therefore, it's reasonable

16         in concluding that you would see a pattern of

17         activity by left-wing activists or presumed

18         left-wing activists serving as mules,

19         stopping at left-wing NGOs in Democratic

20         strongholds of, as it turns out, very

21         critical states where a relatively small

22         number of votes can tip the balance, and lo

23         and behold, you see that.

24                           In other words, I think that

25         there was a hypothesis under investigation


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1          here and it seemed to be borne out by the

2          data and by -- all the observations converged

3          in a single direction, I guess is my point.

4                   Q.       But the -- in the caption -- so

5          what you are saying here, i.e., in these

6          pictures, is organized crime on behalf of the

7          Democratic Party, you don't have any evidence

8          that these people in these photographs were

9          working for the Democratic Party and were

10         part of some organized crime enterprise.

11                  A.        Yeah, I think it's fair to say

12         that "what you are saying here" is intended

13         generically.        And by that I mean what you are

14         saying here, meaning, yes, in front of you,

15         but also in the book in general.

16                           One of the problems of captions

17         for photos is I make generic statements that

18         don't directly pertain to the photos, but

19         that, nevertheless, represented either a

20         piece of educational information or a

21         conclusion of the book.                And that's what's

22         going on here.

23                           And "on behalf of" doesn't

24         necessarily mean that this was something that

25         the DNC organized.            So "on behalf of" means


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1          to the benefit of.

2                   Q•       Okay.       So your testimony is

3          you weren't -- well, strike that.

4                             You don't have any evidence

5          with respect to these particular people.                          You

6          were making a broader statement.                        Is that

7          right?

8                   A.       I was making a broader

9          statement.        And as I say in the movie, and I

10         think I emphasize just as clearly in the

11         book, that the movie is the beginning of

12         something that needs to have a middle and an

13         end.     In other words, there needs to be

14         further investigation.

15                           I remember clearly saying in

16         the movie in the Salem discussion, the next

17         step is for someone in authority to interview

18         the mules, find out what they were doing,

19         find out who paid them, if anyone, find out

20         who organized this.

21                            And all of this did not, in

22         fact, happen.        So what I'm really doing is

23         essentially drawing provisional conclusions

24         based upon what we see and what we can

25         reasonably infer.


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1                   Q.       And you don't have any evidence

2          that the people in these -- the pictures on

3          these pages we're looking at actually got

4          paid to do anything.              Right?

5                   A.       Other than the fact that

6          several of them -- if not on this page, then

7          on subsequent pages -- can be seen wearing

8          gloves and in many                in other cases taking

9          photos, and all of that is, you know,

10         discussed and interpreted in the -- in the

11         text of the book as well as the discussion in

12         the movie.

13                  Q.       But that's your only basis for

14         saying they were paid?

15                  A.        That is the only given basis

16         for saying they were paid, yes.

17                  Q.       And when you use the term

18         "mules" in this caption, are you using it in

19         the -- in the sense that we've been

20         discussing, that the mules are people who

21         went to ten drop boxes and they went to stash

22         houses?

23                  A.        Yes, of course.               The book is no

24         less clear than the movie.                   The book is --

25         the book and the movie are -- I sometimes
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1          call them a one-two punch.                   But what I really

2          mean is that they are different ways of

3          framing the same storyline or argument, the

4          book and the film.            And these photos are from

5          the film.

6                            So there is no departure here

7          from the understanding of what a mule is.

8                   Q.       Okay.       And this book was

9          published when?

10                  A.       Well, it eventually was

11         released by Salem in October after being

12         withdrawn and then rereleased.

13                  Q.       And so at the time it was

14         released, the State Election Board

15         investigation of Mr. Andrews that we've been

16         talking about had already occurred and he had

17         been cleared.        Right?         That was in May?

18                  A.        That was in May.

19                  Q.       And this is after the two texts

20         that we looked at earlier where Mr. Phillips

21         said this individual did not meet a criteria

22         for being the mule and Ms. Engelbrecht

23         referred to nonmules in the movie.                       Right?

24                  A.       I did not interpret either of

25         those two texts in the way that you are


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1          suggesting.       I, first of all, could not make

2          head nor tail of the first one.

3                             And the second one was in a

4          social media back and forth.                     And you can

5          tell that I am not zooming in on the detail

6          of it by the fact that I send Gregg

7          immediately a video, or at least a meme

8          involving an EU screening of the movie.

9                             So had it registered on me that

10         Gregg Phillips is like, Red alert, we have

11         nonmules in the movie, that would have caught

12         my attention.

13                            As it turned out, this did not

14         happen.       I was -- that did not catch my

15         attention.        I just took -- I thought I saw

16         him discussing something familiar.                       I nodded

17         my head in a sense and sent him something

18         completely different and I passed over it.

19                            So the significance of that

20         was, I think, quite understandably completely

21         lost on me.

22                  Q.        But my question was just, in

23         terms of a temporal standpoint, those texts

24         were several months before the book was

25         published.


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1                   A.       Oh, that is true.

2                   Q•       And we've talked a couple of

3          times about the first printing being

4          recalled.

5                            How did you come to learn it

6          was being recalled?

7                   A.       I learned about it from

8          Regnery.

9                   Q.       And was it's Regnery's decision

10         to recall the book?

11                  A.       100 percent.

12                  Q.       And what did they tell you

13         about why they were recalling the book?

14                  A.        They told me that they were

15         recalling the book because they had concerns

16         about me having listed some of the nonprofit

17         organizations or NGOs in the book.

18                            They took full responsibility

19         for it and they said that all books

20         customarily -- always go through a legal

21         review and they had neglected to do that.

22         And the legal review should have picked that

23         up and the issue resolved, but they

24         didn't -- it was their fault that they didn't

25         do that and, therefore, they were -- it was


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1          their mistake, their responsibility, and,

2          however, they were                 they had decided to

3          pull the book.

4                   Q.         And your            your understanding,

5          as we talked about earlier, is it didn't have

6          anything to do with ACLED?

7                   A.         Yes.     It didn't have anything

8          to do with ACLED.            That was never mentioned.

9                   Q.         And you said you originally

10         named the NGOs in the book.                       Correct?

11                  A.        Some of them, yes.

12                  Q.         And where did you get the

13         information that you used?

14                  A.        I got it from some of the

15         documentation that Catherine and Gregg

16         provided.         In other words, I had, by that

17         time, done a pretty careful study of the

18         information.

19                             And as you saw from earlier

20         things that you showed me, there

21         were -- there was information that Catherine

22         and Gregg had provided relative to at least

23         some of the NGOs, if not all.

24                             And I had a relatively

25         innocuous statement in the book that didn't
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1          claim to provide any kind of comprehensive

2          list, but, nevertheless, cited the names of

3          some of the NGOs.

4                             My purpose for citing them in

5          the book when they were not in the movie was

6          simply to confirm or consolidate the point

7          that these were left-wing organizations.

8          That was obviously part of the way of

9          answering the question you posed to me

10         earlier:        How do you know that these votes

11         were on the left or for the Democrats?

12                            Well, one way you know is by

13         looking at the ideological complexion of the

14         NGOs.        And so this was my reason for

15         including the names of some of the NGOs in

16         the book even though they had not been in the

17         movie.

18                  Q         And where did you -- let's look

19         at a          when you were write -- strike that.

20                            When you were writing the book,

21         when          when did you write it relative to the

22         movie?        Was it simultaneous?               Was it after

23         the movie came out?

24                  A.        Yeah, it was roughly

25         simultaneous.        I think I finished it after


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1          the movie.

2                             I'm not positive about this, by

3          the way, but it makes sense because there is

4          a time in a movie when all you're doing is

5          hunker down on the movie.                   And so I obviously

6          needed some breathing room to finish the

7          book.

8                             But I don't remember what my

9          deadlines were.          Especially now that the book

10         was moved, it's difficult for me to create a

11         mental timeline of when it was first supposed

12         to come out versus when it eventually did

13         come out.

14                  Q.        And what happened to the

15         research that you used for the book?

16                  A.         The research that I used for

17         the book was            was, I would say, these days

18         mostly online research.                 I did have a bunch

19         of articles that I had Xeroxed and so on.

20         And I didn't keep those because, again, you

21         know, I used to keep massive stashes of old

22         articles.         The problem with it is that these

23         days all the articles are cited in the book

24         and are easily retrievable by just searching,

25         you know, the article in "The New York


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1          Times."       You can pull it up in five seconds.

2                             So publishers have greatly

3          relaxed or abandoned their old requirement,

4          which used to be kind of a requirement,

5          you've got to keep your notes from the book.

6          They don't ask you to do that anymore for the

7          reason I just gave you.

8                   Q.        And what happens if

9          the -- well, strike that.

10                           If you included the names of

11         the NGOs in the book, you must have had a

12         list or something from TTV.                      Right?

13                  A.       I had several names and

14         Catherine himself -- Catherine herself at

15         times refers to, We sent you the names from

16         this state and that state, but not from this

17         state and that state.

18                            So I clearly did have some of

19         the names.        And I think what I did was I

20         culled through maybe a dozen names and I

21         cited maybe four or five of those

22         organizations.

23                  Q.        And what happened to that

24         information that she sent you?

25                  A.       I have no idea.                In other


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1          words, it presumably was -- you've sent -

2          you've shown me -- you've shown me documents

3          which have attachments which presumably have

4          those names.        I don't know if those links are

5          valid anymore.         I have no idea.

6                            But -- so I haven't done

7          anything with them.

8                   Q.       Let's mark as Exhibit 107 a

9          one-page document bearing Control No. TTV

10         008516.

11            (Marked was Plaintiff's Exhibit No. 107. )

12                  Q.       (By Ms. Haber Kuck)                   This is,

13         again, Mr. Henderson.

14                           Do you see that?

15                  A.       (Reviewing.)             Yes.

16                  Q.       And this is a back-and-forth

17         with Ms. Engelbrecht and Mr. Phillips.

18         Correct?

19                  A.       Right.

20                  Q•       And he seems to be discussing

21         with them this issue of which nonprofit

22         information was included in what they sent

23         you.

24                           Do you see that?

25                  A.        Yeah.


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1                    Q.       He says (as read):                "I have

2           asked Dinesh why he included the

3                             in the book."

4                             Do you remember that

5           conversation?

6                    A.        Yes.     I remember it somewhat.

7                    Q.       What do you remember?

8                    A.       I remember Chris Henderson

9           saying to me that the

10          is a notoriously litigious organization and

11          they -- and they were very concerned about

12          naming them because of their proclivity for

13          filing lawsuits.

14                            And I said, well, I -- I'm

15          merely listing some of the organizations that

16          were in Gregg and Catherine's database, so

17          whatever links or information that they sent

18          me, and that is the basis for me listing

19          these organizations.

20                            And then -- and then Chris

21          Henderson said that he would reach out to

22          Catherine and Gregg about this and had some

23          further questions.            And I believe that the

24          CEO, Ed Atsinger, also had some further

25          questions.


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1                            And I -- so I was -- I stayed

2          out of the process at that point.                        I was not

3          included in it.         But this apparently is part

4          of that follow-up.

5                   Q.       And you didn't have any

6          conversations directly with Ms. Engelbrecht

7          or Mr. Phillips about this issue, did you?

8                   A.        None.

9                   Q.       Did Mr. Henderson or anyone

10         else at Regnery report back to you that

11         Ms. Engelbrecht had indicated that certain of

12         the people on the list that you had were not

13         people that she had provided to you?

14                  A.        They -- I never heard that.                     I

15         merely heard that they had made a prudential

16         decision to withdraw the book.

17                  Q.       I'm going to mark as Exhibit

18         108 Chapter 7 of the book.

19          (Marked was Plaintiff's Exhibit No. 108.)

20                  A.       Okay.

21                  Q.       (By Ms. Haber Kuck)                   And then

22         I'll just refer you to Pages 113 through 114,

23         and there seems to be a transcript of a

24         conversation you had with Scott Walter.

25                           Do you see that?


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1                   A.        Yes.

2                   Q.        And who is Mr. Walter?

3                   A.        He is the head, maybe

4          president, of the Capital Research Center in

5          Washington D.C.

6                   Q.        And you interviewed him for --

7          did you interview him for the movie or just

8          the book?

9                   A.        I interviewed him for the movie

10         and then I used that interview to -- to

11         generate this transcript for the book.

12                  Q.        And if you would look at

13         the -- and it looks like a back-and-forth.

14                            Are these transcripts of your

15         conversation with him?

16                  A.        Yeah.       This is me talking and

17         him talking.

18                  Q.        If you look at the last entries

19         on the bottom, you ask the question (as

20         read):        "What do the IRS regulations say

21         about the involvement of these nonprofits,

22         these so-called 501(c)(3)s, in direct

23         electioneering and promoting a particular

24         party or candidate?"

25                            Do you see that?


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1                   A.        Yeah.      What page is that on?

2                   Q•        113, at the bottom.

3                   A.        Yeah, I see that.

4                   Q.        And then his answer is (as

5          read):        "By law, these nonprofit charities

6          are forbidden to directly intervene in

7          elections in any way or to help a particular

8          party or candidate, and not only does the IRS

9          say they can't intentionally interfere

10         with -- in elections, help a candidate, but

11         they can't even have that effect.                       The IRS is

12         emphatic that you cannot intend or have the

13         effect of helping one party or candidate over

14         the other."

15                            Do you see that?

16                  A.        Yes.

17                  Q.        And is that consistent with

18         your understanding of the restrictions on

19         501(c)(3) entities?

20                  A.        Loosely, yes.

21                  Q.        And TTV is such an entity,

22         isn't it?

23                  A.        Yes.

24                  Q•        And so it would be subject to

25         the restrictions that Mr. Scott describes?


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1                    A.       Yes.

2                    Q.       Let me show           you a document that

3          we previously marked as Exhibit 27.

4                   (Previously marked was Plaintiff's

5          Exhibit No. 27.)

6                    A.       (Reviewing.)

7                    Q.       (By Ms. Haber Kuck)                  If you

8          look at the third page, there is a letter

9          from DeBose Miller.

10                            Do you see that?

11                            It's on the bottom.                  The bottom

12         number is 8860.

13                   A.       Yes, I do.

14                   Q.       And it's addressed to a number

15         of people, including D'Souza Media and

16         yourself.

17                            Do you see that?

18                   A.       Yes.

19                   Q•       Did you receive this letter?

20                   A.       Yes.

21                   Q.       And did you receive it around

22         the time of October 3, 2022, around the time

23         it was sent?

24                   A.       I received it sometime around

25         then.      I'm not quite sure when.


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1                   Q.        And did you review it when you

2          received it?

3                   A.        I read it, yes.

4                   Q.        Did you take any actions as a

5          result of the letter?

6                   A.        What do       you mean by "actions"?

7                   Q.        Did you             well anything.            Did

8          you do anything in response to the letter?

9                   A.        I took the letter as a -- a

10         sort of a legal warning and a legal threat,

11         and I began the process of finding a lawyer

12         to represent me in dealing with this matter.

13                  Q.        Did you take any action with

14         respect to your forthcoming book?

15                  A.        The book was, by this time,

16         completely out of my hands and there is no

17         action to be taken, or that I could have

18         taken.

19                  Q.        Did you have any discussions

20         with anyone at Regnery or Salem Media about

21         the implications of this for you book, which

22         was the second printing which was coming out

23         about this time?

24                  A.        I don't remember if the topic

25         came up with Salem at this point.


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1                             The way that a book works is

2          that the books ship out about a month before

3          the pub date of a book.                And so even though

4          Salem Media was the publisher, they

5          completely controlled the printing of the

6          book and the distribution of the book.

7                             The book would have been out.

8          This is, as far as I can see, just days or a

9          couple of weeks from the official publication

10         date.     So I'm just letting you know that that

11         is the case.

12                           But I don't remember having any

13         conversations with Salem about what to sort

14         of do about the book.               And I don't remember

15         any conversations at that point immediately

16         about what they were doing about this letter.

17         I obviously knew that they had received it,

18         as well as others.

19                  Q.       Did you take any action to

20         retract or correct any statements you had

21         made previously?

22                  A.       I, I think, like most people,

23         recognized at this point that we were in sort

24         of legal territory, which is not something

25         that I would generally act in the absence of


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1          having competent counsel about what I should

2          and shouldn't do, what I should or shouldn't

3          say.

4                             I've been around this kind of a

5          block before, so I was very cautious and

6          recognized I need to be operating at this

7          point through an attorney and not doing

8          things on my own.

9                   Q.        So the answer is no?

10                  A.        So the answer is no.

11                  Q.        There is also a request with

12         the letter that you preserve documents.

13                            Do you see it's the last two

14         pages?

15                  A.        The last two pages of the

16         letter?

17                  Q.        Uh-huh.         Or the exhibit.

18         Either way.

19                            The last two pages of the

20         exhibit, I guess, is the easiest way to say

21         it.

22                  A.        (Reviewing.)

23                  Q•        Next page.

24                  A.        Okay.       Yes.

25                  Q•        Did you take any action to


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1          preserve documents once you got this?

2                   A.        Yes.     I mean, the action that I

3          took here was, you could say, negative in the

4          sense that I don't typically delete documents

5          or -- I mean, the only time I delete

6          documents is like old voicemails that are

7          long past their purpose.

8                            So I took a note of it and I

9          said to myself, I'm preserving all documents

10         by doing nothing.

11                  Q.       Did you instruct anyone else to

12         also preserve their files?

13                  A.        As I recall, I don't remember

14         specifically, but the only person that I

15         would tell about something like this would be

16         Bruce.        Bruce is normally the conduit to

17         Nathan with regard to things like video files

18         or movie files.

19                            Nathan doesn't -- would be

20         informed through Bruce.                And I'm sure that at

21         some point I discussed it with Bruce,

22         although I don't know the date.

23                  Q.        You don't have a recollection?

24                  A.       I don't have a recollection of

25         the exact date, no.


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1                   Q.       Okay.       Are you aware that

2          around this time, OAN showed the film?                         And

3          "around this time," I mean October of 2022?

4                   A.       Around that time, yes.

5                   Q.       And are you aware that when

6          they showed it, they cut out the footage of

7          Mr. Andrews, after receiving a letter from

8          his attorney?

9                   A.       I did hear that, yes.

10                  Q.       Did you have any conversations

11         with them about that?

12                  A.       I think that -- I think that

13         they might have -- they might have told me

14         that they were doing that or they might have

15         told me afterwards that they did it.                        I don't

16         remember exactly what.

17                           But I was aware that they did

18         that and I don't remember what I said about

19         it or conveyed, Yeah, I can understand why

20         you might do that, or something to that

21         effect.

22                           I have no idea what actually

23         happened, but I do know that they did that.

24                  Q•       And you were still distributing

25         the film at that point in time, right,


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1          October 2022?

2                   A.        Well, in October of 2022, the

3          film was -- a film is                   has a relatively

4          short sort of -- I won't say shelf life.

5          That's not really probably accurate to say.

6                             Most people who see a flim see

7          a film in the relatively immediate aftermath

8          of the film coming out.

9                              There are certain aspects of

10         the film, like it's still available on a

11         platform or you can get a DVD of the film.

12         In that sense, the film was still out there,

13         yes.

14                  Q•        Right.        You were still selling

15         copies of the film.

16                  A.        Well, when you say we were

17         selling it, I think Salem Media was selling

18         the DVDs.         So DVDs were available on Salem.

19                             The film itself was not -- let

20         me think.         Was the film actually selling DVDs

21         directly?

22                            At one point, we were through

23         a -- through a kind of a wholesaler, I guess

24         it was.

25                            But anyway, the bottom line of


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1           it is it's not like we were selling them, but

2           they were available.

3                    Q.       And were -- so what

4           distribution rights did D'Souza Media have

5           with respect to the film?

6                    A.       D'Souza Media is a production

7           entity that makes the film and typically

8           enters into contracts with various

9           wholesalers or retailers, in some cases you

10          could call them platforms, and delivers

11          possession of the film to those platforms to

12          be sold under contract for a certain duration

13          or, in some cases, like with DVDs, when you

14          buy them, you own the DVD.

15                   Q.       And did you have any streaming

16          rights?

17                   A.       What do you mean by that?

18                   Q.       Did you have any rights to

19          sell -- did D'Souza Media have the right to

2O          sell streaming rights to the film?

21                   A.        Yeah, streaming is usually used

22          in two separate contexts.                  One context is you

23          could call it a digital download of the movie

24          where you buy the movie.                 Let's just say for

25          9.99, you can download it or you can watch it


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1           on a platform, which could be -- you know,

2           could be YouTube.            It could be some platform

3           that sells the movie.

4                               The other way that streaming is

5           used is, for example, in the context of say

6           Netflix.

7                    Q.        Right.

8                    A.         Where Netflix will buy the

9           streaming rights.            They pay you a fixed

10          amount of money.           They show the film as often

11          as they want.         You are not buying                    Netflix

12          buys the right to offer the film to its, you

13          know, monthly subscribers.

14                             So we did stream the film in

15          the first context, but not in the second.

16                   Q.        Okay.       And are you still in any

17          form selling the film today?

18                   A.         We are not, but -- but I have

19          no idea if the film is available.                        I've heard

20          from a number of people that they have some

21          difficulty finding it.

22                             And part of the reason for that

23          is that Salem, I believe, took it off their

24          platform.         And so my guess is that the film's

25          main life at this stage is in the DVD phase.


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1                   Q.       And you don't have the rights

2          to the DVD?

3                   A.        No.     We have the rights to the

4          DVD, but if you already bought a DVD, it's

5          yours.

6                   Q•       Right.        That's right.            But are

7          you still selling the DVDs?

8                   A.       We are not selling DVDs.

9                   Q•       I had asked you earlier about

10         after the lawsuit was filed whether you had

11         any conversations with Ms. Engelbrecht and

12         Mr. Phillips.        Right?

13                  A.        Yes.

14                  Q.       Do you recall having a call

15         with Ms. Engelbrecht, Mr. Phillips, and Salem

16         to come up with a unified plan to deal with

17         the litigation?

18                  A.       It's quite likely that we did

19         in the early stage because I think at the

20         very beginning, this appeared to be a sort of

21         umbrella cause, if you will; and we had

22         identified it as somebody is either

23         threatening to suing us, "us" meaning all

24         three parties.           And so we thought it was

25         reasonable for us to kind of put our heads


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1          together.

2                            Obviously, one question that I

3          wanted to explore is whether we

4          would -- could defend in a common way against

5          this or whether this would raise issues that

6          would make that impossible.

7                            So I believe we had some

8          discussion to that effect.

9                   Q.       And did you come up with a

10         unified plan?

11                  A.       We came up with a -- sort of an

12         understanding of what was going on.                        But I

13         think quite early on, the Salem party made it

14         quite clear to us and to Catherine and Gregg

15         that in this kind of an action, it was

16         essential for them to have their own

17         representation.

18                           Part of the reason for this had

19         to do with something to do with insurance,

20         which I can go into, but they said that was

21         kind of a requirement; and, therefore, it was

22         necessary for us to find our own counsel.

23                  Q.       But did you -- but my question

24         was, did you get together with anyone from

25         Salem, Mr. Phillips, Ms. Engelbrecht, and


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1          come up a plan amongst you?

2                   A.       Well, I don't know what you

3          mean by a plan.         We discussed the -- we

4          discussed what was going on and we discussed

5          the need to respond to it.                   So that -- I

6          think that was the extent of a, quote, plan.

7                            We didn't have any -- any -- I

8          don't know if we had a plan that went beyond,

9          We all need to be -- we all need to be

10         vigilant about this and we all need to figure

11         out how we are going to respond to it.

12                  Q.       And did you coordinate your

13         responses?

14                  A.       Well, I really began the

15         process of trying to find counsel to

16         represent myself and D'Souza Media.                        And then

17         I sort of left it to them to pick up the

18         ball.

19                  Q.       So let me mark as Exhibit 109 a

20         one-page document bearing TTV 009803.

21          (Marked was Plaintiff's Exhibit No. 109.)

22                  A.       (Reviewing.)

23                  Q•       (By Ms. Haber Kuck)                   Do you see

24         this appears to be a series of texts with you

25         and Mr. Phillips and maybe Ms. Engelbrecht?


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1                             Do you see that?

2                   A.        Yeah.

3                   Q.        And then it talks about a

4          meeting at the Houston Racquet Club.

5                             Do you see that?

6                   A.        Yeah.

7                   Q.        Did you have a meeting, all of

8          you together?

9                   A.        I already mentioned I think we

10         had a short meeting and                     yeah, at the

11         Houston Racquet Club.                I now remember that.

12         Yes, we did.

13                  Q.        And who was there?

14                  A.        If I remember correctly, it

15         was -- it was me and Debbie, and Gregg and

16         Catherine, and somebody else that they

17         brought with them, and I don't remember who

18         that was.

19                  Q.        Was there anyone from Salem

20         there?

21                  A.        No.

22                  Q.        And what did you -- what did

23         you discuss at that meeting?

24                  A.        We just discussed that -- we

25         just discussed that we are either being sued


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1          or we are likely to be sued.                     And we

2          discussed the fact that we would need to be

3          responding to this.

4                             And I remember Catherine and

5          Gregg raising the question of whether I

6          thought that I -- either that Salem would

7          agree to pay for our defense or whether I

8          could convince them to do that.

9                             And I think I said something to

10         the effect that I would -- I would try and I

11         would let them know what would happen.

12                  Q.        Did you try?

13                  A.        I did raise it with Salem and

14         was promptly assured -- as I think they were

15         independently -- that Salem wouldn't and

16         couldn't do that.

17                  Q.        Did you discuss anything about

18         the merits of the lawsuit?

19                  A.        We might have discussed them

20         in -- we might have discussed in general

21         terms what the lawsuit was about.                        But when

22         you say "the merits of the lawsuit," we did

23         not go through the lawsuit and try to either

24         assess or develop some kind of a refutation.

25                            I think we realized that it was


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1          now in legal territory and that -- and that

2          it had to be handled in that way.                       I'm pretty

3          sure that the person that Catherine and Gregg

4          brought was some sort of a legal advisor of

5          some sort, although I don't remember who it

6          was.

7                   Q.       Did Miss -- did you discuss in

8          substance the issue that we discussed

9          earlier, that Ms. Engelbrecht had advised

10         Mr. Henderson that Mr. Andrews was not a

11         mule?

12                  A.       I don't recall that subject

13         coming up in this discussion.                    I only

14         remember that -- that their -- Catherine and

15         Gregg were fairly dismissive of the validity

16         of the -- of the lawsuit.

17                            They had a lawyer there and we

18         didn't, so I think we were -- Debbie and I

19         were more there to listen than anything else

20         because we were not represented, I think, at

21         that point.

22                           But I don't remember going into

23         anything to do with the specific allegations.

24                  Q.       When Ms. Engelbrecht was

25         deposed, she said that you at some point had


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1          told her that you had footage of Mr. Andrews

2          going to more than one drop box.

3                            Is that accurate?

4                   A.        That -- no.           It is more

5          accurate to say that we appear to have

6          footage of Mr. Andrews going to the same drop

7          box on more than one occasion.

8                   Q.       When you say "we appear to

9          have" that, what do you have?

10                  A.       We have two videos of -- one of

11         them is the sort of known and acknowledged

12         video of Mark Andrews.               This is with the

13         white SUV.

14                  Q.       And that's the one in the

15         centerfold of the book?

16                  A.        That is the one --

17                  Q.        That we looked at on that page

18         we looked at earlier?

19                  A.        Yes, that is right.

20                  Q.        Yeah.

21                  A.        Yes.

22                  Q.       Okay.

23                  A.       And there appears to be another

24         video.        This is, by the way, not exclusive to

25         Mark Andrews.        We have, as I mentioned,


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1          another -- another case.

2                            But in this case, we seem to

3          have Mark Andrews -- or I humorously add

4          Mark Andrews's twin brother, but I think it's

5          Mark Andrews -- in a second video at the

6          exact same location, at the exact same drop

7          box, inserting ballots.

8                   Q.       And that's your, what we talked

9          about earlier, as the doppelganger?

10                  A.        Yeah, I do want to clarify.                    I

11         mean, I used the term sarcastically because

12         obviously the true meaning of a doppelganger

13         is that you have two separate people that one

14         is a double of the other.                  Like Biden is

15         using a doppelganger so that -- you know, for

16         whatever reason.

17                           I meant the term sarcastically

18         because what I mean -- what I mean in that

19         colloquial expression is that we are talking

20         about the same guy by any reasonable measure.

21                           And I say this because this is

22         an issue that, by the way, has plagued me for

23         much of my adult life, which is to say that I

24         often get mistaken for people, confused with

25         people.       Or, in other cases, people will spot


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1           me and are absolutely certain it's me, and

2           I'm sometimes curious as to how they know.

3                             So I've actually become quite

4           careful about trying to take a look,

5           particularly when you're dealing with video

6           material and, of course, we're in the --

7           we're in the film business.                      We don't look at

8           video in what I would call the sort of

9           layman's way of just, Oh, here is a video and

10          here's another video, they kind of look

11          alike.        Not at all.

12                            We will -- we will use all of

13          the -- all of the reasonably objective

14          measures that you can use to compare people

15          and make sure that we have a strong ground

16          for believing it's the same guy.

17                            We will look at eight or nine

18          factors that can help you make that kind of,

19          you know, informed judgment.                      Although,

2O          granted, this is -- this is a judgment that

21          is made with the eyes and based upon

22          appearances looking at video.                      And you can

23          make it more or less reliably depending on

24          the quality of the video.

25                   Q.       And when we talked about -


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1          when we talked about the doppelganger videos

2          earlier, you said you never asked

3          Ms. Engelbrecht or Mr. Phillips to match

4          those with their geospatial data?

5                   A.        Yes.     The reason I didn't ask

6          them to do it is that I was under the rather

7          firm, if not unshakeable, conviction that the

8          way that surveillance video ended up in the

9          movie and, in fact, in their possession was

10         because of the prior geotracking that pointed

11         to the video.

12                           So, in other words, my asking

13         them would be nothing more than, Hey, go back

14         to your cell phone geotracking that you

15         already did on this guy.                 Something of that

16         nature.

17                           Because, as I say, my operating

18         assumption from the beginning and making the

19         movie, subsequent of the movie, publicizing

20         the movie, was that the surveillance videos

21         had, in fact, been geotracked.

22                  Q•       And even if we -- even if we

23         were to agree with that and take that as

24         true, that still wouldn't -- you still should

25         be able to go back to the geotracking data


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1          and see if the two people you're looking at

2          in the videos are the same person, right,

3          because they'd have the same cell phone data?

4                   A.        Yes, presumably they would,

5          unless for some weird reason they were

6          carrying a different phone.                      But yes, they

7          should be -- that should be something that

8          could be done.

9                   Q.       Right.        And you didn't do that?

10                  A.       Well, I -- the reason I didn't

11         do that is because -- well, let's back up for

12         a moment.

13                           In the first stage where I was

14         looking at a video of the same guy at two

15         different occasions on the same drop

16         box -- and this was not the case of Andrews.

17         This is another guy who quite clearly appears

18         twice at the same drop box -- and it is, in

19         fact, the Gwinnett drop box -- and if you

20         look closely, it's unmistakably the guy.

21                           But this was only in the

22         context of a public debate over whether the

23         same mule had appeared at other drop boxes.

24                           In other words, this is a

25         debate that is conducted at the level of,
                                                                                      I
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1          Hey, you're saying that there is no mule at

2          more than one drop box?                Here we go.          What do

3          you make of this guy?

4                            So I remember responding to

5          somebody who had raised that question by

6          showing him a screenshot of the two videos of

7          the same man side by side.                   And, quite

8          honestly, it convinced him because he was

9          like, Whoops.        Oh, man, yeah.              Wow.

10                           So what I'm getting at is this

11         is not a case where I was going to go back

12         and look at geotracking that had already been

13         done, not to mention that at this stage our

14         relationship with Catherine and Gregg was a

15         little rocky, at best.

16                           And so I was dealing with the

17         debate in the public domain at this point.

18         This had nothing to do with Andrews.                        I had

19         never heard of Andrews.

20                           It was only after the Andrews

21         litigation that we went back and looked a

22         little harder at the videos to see if there

23         were any other, you could say, matching

24         videos, whatever you want to call it,

25         double        doubles, and we did find one.


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1                   Q•       So you did that only in the

2          context of the litigation?

3                   A.        This was the second one, the

4          second -- right.

5                   Q.       Right.

6                   A.        The second find came only

7          afterward, yes.

8                   Q.       And did you ever discuss that

9          with Ms. Engelbrecht?

10                  A.        No, because I think at that

11         stage, quite honestly, we were only operating

12         in a legal mode through the lawyers.

13                           So, in other words, at this

14         stage I don't contact Gregg or Catherine to

15         discuss anything pertaining to the lawsuit,

16         just out of caution.

17                           If I wanted to discuss

18         something with them, I will talk to Amanda

19         and Austin about it and I will find out what

20         they want me to do.             And in some cases they

21         will reach out.

22                           So kind of we want to do things

23         the proper way, so it's not -- it is not my

24         habit, or at least my proclivity, in the

25         context of litigation, to be calling


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1          Catherine and Gregg and telling them what to

2          do.

3                   Q.         Did you ask your lawyers to ask

4          their lawyers to ask them about this video

5          you say you have?

6                              MS. HYLAND:             I'm going to

7                   instruct you not to disclose your

8                   communications with me.

9                   Q.        (By Ms. Haber Kuck)                     Okay.    Let

10         me show you what's been                       Bates No.

11         DD-00466.         110.

12          (Marked was Plaintiff's Exhibit No. 110.)

13                  A.        (Reviewing.)

14                  Q.        (By Ms. Haber Kuck)                     You -- is

15         this the comparison you're referring to?

16                  A.         I think so, but I just want to

17         emphasize that I have been talking about

18         matching videos.             This looks to be

19         screenshots blown up.

20                  Q.         Okay.        Where did -- so what

21         tell me about this document then.                           This seems

22         to be screenshots blown up.                         It was produced

23         by you.

24                             What is this?

25                  A.         This looks to be somebody in


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1          our -- either in our team or in our orbit

2          taking the video and taking a screenshot of

3          it and putting it side by side so that one

4          can do a -- a sort of a review, recognizing

5          that we're talking about video; but,

6          nevertheless, it's helpful also to have

7          something like this where you can look at it

8          visually in a kind of systematic way.

9                   Q.       And who would -- who on your

10         team would be responsible for doing that?

11                  A.       I can say, but without

12         certainty, I'm pretty sure that this document

13         was done by Bruce Schooley, partly because

14         he, as I mentioned earlier, is visual.

15         Partly because he is very careful and

16         systematic.       And it is just like him to want

17         to look at these things very closely and with

18         a very analytical eye.

19                  Q.       And I had told you the reason I

20         was asking the question was because

21         Ms. Engelbrecht told me that you had

22         indicated you had video of him going to the

23         drop box more than once.

24                           Is that something that you told

25         her directly?


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1                   A.       I don't -- I don't recall doing

2          that.     I'm not saying I didn't.                  But I don't

3          remember an occasion where I would have done

4          that.

5                   Q.       Okay.       So you may have told

6          someone who told her?

7                   A.        That's possible.              I mean, I

8          might have -- I might have suggested it

9          directly myself, but I have spoken to her or

10         met on such limited occasions that I think it

11         is somewhat unlikely.

12                  Q.       And other than, you know,

13         comparing the video -- well, strike that.

14                           Other than -- other than you

15         and your team looking at the video, do you

16         have any other evidence that these two people

17         are the same person?

18                  A.       Other than that                  other than

19         looking at the video and looking at even the

20         screenshots, I'm not aware of any additional

21         evidence at this stage.

22                  Q•       In your -- in your book you say

23         that in the first six weeks the film took in

24         $13 million.

25                           Is that about accurate?


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1                   A.       I think so, yes.

2                   Q.       And what was the final number?

3                   A.        The final number would have

4          been a little higher than that.                     I say that

5          for the reason I gave earlier, which is that

6          films tend to be a perishable product.                         They

7          sell the vast majority in a concentrated
     I
8          space of time.         And then there is a dripping

9          effect in which you might have some further

10         sales, but the bulk of your money is going to

11         come in the first six weeks.

12                  Q.       And in your book you also talk

13         about the viewership of the film.                       Correct?

14                  A.        Yes.

15                  Q•       And you estimate that 20

16         million people have seen the film?

17                  A.       Well, that's not my estimate.

18         It is         it was an estimate that was

19         generated by the Rasmussen survey, which did

20         a survey based upon                 to see how many people

21         had seen the movie.

22                            The survey, of course, was done

23         with a sort of representative sample of like

24         a thousand people.            So this is a conjecture

25         or a projection based upon that kind of a


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1           survey.

2                             It asks you, Have you seen the

3           movie?        And let's just say 3 percent of

4           people say they have.               You then estimate what

5           that might be and you come up with how many

6           people you think saw the movie.

7                             So it's based on that.                   It's

8           not based upon any count we did.

9                    Q.       Okay.       Do you know how many

10          copies of your book were sold?

11                   A.       I do not.

12                   Q•        There was also a children's

13          book about the "2000 Mules."                     We talked a

14          little bit about that with Mrs. D'Souza

15          yesterday.

16                            Do you recall that?

17                   A.        Yes.

18                   Q.       How did -- how did you come to

19          be involved with that?

20                   A.       A couple of Texans who run a

21          kind of a mom-and-pop shop called Brave Books

22          came to see us and said that they were

23          essentially composing children's books that

24          were fictional stories but based upon sort of

25          contemporary political themes.


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1                              And they thought it was --

2          would be funny -- I think I'm using their

3          word -- "funny" to do a story based upon

4          trying to teach a topic like "2000 Mules" in

5          an amusing way to very young children.

6                              And, obviously, they said we

7          recognize that this story has to be

8          completely not only simplified, but delivered

9          in metaphorical way.               But we would like to

10         try to do that and show it to you guys and

11         see if you guys might be okay with being the

12         authors or co-authors of a children's book

13         loosely based on "2000 Mules."

14                             This was a very small

15         operation.        I think they paid us a modest

16         advance.      I believe $2500, but I could be

17         mistaken.         It's just based on memory.

18                             And we thought it was a fun

19         project and told them to try it out.

20                  Q.         And was there also "2000 Mules"

21         merchandise that was sold?

22                  A.         There might have been, but I

23         honestly know nothing about it.

24                  Q•         Let me mark as Exhibit 111 a

25         two-page document bearing Control No.


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1          00056721 through 00056722.

2           (Marked was Plaintiff's Exhibit No. 111.)

3                   A.       (Reviewing.)

4                   Q.       (By Ms. Haber Kuck)                   This seems

5          to be another chat conversation back and

6          forth between Brandon Gill, Mrs. D'Souza, and

7          yourself.

8                            Do you see that?

9                   A.        Yes.

10                  Q.       And is Brandon Gill your

11         daughter's husband?

12                  A.        Yeah, my enterprising

13         son-in-law.

14                  Q.       And he says (as read):                   "Are we

15         able to send a merch email out to the 2000

16         Mules email list advertising 2000 Mules merch

17         or will that piss off True the Vote too

18         much?"

19                           Do you see that?

20                  A.        Yes.

21                  Q.       And what is he -- what

22         merchandise is he talking about?

23                  A.       Well, I think at that time

24         Brandon had a small social media company and

25         he was involved in selling other kinds of


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1          merchandise, you know, "Keep Texas Texas,"

2          things like that.

3                            And once "2000 Mules" became a

4          kind of a brand, he got the idea that maybe

5          they could do some "2000 Mules" merchandise.

6          However, this was in the -- as you can see,

7          we're talking about May 11th, in the

8          aftermath of our rather tense negotiations

9          with Bettina.        And also we're in the context

10         of heightened sensitivities with True the

11         Vote.

12                           And so Brandon is asking, Hey,

13         you know, if we start selling "2000 Mules"

14         merchandise -- which, quite honestly, we had

15         every right to sell, it was our company, it

16         was our movie -- but will this make -- will

17         this upset True the Vote?

18                           And I say (as read):                  "Let's

19         hold off for now."

20                           So I'm responding prudentially.

21         I just don't want to rock the boat.                        And so I

22         go, Let's not do it.

23                  Q.       And did you ever do it?

24                  A.        Not to my knowledge.

25                  Q•       Okay.       The Salem hosts who


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1          appeared in the film, they were also paid

2          $30,000 each.        Correct?

3                   A.       Well, they were -- they were

4          paid more than that.

5                   Q.       Okay.       How much were they paid?

6                   A.       Well, what happened was that --

7          that Salem allocated to them a 1 percent

8          share in the movie.             So, in other words,

9          rather than pay them, they -- Salem felt, and

10         we agreed, that it would be good to give them

11         a small share in the movie.                      That way they

12         have an incentive to promote the movie.                          And

13         if the movie does well, they'll -- they will

14         get some, you know, I would say real money

15         out of it.

16                           So we all thought that this was

17         a very smart idea.

18                           By and large, with any film you

19         always are conserving your budget, so you do

20         not want to pay people money because that's

21         coming straight out of your -- your limited

22         budget.       And so one way you incentivize

23         people without paying them money is you give

24         them a tiny share.            And so we decided to do

25         that.


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1                   Q•        Did anyone else other -- other

2          than the hosts, Salem, D'Souza Media, TTV,

3          did anybody else have a share in the movie?

4                   A.        No.     The D'Souza Media part was

5          a small portion to Nathan and the larger

6          portion to Bruce and me in our proportionate

7          shares.

8                             And I believe that is a

9          comprehensive list of everybody who got

10         paid          who got a share of the movie.

11                  Q.        Okay.       And we talked about

12         earlier that Heather Mullins also might have

13         been paid.        Not with a share, but she might

14         have been paid for her appearance in the

15         film?

16                  A.        Yeah, we might have paid her a

17         modest either fee for her time or something

18         to that effect.          I don't really know.

19                  Q.        Was anyone else who appeared in

20         the film paid?

21                  A.        I'm not sure.                 I know that we

22         had talked to Gregg about either reimbursing

23         expenses or making modest payments to people

24         who were          we were asking people to make

25         commitments of time and to be in the movie.


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1                             And we also recognized that the

2          movie is a for-profit enterprise.                        So we

3          thought it would be -- it's unreasonable to

4          ask people to do things completely for free.

5                             Now, we were quite -- we did

6          not pay Hans von Spakovsky.                      We did not pay

7          Scott Walter.         We did not pay Harmeet

8          Dhillon.

9                             But I'm talking about people

10         who are doing, quote, work for the movie, if

11         you under- -- if that distinction makes

12         sense.

13                            And we might have made modest

14         payments to that effect.                  It's actually

15         customary for us to do that.

16                            MS. HABER KUCK:               I don't think

17                  I have too much more, but let me take

18                  a break and confer with my colleagues

19                  and we'll see if we can --

20                            THE VIDEOGRAPHER:                Going off

21                  the record.         The current time is 5:29.

22                            (Recess taken at 5:29 p.m.,

23                  resuming at 5:48 p.m.)

24                            THE VIDEOGRAPHER:                We are going

25                  back on the record.                The current time


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1                   is 5:48, and this is the start for

2                   Media 6.

3                   Q.       (By Ms. Haber Kuck)                   I just

4          have a few more questions.

5                             Did Mr. Phillips and

6          Ms. Engelbrecht explain to you how they

7          connected the geotracking data to the names

8          of the specific nonprofits?

9                   A.        They suggested that the way

10         that they did that was by looking at

11         addresses.        So they moved from addresses to

12         organizations.

13                           But they also emphasized that

14         we should be clear that the cell phone takes

15         you to an address.            It doesn't take you to an

16         organization by itself.

17                            So -- I mean, to me that is an

18         interesting and somewhat important

19         distinction.

20                            And so I was aware of that

21         distinction even though, as I said, we didn't

22         end up using it.          But I'm familiar with the

23         fact that geotracking is geotracking of IDs

24         and the IDs takes you to locations, and that

25         is something different from an actual


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1          address.

2                   Q.        Okay.       Because if you got -- if

3          your phone was geotracked to this address,

4          you could be at Greenberg Traurig, you could

5          be at Wells Fargo, you could be at Skadden

6          Arps.     Right?

7                   A.        Exactly.

8                   Q.        Yeah.

9                   A.        And I think it's -- that

10         creates more problems for identifying a -

11         let's say, a nonprofit than it would, let's

12         say, identifying drop boxes because drop

13         boxes are generally stand-alone.                        Sometimes

14         they are in a library, but a lot of times

15         they are standing by themselves.

16                  Q.        And when        you were writing the

17         book, you had the list of names that was

18         provided to you by Ms. Engelbrecht, correct,

19         of the not-for-profits?

20                  A.        Yes, although I understood that

21         to be an incomplete list, maybe a partial

22         list.

23                            But I did have several -- I did

24         have several of the organizations listed,

25         yes.


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1                   Q•       Did you do any research, then,

2          to see if you could follow the money, as you

3          said?

4                   A.        No.    And the reason was that I

5          had been convinced by this point, A, to

6          exclude the organizations from the movie; and

7          I decided to use them in a very limited way

8          in the book.

9                            In other words, as I mentioned

10         before, only for the purpose of deciphering

11         their ideological coloration and not trying

12         to take the book any further than that.

13                           It occurred to me that that

14         would be a completely different project and

15         that would maybe have to be a different book.

16                  Q.       Okay.       So you didn't do that

17         research?

18                  A.       I didn't do that, yes.

19                  Q.       Okay.       Given everything that

20         you know today, do you still stand by

21         everything in the film?

22                  A.       I stand by everything in the

23         film in the sense that I think that the film

24         is accurate, it's valid.

25                           I've obviously seen some new


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1          information with regard to what geotracking

2          has and hasn't been done.                   Obviously, I have

3          to take that into -- into consideration.

4                             But if you're asking me if I

5          stand by the film as a whole, absolutely.

6                              MS. HABER KUCK:               And I have

7                    nothing further at this time.

8                              As I did yesterday, I'm going

9                    to just reserve my right based on the

10                   discovery issues that we have.                      But I

11                   have no further questions today.

12                             MR. EVANS:          Great.       I just have

13                   a few.

14                  (Following commenced at 5:52 p.m.)

15                                  EXAMINATION

16         BY MR. EVANS:

17                   Q.        All right.          Mr. D'Souza, we met

18         yesterday.         My name is Jake Evans.                 I

19         represent True the Vote, Ms. Engelbrecht and

20         Mr. Phillips.

21                            I just have a couple questions,

22         and they mainly just relate to you searching

23         for -- we sent an RPD to you, and I just want

24         to know if you have access to these

25         documents, if you don't have access.


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1                            And I have the exact emails.

2          The first I'm going to give you I marked

3          Defendant True the Vote's Exhibit 1.

4              (Marked was Defendants' Exhibit No. 1.)

5                   Q.       (By Mr. Evans)                 So if you could

6          take a look at that.

7                            And do you recognize that

8          document?

9                   A.        Yes, I do.

10                  Q.       And what is that?

11                  A.        This is a modest email chain

12         starting with Nathan and -- Nathan

13         Frankowski, our cinematographer, sending me

14         two videos.        They are actually videos that I

15         asked him to send me, and I specify what they

16         are.

17                           And he sent me those two

18         interviews.       And then I sent them to Charlie

19         Kirk and -- with a designation (as read):

20         "Two clips to go with my talk tomorrow."

21                  Q.        Uh-huh.        And are you able to

22         pull what's in those two Dropbox links?

23                  A.       I don't believe that we have

24         been able to do that.               Subsequently, I think

25         we have tried to do it, but without success.


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1          And, therefore, I can only go at this point

2          from the, you know, the clear description of

3          the two videos which is given at the bottom

4          of the page.

5                   Q.       And what happens when you try

6          to pull the -- whatever?                 Was it a video, to

7          your recollection, in these two links?

8                   A.       Well, it looks like there were

9          two we call them clips.                They are short 30-,

10         40-second videos and they are pulled from the

11         movie.

12                           See it says here (as read):                     "I

13         want to show them a couple of short two-,

14         three-minute clips from the rough cut."

15                           So we know the source.                   It's

16         the rough cut of the movie.

17                           (As read):           "Can you pull one

18         from the mule interview and another from

19         Gregg and Catherine going over one of the

20         mule videos?"

21                           So it's Gregg and Catherine

22         talking about one of the mule videos.

23                            That's the two items in the

24         Dropbox, but I'm not able to see them.

25                  Q.       Okay.       And I'm just focused on


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                                                                     Page 355

1          not so much your recollection, but your

2          ability to pull the document from the links.

3                             Have    you tried to pull the

4          document from the links?

5                   A.        I've discussed this document

6          with my attorneys.             I know that there have

7          been efforts to do it without success.

8                   Q.        Okay.       And do you know why you

9          haven't been able to pull the document from

10         the link?

11                  A.        I have no idea.

12                  Q.        And I will hand you Defendants'

13         Exhibit 2, which is a similar document.

14              (Marked was Defendants' Exhibit No. 2.)

15                  Q.        (By Mr. Evans)                And do you

16         recognize that document?

17                  A.        Hang on a second (reviewing.)

18                            Yes.

19                  Q•        And what is that document?

20                  A.        It appears to be a modification

21         of the earlier instruction to send a couple

22         of videos, except it adds a further video,

23         which is described as (as read):                        "Gregg

24         showing that only a couple of hundred people

25         went to a drop box, but 1,960 ballots were


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                                                                     Page 356

1          cast."

2                   Q.        Uh-huh.

3                   A.       And it looks like that is now

4          the third clip in the Dropbox.                     So that's why

5          there are three links.

6                   Q.       And who is -- who is the

7          recipient and the sender in the final email,

8          the one at the top?

9                   A.       In the one at the top, I am the

10         sender and the recipient is a guy name Tyler

11         Boyer, who is sort of Charlie Kirk's guy.

12                  Q.       Okay.       What do you mean by

13         Charlie Kirk's guy?

14                  A.       He's like the vice-president of

15         Turning Point, which is Charlie Kirk's

16         organization.        He's the -- he's the man who

17         sort of does a lot of the logistics and

18         organization for Charlie's -- Charlie's life.

19                  Q.       Okay.       And these links that are

20         towards the middle here, right below where it

21         says (as read):         "Here they are," are you

22         able to pull what those clips are?

23                  A.       I don't believe we've been able

24         to pull any of these, and I'm not sure what

25         the reason is.         I think it's the same fate as


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                                                                     Page 357

1          the other two videos.

2                             And, hang on, I'm just looking

3          at them here to see.              (Reviewing.)

4                             Yeah, you can actually -- let

5          me see.

6                             It's a little hard to say, but

7          it looks like there is a replication of two

8          and maybe one new one.

9                   Q.        Do you know if these                    are

10         these the same two of the -- what's

11         referenced in Defendants' Exhibit 1?

12                  A.        Yes, because -- because look

13         below.        (As read):      "Remember the two clips

14         you prepared for me, Mule Video and Salem

15         Reaction, Part of the Mule Interview?                         Just

16         want to use these same clips and add one

17         more."

18                            And then Nathan goes (as read):

19         "How about the one where Gregg shows only a

20         couple of hundred went to drop box, but 1,960

21         ballots were cast?"             And then, "Here they

22         are."

23                            And I say (as read):                 "Yes,

24         good idea."

25                            And then he sends that exact


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                                                                     Page 358

1          one.

2                            And so we now know what the

3          three clips are.

4                    Q.      Well, you know it just based

5          upon this email.          Right?

6                    A.      Based upon the email.

7                    Q.      And you've tried to pull these

8          clips, but you've been able to do so.                         Right?

9                    A.       Yes.     When you say I, I have

10         not myself tried to do it.                   I'm incapable of

11         doing this kind of stuff, but people have

12         tried to do it, yes.

13                   Q.       Yes.     And today you don't know

14         the reason why you or your team or agents

15         have been unable to pull these clips from

16         Defendants' Exhibit 1 and 2.                     Right?

17                   A.      As of today, I don't know the

18         reason why.

19                   Q.      Okay.

20                           MR. EVANS:           No further

21                   questions.

22                  (Following commenced at 5:58 p.m.)

23                           MS. HYLAND:            I don't have any

24                   redirect.

25                           MS. HABER KUCK:                We can go


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                                                                     Page 359

1                   home.

2                             MR. EVANS:              All right.       Good.

3                             THE VIDEOGRAPHER:                Going off

4                   the record.           The current time is 5:59.

5                   This concludes today's depo.                      The

6                   number of medias used was 6.

7                   (Proceedings concluded at 5:59 p.m.)

8                                     *     *     *

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1          COUNTY OF HARRIS )
2          STATE       OF    TEXAS )
3                           REPORTER'S CERTIFICATION
4                    I, Pat English-Arredondo, CSR (TX),
5          RMR, CRR, CLR, Certified Shorthand Reporter
6          in and for the State of Texas, hereby certify
7          that this transcript is a true record of the
8          testimony given and that the witness was duly
9          sworn by the officer.
10                  I further certify that I am neither
11         attorney nor counsel for, related to, nor
12         employed by any of the parties to the action
13         in which this testimony was taken.                        Further,
14         I am not a relative or employee of any
15         attorney of record in this cause, nor do I
16         have a financial interest in the action.
17              Subscribed and sworn to on this the 30th
18         day of October, 2024.              g   viD;6. 8 144


19
                             Pat English-Arredondo,
20                           CSR (TX), RMR, CRR, CLR
                             Expiration Date:                4/30/2026
21
           Local Affiliate Reporter for:
22         Veritext New York Reporting Co.
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23         Mineola, New York 11501
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1         Ms. Amanda G. Hyland

2         Ahyland@buchalter.com

3                                        October 30, 2024

4         RE:        Andrews, Mark v. D'Souza, Dinesh                  Et Al

5               10/17/2024, Dinesh J. D'Souza (#6963197)

6               The above-referenced transcript is available for

7         review.

8               Within the applicable timeframe, the witness should

9         read the testimony to verify its accuracy. If there are

10        any changes, the witness should note those with the

11        reason, on the attached Errata Sheet.

12              The witness should sign the Acknowledgment of

13        Deponent and Errata and return to the deposing attorney.

14        Copies should be sent to all counsel, and to Veritext at

15        cs-ny@veritext.com.

16         Return completed errata within 30 days from

17       receipt of testimony.

18           If the witness fails to do so within the time

19       allotted, the transcript may be used as if signed.

20

21

22                          Yours,

23                         Veritext Legal Solutions

24

25


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1         Andrews, Mark v. D'Souza, Dinesh                   Et Al

2         Dinesh J. D'Souza (#6963197)

3                                ERRATA               SHEET

4         PAGE         LINE          CHANGE

5

6         REASON

7         PAGE         LINE          CHANGE

8

9         REASON

10        PAGE         LINE          CHANGE

11

12        REASON

13        PAGE         LINE          CHANGE

14

15        REASON

16        PAGE         LINE          CHANGE

17

18        REASON

19        PAGE         LINE          CHANGE

20

21        REASON

22

23

24        Dinesh J. D'Souza                                         Date

25


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1         Andrews, Mark v. D'Souza, Dinesh               Et Al

2         Dinesh J. D'Souza (#6963197)

3                             ACKNOWLEDGEMENT OF DEPONENT

4              I, Dinesh J. D'Souza, do hereby declare that I

5         have read the foregoing transcript, I have made any

6         corrections, additions, or changes I deemed necessary as

7         noted above to be appended hereto, and that the same is

8         a true, correct and complete transcript of the testimony

9         given by me.

10

11

12        Dinesh J. D'Souza                                   Date

13        *If notary is required

14                              SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                                        DAY OF                          , 20

16

17

18

19                               NOTARY PUBLIC

20

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                    Federal Rules of Civil Procedure

                                     Rule 30




       (e)   Review By the Witness; Changes.

       (1)   Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording        is available       in which:

       (A)   to review    the transcript or recording; and

       (B)   if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2)   Changes Indicated in the        Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f) (1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




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       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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